Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51          Desc:
                          Exhibit A Page 1 of 805



                                     ANEXO A

  Relación de reclamaciones objeto de la Tricentésima quincuagésima primera objeción
                                         global
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 2 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                            FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                            PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
         NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
1 ABREU GOMEZ,                 05/11/18   17 BK 03283-LTS / El          14636             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
  TOMASA                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
  PMB 76                                  Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
  PO BOX 1283                                                                                            (COLLECTIVELY THE                        Libre Asociado de Puerto
  SAN LORENZO, PR 00754                                                                                  "ACEVEDO CAMACHO                         Rico
                                                                                                         PLANTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                         CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                         (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                         (COLLECTIVELY THE
                                                                                                         "ACEVEDO CAMACHO
                                                                                                         PLAINTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
  el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
  demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
  del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
  las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
  ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
  ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 1 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 3 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                            FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                            PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
         NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
2 ACEVEDO ACEVEDO,             05/24/18   17 BK 03283-LTS / El          29563             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
  MARIE A                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
  PO BOX 552                              Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
  SAN GERMAN, PR 00683                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                         "ACEVEDO CAMACHO                         Rico
                                                                                                         PLANTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                         CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                         (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                         (COLLECTIVELY THE
                                                                                                         "ACEVEDO CAMACHO
                                                                                                         PLAINTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
  el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
  demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
  del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
  las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
  ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
  ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 2 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 4 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
3 ACEVEDO CARRERO,            05/23/18   17 BK 03283-LTS / El         26103             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
  LAURA V                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
  PO BOX 887                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
  RINCON, PR 00677-0887                                                                                COLLECTIVELY (THE
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 3 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 5 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
4 ACEVEDO CORTES,             03/26/18   17 BK 03283-LTS / El         4648^               $ 15,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
  VIRGINIA                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
  REPTO VILLA SOTO                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
  15 CALLE HIGINIO                                                                                     COLLECTIVELY (THE
  LOPEZ                                                                                                BELTRAN CINTRON
  MOCA, PR 00676                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 4648 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
  Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 4 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 6 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
5 ACEVEDO RIVERA,             05/22/18   17 BK 03283-LTS / El         17965                $ 71,777.10 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
  AIDA                                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
  IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
  MORALES                                                                                              COLLECTIVELY (THE
  P.O. BOX 9021828                                                                                     BELTRAN CINTRON
  SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 5 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 7 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                            FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                            PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
         NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
6 ACEVEDO SUAREZ ,             05/23/18   17 BK 03283-LTS / El          18154                   $ 801.69 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
  GLADYS                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
  IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
  MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
  P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
  SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                         CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                         (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                         (COLLECTIVELY THE
                                                                                                         "ACEVEDO CAMACHO
                                                                                                         PLAINTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
  el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
  demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
  del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
  las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
  ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
  ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 6 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 8 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
7 ACOSTA RODRIGUEZ,           07/09/18   17 BK 03283-LTS / El         123915            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
  BENITA                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
  HC 5 BOX 7901                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
  YAUCO, PR 00698                                                                                      COLLECTIVELY (THE
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 7 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 9 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
8 ADDARICH RIVERA,            05/23/18   17 BK 03283-LTS / El         15069             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
  MYRNA R                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
  53 CALLE DONCELLA                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
  PARQUE DE                                                                                            COLLECTIVELY (THE
  CANDELERO                                                                                            BELTRAN CINTRON
  HUMACAO, PR 00791                                                                                    PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 8 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 10 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
9 ADDARICH RIVERA,            05/23/18   17 BK 03283-LTS / El         18852             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
  MYRNA R                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
  PO BOX 702                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
  MAUNABO, PR 00707                                                                                    COLLECTIVELY (THE
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 9 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 11 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
10 ADORNO NAVEDO,              05/04/18   17 BK 03283-LTS / El          9440                $ 35,595.13 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   ZAIDA P.                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   MORALES                                                                                              COLLECTIVELY (THE
   P.O. BOX 9021828                                                                                     BELTRAN CINTRON
   SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 10 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 12 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
11 ADORNO OCASIO,               05/30/18   17 BK 03283-LTS / El          18741             Indeterminado* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema     106588^          $ 4,315,200.00*
   MARITZA                                 Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
   HC 01 BOX 7072                          Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
   GURABO, PR 00778                                                                                       LOPEZ-ROSARIO                            Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP);                        Rico
                                                                                                          IVONNE GONZALEZ
                                                                                                          MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El          15708           $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 11 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 13 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
12 ADSEF / LUIS A COSME         05/23/18   17 BK 03283-LTS / El          19011             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   RIVERA                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   968 CALLE LABRADOR                      Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   SAN JUAN, PR 00924                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 12 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 14 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
13 AFANADOR ROMERO,           05/25/18   17 BK 03283-LTS / El         20622             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   NANCY                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   19 BDA. NUEVA                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   UTUADO, PR 00641                                                                                    COLLECTIVELY (THE
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 13 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 15 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
14 AFANADOR ROMERO,           05/25/18   17 BK 03283-LTS / El         21228             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   NANCY                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   19 BDA. NUEVA                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   UTUADO, PR 00641                                                                                    COLLECTIVELY (THE
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 14 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 16 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
15 ALAMO ALGOSTO,               05/25/18   17 BK 03283-LTS / El         31974             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema     104127^          $ 6,829,644.40*
   CARMEN M                                Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
   RR-10 BOX 10305                         Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
   SAN JUAN, PR 00926                                                                                    COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El          50221           $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 15 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 17 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                         RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
16 ALBIZU MERCED,              05/23/18   17 BK 03566-LTS / Sistema     23186            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   ANTONIA M                              de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
   URB COVADONGA                          del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
   2 E 4 CALLE                            Libre Asociado de Puerto                                      COLLECTIVELY (THE
   ARRIONDAS                              Rico                                                          BELTRAN CINTRON
   TOA BAJA, PR 00949                                                                                   PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 16 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 18 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
17 ALGARIN FEBO, ADA           05/29/18   17 BK 03283-LTS / El         30798             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   NELLY                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   HC-04, BUZON 11804                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   RIO GRANDE, PR 00745                                                                                 COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 17 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 19 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
18 ALICEA COSME, ELSIE          05/24/18   17 BK 03283-LTS / El          31677                 $ 50,000.00 MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   P.O. BOX 22397                          Estado Libre Asociado de                                        CAMACHO ET AL. (2,818                   de Retiro de los Empleados
   SAN JUAN, PR 00931-2397                 Puerto Rico                                                     PLANTIFFS)                              del Gobierno del Estado
                                                                                                           (COLLECTIVELY THE                       Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                        Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 18 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 20 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
19 ALICEA FERRERIS,            05/16/18   17 BK 03283-LTS / El         19312                $ 17,400.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   CARLOS M                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   PO BOX 2311                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   MAYAGUEZ, PR 00681-                                                                                  COLLECTIVELY (THE
   2311                                                                                                 BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 19 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 21 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
20 ALICEA GOMEZ, FELIX         10/15/19    17 BK 03283-LTS / El        171756               $ 21,518.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El          152372          $ 17,590,927.76
   UR. B. VIVES CALLE A                    Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
   #14                                     Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
   GUAYAMA, PR 00784                                                                                     RODRIGUEZ ZAYAS;
                                                                                                         HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 20 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 22 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
21 ALICEA MENDEZ,              05/30/18   17 BK 03283-LTS / El         34855             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   ISABEL                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   HC 2 BOX 6592                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   UTUADO, PR 00641                                                                                     COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 21 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 23 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
22 ALICEA MENDEZ,             05/30/18   17 BK 03283-LTS / El         38956              $ 111,180.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   ISABEL                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   HC-02                                 Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   BOX 6592                                                                                            COLLECTIVELY (THE
   BO. SABANA GRANDE                                                                                   BELTRAN CINTRON
   UTUADO, PR 00641                                                                                    PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 22 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 24 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
23 ALICEA RIVERA,              06/25/18    17 BK 03283-LTS / El         82806             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El          152372          $ 17,590,927.76
   HERIBERTO                               Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
   PO BOX 800708                           Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
   COTO LAUREL, PR 00780                                                                                 RODRIGUEZ ZAYAS;
   -0708                                                                                                 HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 23 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 25 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
24 ALMA ALMA, EFRAIN           05/03/18   17 BK 03283-LTS / El          9647                $ 64,592.43 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   IVONNE GONZÁLEZ                        Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   MORALES                                Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   P.O. BOX 9021828                                                                                     COLLECTIVELY (THE
   SAN JUAN, PR 00902-1828                                                                              BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 24 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 26 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
25 ALMA ALMA, EFRAIN           06/07/18   17 BK 03283-LTS / El         72024             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   500 ROBERTO H.TODD                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   P.O.BOX 8000                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   SANTURCE, PR 00910                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 25 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 27 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
26 ALOMAR SANCHEZ,              06/26/18   17 BK 03283-LTS / El          98050             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   JOSEFINA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   PO BOX 800242                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   COTO LAUREL, PR 00780                                                                                  (COLLECTIVELY THE                        Libre Asociado de Puerto
   -0242                                                                                                  "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 26 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 28 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
27 ALVARADO CORALES,          10/04/19   17 BK 03283-LTS / El         171197            Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema     103035^         $ 5,034,400.00*
   YOLANDA                               Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
   EXT COQUI                             Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
   365 CALLE PITIRRE                                                                                   COLLECTIVELY (THE                       Libre Asociado de Puerto
   AGUIRRE, PR 00704                                                                                   "ACEVEDO AROCHO                         Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K AC
                                                                                                       2005-5022
                                                                                                       LCDA. IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

                                                                                                       PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El          51013          $ 28,000,000.00*
                                                                                                       AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                       PLAINTIFFS)                             Puerto Rico
                                                                                                       COLLECTIVELY (THE
                                                                                                       "ACEVEDO-AROCHO
                                                                                                       PLAINTIFF
                                                                                                       GROUP")CIVIL CASE
                                                                                                       NUM. K AC 2005-5022
                                                                                                       IVONNE GONZALEZ-
                                                                                                       MORALES
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
  otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
  pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
  maestro de Acevedo Arrocho.
  ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 27 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 29 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
28 ALVARADO HOYOS,            06/29/18   17 BK 03283-LTS / El         133504            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   MARIA C.                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   P.O. BOX 1136                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   COAMO, PR 00769                                                                                     COLLECTIVELY (THE
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 28 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 30 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
29 ALVARADO RIVERA,             06/14/18   17 BK 03283-LTS / El          62621             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   JOSE G.                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   HC 1 BOX 5955                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   OROCOVIS, PR 00720                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 29 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 31 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
30 ALVARADO                    06/29/18   17 BK 03566-LTS / Sistema    144492^             $ 49,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   SOTOMAYOR, ROSALIE                     de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
   URB. EL EDEN CALLE B                   del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
   #52                                    Libre Asociado de Puerto                                      COLLECTIVELY (THE
   COAMO, PR 00769                        Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 144492 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 30 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 32 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
31 ALVAREZ ALGARIN,             06/27/18   17 BK 03283-LTS / El         141423             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   MONICA M.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   HC-67 BOX 23597                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   FAJARDO, PR 00738                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
32 ALVAREZ APONTE,              06/07/18   17 BK 03283-LTS / El          49438             Indeterminado* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
   MIGUEL A.                               Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
   JARDINES DE                             Puerto Rico                                                    PO BOX 8700                              Puerto Rico
   BORINQUE                                                                                               PMB120
   M-23 AZUCENA                                                                                           CAROLINA, PR 00988
   CAROLINA, PR 00985

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.



             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 31 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 33 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
33 ALVAREZ CINTRON,             05/04/18   17 BK 03283-LTS / El          10651             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema     130077^           $ 6,293,000.00
   HIGINIO                                 Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
   2DA EXT EL VALLE                        Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
   530 CALLE GIRASOL                                                                                      "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
   LAJAS, PR 00667                                                                                        PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 32 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 34 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                         RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
34 ALVAREZ TORRES,             05/21/18   17 BK 03283-LTS / El         18487             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   CATHERINE                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   BO OBRERO                              Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   710 CALLE WEBB                                                                                       COLLECTIVELY (THE
   SAN JUAN, PR 00915                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 33 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 35 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
35 AMARANTE ANDUJAR,           06/29/18   17 BK 03283-LTS / El         79760             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   SANDRA DEL CARMEN                      Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   COND LOS                               Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   NARANJALES EDF C 64                                                                                  COLLECTIVELY (THE
   APT 330                                                                                              BELTRAN CINTRON
   CAROLINA, PR 00985                                                                                   PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 34 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 36 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
36 AMARO CRUZ, IVELISSE         05/30/18   17 BK 03283-LTS / El          25439             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   URB ESTS DE LA CEIBA                    Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   141 CALLE CAOBA                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   HATILLO, PR 00659-2862                                                                                 (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
37 AMARO MORALES,               11/14/19   17 BK 03283-LTS / El         172446             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
   CESAREO                                 Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
   PO BOX 947                              Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
   PATILLAS, PR 00723                                                                                     RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 35 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 37 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
38 ANDINO LAGO,                05/30/18   17 BK 03283-LTS / El         42114             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   ANGELES DE L                           Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   RES. LUIS LLORENS                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   TORRES                                                                                               COLLECTIVELY (THE
   EDIF. 22 APT. 448                                                                                    BELTRAN CINTRON
   SANTURCE, PR 00913                                                                                   PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 36 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 38 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                         RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
39 ANDINO RIVERA,              05/21/18   17 BK 03283-LTS / El         18436             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   RAMON L.                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   RR 1 BOX 11652                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   TOA ALTA, PR 00953                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 37 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 39 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
40 ANDINO, EDWIN COLON        05/29/18   17 BK 03283-LTS / El         36838             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   URB PARQUE ECUESTRE                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   AA 5 CALLE CAMARERO                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   CAROLINA, PR 00987-                                                                                 COLLECTIVELY (THE
   8502                                                                                                BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 38 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 40 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
41 ANDUJAR MORALES,            06/28/18    17 BK 03283-LTS / El          118039             $ 18,000.00* PRUDENCIO ACEVEDO           06/29/18    17 BK 03566-LTS / Sistema     103035^         $ 5,034,400.00*
   ANGEL                                   Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
   URB CUPEY GDNS                          Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
   M3 CALLE 15                                                                                           COLLECTIVELY (THE                       Libre Asociado de Puerto
   SAN JUAN, PR 00926-7327                                                                               "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18    17 BK 03283-LTS / El          51013          $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                      Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                              Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
42 ANTONIO, BAEZ               05/29/18    17 BK 03566-LTS / Sistema     58457            Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El          152372          $ 17,590,927.76
   RODRIGUEZ                               de Retiro de los Empleados                                    ALFREDO A, ET ALS                       Estado Libre Asociado de
   URB BLIND CELLA F19                     del Gobierno del Estado                                       LCDO. GILBERTO                          Puerto Rico
   ARROYO, PR 00714                        Libre Asociado de Puerto                                      RODRIGUEZ ZAYAS;
                                           Rico                                                          HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.

             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 39 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 41 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                         RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
43 AQUINO CANALES,             06/11/18   17 BK 03283-LTS / El         71117             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   REGINO                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   RR 6 BOX 9482                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   SAN JUAN, PR 00926                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 40 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 42 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
44 ARCE NEGRON, IVONNE        06/27/18   17 BK 03283-LTS / El         55317             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   BDA OBRERA                            Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   16 CALLE GONZALEZ                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   HUMACAO, PR 00791                                                                                   COLLECTIVELY (THE
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 41 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 43 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
45 ARCELAY LORENZO,             06/04/18   17 BK 03283-LTS / El          98649               $ 80,000.00* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema     106588^          $ 4,315,200.00*
   ALFREDO                                 Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
   BO. CUBA BOX 2189                       Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
   MAYAQUEZ, PR 00680                                                                                     LOPEZ-ROSARIO                            Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP);                        Rico
                                                                                                          IVONNE GONZALEZ
                                                                                                          MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El          15708           $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 42 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 44 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
46 AROCHO RAMIREZ,              05/24/18   17 BK 03283-LTS / El          25280             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   MIGDALIA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   URB. ISABEL LA                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   CATOLICA CALLE 3 E-25                                                                                  (COLLECTIVELY THE                        Libre Asociado de Puerto
   AGUADA, PR 00602                                                                                       "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 43 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 45 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
47 AROCHO REYES, EMILIO         07/09/19   17 BK 03283-LTS / El         169608            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema     104127^          $ 6,829,644.40*
   PO BOX 801461                           Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
   COTO LAUREL, PR 00780                   Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El          50221           $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 44 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 46 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
48 AROCHO VERA, AUREA         06/01/18   17 BK 03283-LTS / El         45596             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   VILLA PRADES                          Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   834 CALLE ARTURO                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   PASARELL                                                                                            COLLECTIVELY (THE
   SAN JUAN, PR 00924                                                                                  BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 45 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 47 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                            FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                            PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
         NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
49 ARROYO FERNANDEZ,           05/27/18   17 BK 03283-LTS / El          22388               $ 50,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   MARIA A                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   HC 1 BOX 2673                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   LOIZA, PR 00772                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                         "ACEVEDO CAMACHO                         Rico
                                                                                                         PLANTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                         CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                         (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                         (COLLECTIVELY THE
                                                                                                         "ACEVEDO CAMACHO
                                                                                                         PLAINTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
  el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
  demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
  del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
  las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
  ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
  ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 46 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 48 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
50 AVILES CORTES, ROSA          06/26/18   17 BK 03566-LTS / Sistema     85326             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   66 CALLE HUCAR                          de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   BO. SABANETAS                           del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
   PONCE, PR 00716-4405                    Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                           Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 47 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 49 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
51 AYALA JUSINO,               05/16/18   17 BK 03566-LTS / Sistema     13298            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   ZULEIKA M                              de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
   HC-3 BOX 10904                         del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
   SAN GERMAN, PR 00683                   Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                          Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 48 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 50 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
52 AYALA JUSINO,               05/21/18   17 BK 03566-LTS / Sistema     18308            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   ZULEIKA M                              de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
   HC 3 BOX 10904                         del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
   SAN GERMAN, PR 00683                   Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                          Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 49 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 51 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                            FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                            PRESENTA           NÚMERO DE              RECLAM       MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
         NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN       RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
53 AYALA ORTIZ,                05/03/18   17 BK 03567-LTS /             10202             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema     130077^           $ 6,293,000.00
   MARILYN                                Autoridad de Carreteras y                                      AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
   PO BOX 289                             Transportación de Puerto                                       COLLECTIVELLY (THE                       del Gobierno del Estado
   HORMIGUEROS, PR                        Rico                                                           "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
   00660-0289                                                                                            PLAINTIFF GROUP");                       Rico
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2013-1019 / TSPR AC
                                                                                                         2016-0120, JORGE
                                                                                                         ABRAHA M G IMÉ NEZ
                                                                                                         PL AI N TIFF GR O UP
                                                                                                         (1,046 PLAINTIFFS)
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                         GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                              Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM GIMENEZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

  Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
  otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
  dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
  de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
  demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
  su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
  adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
  ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 50 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 52 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
54 AYALA RODRIGUEZ,            05/22/18   17 BK 03283-LTS / El         32491             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   JESSICA E                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   HC 67 BOX 21603                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   FAJARDO, PR 00738                                                                                    COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 51 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 53 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
55 BAEZ LOPEZ, JANET           05/25/18   17 BK 03283-LTS / El         34130             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   201 URB LAS                            Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   CAROLINAS                              Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   CAJUAS, PR 00727                                                                                     COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 52 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 54 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
56 BAEZ MENDEZ, JOSE L         05/22/18   17 BK 03283-LTS / El         23046             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   HC-2 BOX 10488                         Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   LAS MARIAS, PR 00670                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 53 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 55 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
57 BAEZ MENDEZ, JOSE L         05/22/18   17 BK 03283-LTS / El         29302             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   HC2 BOX 10488                          Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   LAS MARIAS, PR 00670                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 54 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 56 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
58 BAEZ RODRIGUEZ,             06/28/18   17 BK 03283-LTS / El         119659            Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El          161091        $ 280,000,000.00*
   SAMUEL                                 Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
   URB. RIVER EDGE HILLS                  Puerto Rico                                                   PO BOX 8700                             Puerto Rico
   CALLE RIO SABANA                                                                                     PMB120
   A-6                                                                                                  CAROLINA, PR 00988
   LUQUILLO, PR 00773

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 55 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 57 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                            FECHA DE                                   N.º DE                                                      FECHA DE                                   N.º DE
                            PRESENTA           NÚMERO DE              RECLAM       MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
         NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN       RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
59 BAEZ ROMAN, ENRIQUE         09/16/19   17 BK 03567-LTS /            170909            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema     104127^          $ 6,829,644.40*
   PO BOX 1863                            Autoridad de Carreteras y                                     DIAZ ET AL (1084                        de Retiro de los Empleados
   MAYAGUEZ, PR 00680                     Transportación de Puerto                                      PLAINTIFFS)                             del Gobierno del Estado
                                          Rico                                                          COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                        "ABRAMS-DIAZ                            Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2005-5021
                                                                                                        ABRAMS-DIAZ
                                                                                                        PLAINTIFF GROUP (1,084
                                                                                                         PLAINTIFFS) LCDA
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El          50221           $ 43,400,081.58*
                                                                                                        DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ABRAHAM DIAZ
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2005-5021
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
  contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
  demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
  de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
  el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
  del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
  ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 56 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 58 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
60 BARBOSA RIOS, IRMA E.       06/22/18   17 BK 03283-LTS / El         98711^             $ 360,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   URB PRECIOSA                           Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   2 CALLE VERDE LUZ                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   GURABO, PR 00778-5163                                                                                COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 98711 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 57 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 59 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
61 BARBOSO AYALA,               05/09/18   17 BK 03283-LTS / El          12567             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema     130077^           $ 6,293,000.00
   MARILYN N                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
   HC 3 BOX 10368                          Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
   SAN GERMAN, PR 00683                                                                                   "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 58 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 60 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
62 BARRETO DIAZ, JOSE A        05/25/18   17 BK 03566-LTS / Sistema     30189            Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema     103035^         $ 5,034,400.00*
   345 CALLE BARTOLOME                    de Retiro de los Empleados                                    AROCHO ET AL (1,601                     de Retiro de los Empleados
   DE LAS CASAS                           del Gobierno del Estado                                       PLAINTIFFS)                             del Gobierno del Estado
   VILLA PALMERAS                         Libre Asociado de Puerto                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
   SAN JUAN, PR 00915                     Rico                                                          "ACEVEDO AROCHO                         Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K AC
                                                                                                        2005-5022
                                                                                                        LCDA. IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El          51013          $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 59 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 61 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
63 BARRIENTOS FLORES,           06/20/18   17 BK 03283-LTS / El          42192               $ 30,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   ROSA B.                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   VILLA CAROLINA                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   240-3 CALLE 616                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
   CAROLINA, PR 00985                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
64 BEAUCHAMP                    05/06/18   17 BK 03283-LTS / El          10225                 $ 15,000.00 MALDONADO COLÓN,             06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
   RODRIGUEZ,                              Estado Libre Asociado de                                        ALFREDO A, ET ALS                       Estado Libre Asociado de
   ADALBERTO                               Puerto Rico                                                     LCDO. GILBERTO                          Puerto Rico
   HC 01 BOX 8189                                                                                          RODRIGUEZ ZAYAS;
   MARICAO, PR 00606                                                                                       HC 2 BOX 6519
                                                                                                           GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 60 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 62 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
65 BELLO CANCEL,                05/22/18   17 BK 03283-LTS / El          15550                   $ 995.16 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   CARMEN L.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
   P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
   SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 61 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 63 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
66 BERMUDEZ CORREA,            06/29/18   17 BK 03283-LTS / El         87439             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   JOSE A.                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   P.O BOX 236                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   OROCOVIS, PR 00720                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 62 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 64 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
67 BERRIOS SANTIAGO,           05/23/18   17 BK 03283-LTS / El         19236             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   ISANDRA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   URB. VISTAS DEL RIO                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   CALLE RIO HUMACAO                                                                                    COLLECTIVELY (THE
   #11                                                                                                  BELTRAN CINTRON
   LAS PIEDRAS, PR 00771                                                                                PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 63 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 65 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
68 BERRIOS VEGA,                06/28/18   17 BK 03283-LTS / El          72084             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   CARMELO                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   23410 CALLE LOS PINO                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   CAYEY, PR 00736-9435                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 64 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 66 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
69 BIGIO BENITEZ,              06/27/18   17 BK 03566-LTS / Sistema     39677               $ 44,034.63 PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema     103035^         $ 5,034,400.00*
   GLENDA Y.                              de Retiro de los Empleados                                    AROCHO ET AL (1,601                     de Retiro de los Empleados
   PUERTA DE LA BAHIA                     del Gobierno del Estado                                       PLAINTIFFS)                             del Gobierno del Estado
   1050 AVE LAS PALMAS                    Libre Asociado de Puerto                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
   APT 513                                Rico                                                          "ACEVEDO AROCHO                         Rico
   SAN JUAN, PR 00907                                                                                   PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K AC
                                                                                                        2005-5022
                                                                                                        LCDA. IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El          51013          $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 65 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 67 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
70 BITTMAN DIEZ, CARL X        05/18/18   17 BK 03283-LTS / El         27217^              $ 302,400.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   HC 5 BOX 54591                         Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   AGUADILLA, PR 00603                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 27217 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 66 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 68 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                            FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                            PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
         NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
71 BLANCO VARGAS, JOSE         05/10/18   17 BK 03283-LTS / El          13390             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema     130077^           $ 6,293,000.00
   A                                      Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
   HC 02 BOX 11949                        Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
   LAJAS, PR 00667                                                                                       "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                         PLAINTIFF GROUP");                       Rico
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2013-1019 / TSPR AC
                                                                                                         2016-0120, JORGE
                                                                                                         ABRAHA M G IMÉ NEZ
                                                                                                         PL AI N TIFF GR O UP
                                                                                                         (1,046 PLAINTIFFS)
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                         GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                              Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM GIMENEZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

  Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
  otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
  dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
  de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
  demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
  su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
  adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
  ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 67 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 69 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                            FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                            PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
         NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
72 BLANCO VARGAS, JOSE         05/10/18   17 BK 03283-LTS / El          14217             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema     130077^           $ 6,293,000.00
   A.                                     Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
   HC-02 BOX 11949                        Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
   LAJAS, PR 00667                                                                                       "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                         PLAINTIFF GROUP");                       Rico
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2013-1019 / TSPR AC
                                                                                                         2016-0120, JORGE
                                                                                                         ABRAHA M G IMÉ NEZ
                                                                                                         PL AI N TIFF GR O UP
                                                                                                         (1,046 PLAINTIFFS)
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                         GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                              Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM GIMENEZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

  Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
  otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
  dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
  de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
  demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
  su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
  adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
  ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 68 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 70 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
73 BONET GUERRA, SONIA          05/24/18   17 BK 03566-LTS / Sistema     28549^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   I                                       de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   URB. JARDINES DE                        del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
   RINCON                                  Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
   CALLE 2 D2                              Rico                                                           "ACEVEDO CAMACHO                         Rico
   RINCON, PR 00677-2616                                                                                  PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 28549 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 69 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 71 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
74 BONET MENDEZ, ELVA         05/30/18   17 BK 03283-LTS / El         44487             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   PO BOX 1039                           Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   RINCON, PR 00677                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                       COLLECTIVELY (THE
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 70 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 72 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
75 BONILLA ORTIZ, JANINE       06/26/18   17 BK 03283-LTS / El         48938             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   URB. VISTA DEL SOL                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   CALLE E # 60                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   COAMO, PR 00769                                                                                      COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 71 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 73 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
76 BONILLA ORTIZ, JORGE        06/28/18    17 BK 03566-LTS / Sistema     125652           Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El          152372          $ 17,590,927.76
   L.                                      de Retiro de los Empleados                                    ALFREDO A, ET ALS                       Estado Libre Asociado de
   HC 3 BOX 13046                          del Gobierno del Estado                                       LCDO. GILBERTO                          Puerto Rico
   YAUCO, PR 00698                         Libre Asociado de Puerto                                      RODRIGUEZ ZAYAS;
                                           Rico                                                          HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 72 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 74 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
77 BORRERO                     05/24/18   17 BK 03283-LTS / El         28522^              $ 417,600.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   MALDONADO, IDALIZ                      Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   URBANIZACION LA                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   MARINA                                                                                               COLLECTIVELY (THE
   2 CALLE ERIDANO                                                                                      BELTRAN CINTRON
   CAROLINA, PR 00979-                                                                                  PLAINTIFF GROUP")...
   4009                                                                                                 ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 28522 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 73 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 75 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                     FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
78 BOSQUES MEDINA,              05/16/18   17 BK 03566-LTS / Sistema     20311            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema     104127^          $ 6,829,644.40*
   GLORIA                                  de Retiro de los Empleados                                    DIAZ ET AL (1084                        de Retiro de los Empleados
   HC 2 BOX 12465                          del Gobierno del Estado                                       PLAINTIFFS)                             del Gobierno del Estado
   MOCA, PR 00676-8264                     Libre Asociado de Puerto                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
                                           Rico                                                          "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El          50221           $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 74 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 76 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
79 BOSQUES, ADELAIDA          05/21/18   17 BK 03283-LTS / El         17649               $ 37,834.84* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   SOTO                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   HC 2 BOX 12263                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   MOCA, PR 00676                                                                                      COLLECTIVELY (THE
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 75 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 77 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                            FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                            PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
         NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
80 BRENES GONZALEZ,            05/24/18   17 BK 03283-LTS / El          20329             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   JOSE M                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   110 MARGINAL NORTE                     Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   BZN 24                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
   BAYAMON, PR 00959                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                         PLANTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                         CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                         (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                         (COLLECTIVELY THE
                                                                                                         "ACEVEDO CAMACHO
                                                                                                         PLAINTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
  el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
  demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
  del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
  las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
  ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
  ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 76 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 78 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
81 BURGOS DIAZ, LEYLA           06/27/18   17 BK 03283-LTS / El         112945             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   VERONICA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   RIVER EDGE HILLS A38                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   CALLE RIO MAMEYES                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
   LUQUILLO, PR 00773                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 77 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 79 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
82 BURGOS PABON,               06/27/18   17 BK 03283-LTS / El         98826             Indeterminado* EDUCADORES                  06/29/18    17 BK 03283-LTS / El          67462          $ 35,000,000.00*
   CARMEN D.                              Estado Libre Asociado de                                      PUERTORRIQUEÑOS EN                      Estado Libre Asociado de
   9 A VILLA JAUCO                        Puerto Rico                                                   ACCIÓN, INC                             Puerto Rico
   SANTA ISABEL, PR 00757                                                                               BUFETE FRANCISCO R.
                                                                                                        GONZÁLEZ
                                                                                                        1519 PONCE DE LEÓN
                                                                                                        AVE.
                                                                                                        SUITE 805
                                                                                                        SAN JUAN, PR 00909

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 67462, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Educadores Puertorriqueños En Acción, Inc., y
   otros, contra Rafael Ramón y otros, Caso n.° 2013-05-1716 (el “Reclamo maestro de EPA”). Los demandantes del pleito son empleados del Departamento de Educación (“DOE”), quienes reconocieron
   haber sido discriminados tras haber quedado excluidos injustamente de algunos aumentos salariales. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las
   obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en el Reclamo maestro de EPA.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 78 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 80 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
83 BURGOS RIVERA,               05/23/18   17 BK 03283-LTS / El          19165             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   MAGALY                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   URB. VISTAMAR                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   Q-906 AVE GALICIA                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
   CAROLINA, PR 00983                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 79 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 81 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
84 BURGOS RIVERA,               05/23/18   17 BK 03566-LTS / Sistema     19159^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   MAGALY                                  de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   URB EL CORTIJO                          del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
   0028 CALLE 3                            Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
   BAYAMON, PR 00956                       Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 19159 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
85 CAMACHO DAVILA,              09/23/19   17 BK 03283-LTS / El          170880            Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
   ANDRES                                  Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
   HC 1 BOX 2329                           Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
   MAUNABO, PR 00707                                                                                      RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.


             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 80 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 82 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
86 CANCEL GAUD,                 05/25/18   17 BK 03283-LTS / El          27873             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema     130077^           $ 6,293,000.00
   ANNETTE                                 Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
   HC03 BOX 30759                          Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
   MAYAGUEZ, PR 00680                                                                                     "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 81 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 83 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
87 CANINO ARROYO,              05/18/18   17 BK 03283-LTS / El         16491                $ 62,329.54 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   MANUEL                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   URB MIRADOR DE                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   BAIROA                                                                                               COLLECTIVELY (THE
   2S 10 CALLE 24                                                                                       BELTRAN CINTRON
   CAGUAS, PR 00727                                                                                     PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 82 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 84 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
88 CARDONA COLL, MARIA        06/29/18   17 BK 03283-LTS / El         68629             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   PO BOX 492                            Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   SAN SEBASTIAN, PR                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   00685                                                                                               COLLECTIVELY (THE
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 83 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 85 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
89 CARDONA COLL, MARIA        06/29/18   17 BK 03283-LTS / El         68653               $ 40,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   PO BOX 492                            Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   SAN SEBASTIAN, PR                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   00685                                                                                               COLLECTIVELY (THE
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 84 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 86 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
90 CARMONA GARCIA,            06/28/18   17 BK 03566-LTS / Sistema     59609              $ 33,367.81* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema     103035^         $ 5,034,400.00*
   CARLOS R                              de Retiro de los Empleados                                    AROCHO ET AL (1,601                     de Retiro de los Empleados
   110 COND ANDALUCIA                    del Gobierno del Estado                                       PLAINTIFFS)                             del Gobierno del Estado
   APT 5302                              Libre Asociado de Puerto                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
   CAROLINA, PR 00987                    Rico                                                          "ACEVEDO AROCHO                         Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K AC
                                                                                                       2005-5022
                                                                                                       LCDA. IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

                                                                                                       PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El          51013          $ 28,000,000.00*
                                                                                                       AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                       PLAINTIFFS)                             Puerto Rico
                                                                                                       COLLECTIVELY (THE
                                                                                                       "ACEVEDO-AROCHO
                                                                                                       PLAINTIFF
                                                                                                       GROUP")CIVIL CASE
                                                                                                       NUM. K AC 2005-5022
                                                                                                       IVONNE GONZALEZ-
                                                                                                       MORALES
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
  otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
  pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
  maestro de Acevedo Arrocho.
  ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 85 de 804
                                  Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 87 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                            FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
91 CARRASQUILLO               06/06/18   17 BK 03283-LTS / El         162755            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   LABOY, MARIA I.                       Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   URB. VILLA HUMACAO                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   CALLE 5 H-13                                                                                        COLLECTIVELY (THE
   HUMACAO, PR 00791                                                                                   BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP")...
                                                                                                       ATTN: IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       PO BOX 9021828
                                                                                                       SAN JUAN, PR 00902

                                                                                                       FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                       ET AL (4,593                            de Retiro de los Empleados
                                                                                                       PLAINTIFFS)                             del Gobierno del Estado
                                                                                                       COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                       "BELTRAN CINTRON                        Rico
                                                                                                       PLAINTIFF GROUP")
                                                                                                       CIVIL CASE NUM. K
                                                                                                       AC2009-0805/TSPR AC
                                                                                                       2016-0120
                                                                                                       C/O IVONNE
                                                                                                       GONZALEZ-MORALES
                                                                                                       ATTORNEY FOR
                                                                                                       BELTRAN CINTRON
                                                                                                       PLAINTIFF GROUP
                                                                                                       P.O. BOX 9021828
                                                                                                       SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
  Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
  son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
  Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
  litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
  maestros de Beltrán Cintrón.
  ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 86 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 88 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
92 CARRASQUILLO ORTA,          06/28/18   17 BK 03283-LTS / El         64057             Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El          161091        $ 280,000,000.00*
   ANGEL                                  Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
   URB RUSSE LOS LIRIOS                   Puerto Rico                                                   PO BOX 8700                             Puerto Rico
   13                                                                                                   PMB120
   MOROVIS, PR 00687                                                                                    CAROLINA, PR 00988

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.
93 CARRASQUILLO ORTA,          06/04/18   17 BK 03283-LTS / El         65795             Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El          161091        $ 280,000,000.00*
   ANGEL G.                               Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
   JANE A. BECKER                         Puerto Rico                                                   PO BOX 8700                             Puerto Rico
   WHITAKER                                                                                             PMB120
   PO BOX 9023914                                                                                       CAROLINA, PR 00988
   SAN JUAN, PR 00902

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 87 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 89 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                            FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                            PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
         NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
94 CARRERO CARRERO,            05/24/18   17 BK 03283-LTS / El          28691             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   ISMENIA I.                             Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   PO BOX 1316                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   RINCON, PR 00677                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                         "ACEVEDO CAMACHO                         Rico
                                                                                                         PLANTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                         CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                         (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                         (COLLECTIVELY THE
                                                                                                         "ACEVEDO CAMACHO
                                                                                                         PLAINTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
  el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
  demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
  del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
  las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
  ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
  ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 88 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 90 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
95 CARRERO LOPEZ,              04/27/18   17 BK 03283-LTS / El          9210                $ 86,811.93 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
   DAVID                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
   IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
   MORALES                                                                                              COLLECTIVELY (THE
   P.O. BOX 9021828                                                                                     BELTRAN CINTRON
   SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 89 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 91 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                      RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                            FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                            PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
         NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
96 CARRERO MARTINEZ,           05/21/18   17 BK 03283-LTS / El          17815             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
   FELICITA                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
   URB. JARDINEZ DE                       Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
   CEIBA                                                                                                 (COLLECTIVELY THE                        Libre Asociado de Puerto
   B-35 CALLE 3                                                                                          "ACEVEDO CAMACHO                         Rico
   CEIBA, PR 00735                                                                                       PLANTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                         CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                         (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                         (COLLECTIVELY THE
                                                                                                         "ACEVEDO CAMACHO
                                                                                                         PLAINTIFF GROUP");
                                                                                                         CASP CASE NUM. 2016-
                                                                                                         05-1340
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

  Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
  el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
  demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
  del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
  las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
  ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
  ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
97 CARTAGENA ORTIZ,            05/21/18   17 BK 03566-LTS / Sistema     36591                 $ 52,119.96 CONCILIO NACIONAL            06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
   NITZA G                                de Retiro de los Empleados                                      DE POLICIAS INC                         Estado Libre Asociado de
   J-3 C/8                                del Gobierno del Estado                                         PO BOX 8700                             Puerto Rico
   URB PASEO COSTA DEL                    Libre Asociado de Puerto                                        PMB120
   SUR                                    Rico                                                            CAROLINA, PR 00988
   AGUIRRE, PR 00704

  Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
  Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
  Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
  empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
  retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.



            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 90 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                              Exhibit A Page 92 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
98 CARTAGENA, JOSE W.           06/21/18    17 BK 03283-LTS / El          45125              $ 50,000.00* VELEZ ROSA LYDIA Y          05/29/18    17 BK 03283-LTS / El          29477              $ 150,000.00
   701 AVE PONCE DE                         Estado Libre Asociado de                                      OTROS KPE 1980-1738                     Estado Libre Asociado de
   LEON SUITE 401                           Puerto Rico                                                   (805), TPI SAN JUAN                     Puerto Rico
   SAN JUAN, PR 00907-3248                                                                                GEORGETTI 78
                                                                                                          SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.
99 CASIANO COLON,               05/10/18    17 BK 03283-LTS / El          13693            Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El          152372          $ 17,590,927.76
   RAMON                                    Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
   BRISAS DEL MAR                           Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
   1788 AVE LAS BRISAS                                                                                    RODRIGUEZ ZAYAS;
   PONCE, PR 00728                                                                                        HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
100 CASIANO COLON,              05/10/18    17 BK 03566-LTS / Sistema     13697            Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El          152372          $ 17,590,927.76
    RAMON                                   de Retiro de los Empleados                                    ALFREDO A, ET ALS                       Estado Libre Asociado de
    BRISAS DEL MAR                          del Gobierno del Estado                                       LCDO. GILBERTO                          Puerto Rico
    1788 AVE LAS BRISAS                     Libre Asociado de Puerto                                      RODRIGUEZ ZAYAS;
    PONCE, PR 00728                         Rico                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 91 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                              Exhibit A Page 93 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
101 CASILLAS PAGAN,             06/28/18   17 BK 03283-LTS / El         138440            Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El          161091        $ 280,000,000.00*
    LESLIE                                 Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    Q9 CALLE 18                            Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    ALTURAS DE                                                                                           PMB120
    INTERAMERICANA                                                                                       CAROLINA, PR 00988
    TRUJILLO ALTO, PR
    00976

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.
102 CASTA BELLIDO,              05/30/18   17 BK 03283-LTS / El         24234              $ 150,000.00* VELEZ ROSA LYDIA Y          05/29/18    17 BK 03283-LTS / El          29477              $ 150,000.00
    BEVERLY                                Estado Libre Asociado de                                      OTROS KPE 1980-1738                     Estado Libre Asociado de
    PO BOX 2169                            Puerto Rico                                                   (805), TPI SAN JUAN                     Puerto Rico
    ANASCO, PR 00610                                                                                     GEORGETTI 78
                                                                                                         SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 92 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                               Exhibit A Page 94 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
103 CASTILLO PIZZINI, IRIS       05/23/18   17 BK 03283-LTS / El          17033                   $ 832.74 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema     103072^           $ 8,990,000.00
    IVONNE GONZÁLEZ                         Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    MORALES                                 Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    P.O. BOX 9021828                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00902-1828                                                                                "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El          32044           $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 93 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 95 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
104 CASTILLO SANTONI,           05/02/18   17 BK 03283-LTS / El         10063             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema     104127^          $ 6,829,644.40*
    ALEXANDRA                              Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    URB BUENA VENTURA                      Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    3016 CALLE LIRIO                                                                                     COLLECTIVELY (THE                       Libre Asociado de Puerto
    MAYAGUEZ, PR 00680                                                                                   "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El          50221           $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 94 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 96 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
105 CASTRO FIGUEROA,            05/25/18   17 BK 03283-LTS / El          32675             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema     130077^           $ 6,293,000.00
    DAVID                                  Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    HC 1 BOX 3422                          Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    REPARTO LA MERCED                                                                                     "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    LAJAS, PR 00667                                                                                       PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 95 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                              Exhibit A Page 97 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
106 CASUL SANCHEZ,              06/27/18   17 BK 03566-LTS / Sistema     44035            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JEANNETE                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    HC 02-BUZON 5715                       del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    LARES, PR 00669                        Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 96 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                              Exhibit A Page 98 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
107 CASUL SANCHEZ,              06/27/18   17 BK 03566-LTS / Sistema     54146            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JEANNETE                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    HC 02 BUZON 5715                       del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    LARES, PR 00669-9708                   Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 97 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                              Exhibit A Page 99 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                         RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
108 CAY PENA, LUZ V.            10/17/19   17 BK 03283-LTS / El         171364            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EXT. JARDINES DE                       Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BARCELONA                              Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CALLE 9-A, CASA 10                                                                                   COLLECTIVELY (THE
    JUNCOS, PR 00777                                                                                     BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 98 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 100 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
109 CEDENO CARABALLO,          06/07/18   17 BK 03283-LTS / El         53014             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ILIA M                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    VEVE CALZADO 3                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    L 57 CALLE 19                                                                                       COLLECTIVELY (THE
    FAJARDO, PR 00738                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 99 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 101 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
110 CEDENO CARABALLO,          06/07/18   17 BK 03283-LTS / El         49450             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ILIA M                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    VEVE CALZADA 3                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CALLE 19 L57                                                                                        COLLECTIVELY (THE
    FAJARDO, PR 00738                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 100 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 102 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
111 CEDENO CARABALLO,          06/07/18   17 BK 03283-LTS / El         52859             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ILIA M.                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    VEVE CALZADA 3                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    L57 CALLE 19                                                                                        COLLECTIVELY (THE
    FAJARDO, PR 00738                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 101 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 103 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
112 CEDENO HERNANDEZ,            05/25/18   17 BK 03283-LTS / El          21419             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    JAZMAYRA A                              Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB MONTE GRANDE                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    136 CALLE DIAMANTE                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
    CABO ROJO, PR 00623                                                                                    "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 102 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 104 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
113 CEPEDA RODRIGUEZ,           06/29/18   17 BK 03283-LTS / El         163463               $ 10,981.50 JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    CARMEN R.                              Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    OBRAS PUBLICAS                         Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    PO BOX 41269                                                                                         COLLECTIVELY (THE                       Libre Asociado de Puerto
    SAN JUAN, PR 00940                                                                                   "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 103 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 105 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
114 CINTRON CINTRON,            06/20/18   17 BK 03283-LTS / El         75640             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ARNALDO L.                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    P.O. BOX 1201                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SALINAS, PR 00751                                                                                    COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 104 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 106 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
115 CINTRON SANTOS,             06/28/18   17 BK 03283-LTS / El        167842^              $ 259,200.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EDWIN A.                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC-2 BOX 8597                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    YABUCOA, PR 00767                                                                                    COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 167842 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 105 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 107 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
116 CINTRON, GISELA            06/25/18   17 BK 03566-LTS / Sistema     50531              $ 150,000.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    RIVERA                                de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    APARTADO 10061                        del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    HUMACAO, PR 00792                     Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                          Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 106 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 108 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
117 CLARKE VIVES, EGBERT        05/17/18   17 BK 03283-LTS / El          13378             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    2136 CALLE ESPERANZA                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PONCE, PR 00717                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
                                                                                                          (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 107 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 109 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
118 CLAUDIO ROSADO,             04/27/18   17 BK 03283-LTS / El          9322                $ 27,589.94 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EDUARDO                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 108 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 110 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
119 CLEMENTE ORTIZ,             06/26/18   17 BK 03566-LTS / Sistema     99164^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    REINALDO A                             de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    C/FERNANDEZ GARCIA                     del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    318                                    Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    LUQUILLO, PR 00773                     Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 99164 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 109 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 111 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
120 COLON ALMENA,               05/24/18   17 BK 03283-LTS / El          46672             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    WANDA                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    JARDINES DE CAGUAS                     Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    E3 CALLE F                                                                                            (COLLECTIVELY THE                        Libre Asociado de Puerto
    CAGUAS, PR 00727                                                                                      "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 110 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 112 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
121 COLON ANDINO, EDWIN        05/29/18   17 BK 03283-LTS / El         42889             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    URB PARQUE ECUESTRE                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    AA 5 CALLE CAMARERO                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAROLINA, PR 00987                                                                                  COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 111 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 113 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
122 COLON APONTE,              06/26/18   17 BK 03283-LTS / El         51376             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    FLAVIA M.                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB. LAS AGUILAS                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CALLE 5 B-1                                                                                         COLLECTIVELY (THE
    COAMO, PR 00769                                                                                     BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 112 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 114 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
123 COLON BONILLA, ROSA         06/28/18   17 BK 03283-LTS / El         130666            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    M.                                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 325                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795                                                                                 COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 113 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 115 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
124 COLON DELGADO,              05/21/18   17 BK 03566-LTS / Sistema     18266             Indeterminado* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    ELIZABETH                              de Retiro de los Empleados                                     ROSARIO ET AL                            de Retiro de los Empleados
    4 LOMAS DE CAMPO                       del Gobierno del Estado                                        COLLECTIVELY (THE                        del Gobierno del Estado
    ALEGRE                                 Libre Asociado de Puerto                                       LOPEZ-ROSARIO                            Libre Asociado de Puerto
    HUMACAO, PR 00791                      Rico                                                           PLAINTIFF GROUP);                        Rico
                                                                                                          IVONNE GONZALEZ
                                                                                                          MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 114 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 116 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
125 COLON DELGADO,              05/21/18   17 BK 03566-LTS / Sistema     28432             Indeterminado* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    ELIZABETH                              de Retiro de los Empleados                                     ROSARIO ET AL                            de Retiro de los Empleados
    4 LOMAS DE CAMPO                       del Gobierno del Estado                                        COLLECTIVELY (THE                        del Gobierno del Estado
    ALEGRE                                 Libre Asociado de Puerto                                       LOPEZ-ROSARIO                            Libre Asociado de Puerto
    HUMACAO, PR 00791                      Rico                                                           PLAINTIFF GROUP);                        Rico
                                                                                                          IVONNE GONZALEZ
                                                                                                          MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 115 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 117 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
126 COLON MULERO, LYDIA         12/14/18   17 BK 03283-LTS / El         168021               $ 50,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    R                                      Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 12099                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SAN JUAN, PR 00914                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
127 COLON ORTEGA ,              05/23/18   17 BK 03283-LTS / El          19111              $ 100,000.00* VELEZ ROSA LYDIA Y            05/29/18   17 BK 03283-LTS / El           29477              $ 150,000.00
    MATILDE                                Estado Libre Asociado de                                       OTROS KPE 1980-1738                      Estado Libre Asociado de
    BO. GUADIANA CORREO                    Puerto Rico                                                    (805), TPI SAN JUAN                      Puerto Rico
    GENERAL                                                                                               GEORGETTI 78
    NARANJITO, PR 00719                                                                                   SAN JUAN, PR 00925

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
   Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
   al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
   educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
   remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 116 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 118 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
128 COLON PEREZ, NORMA I        05/25/18   17 BK 03283-LTS / El          30217               $ 73,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB CONTRY CLUB                        Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    MQ 29 CALLE 428                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CAROLINA, PR 00982                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 117 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 119 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
129 COLON SANTIAGO,            06/29/18   17 BK 03566-LTS / Sistema     87320^              $ 68,960.00 PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    JESSICA                               de Retiro de los Empleados                                    AROCHO ET AL (1,601                     de Retiro de los Empleados
    CALLE GUAMANI # 41                    del Gobierno del Estado                                       PLAINTIFFS)                             del Gobierno del Estado
    CIUDAD CENTRO PR                      Libre Asociado de Puerto                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
    CAROLINA, PR 00987                    Rico                                                          "ACEVEDO AROCHO                         Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K AC
                                                                                                        2005-5022
                                                                                                        LCDA. IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 87320 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
130 COLON SANTIAGO, LUIS       06/12/18   17 BK 03283-LTS / El          38901            Indeterminado* CONCILIO NACIONAL            06/01/18   17 BK 03283-LTS / El          161091        $ 280,000,000.00*
    A.                                    Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    HC 01 BOX 7207                        Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    VILLALBA, PR 00766                                                                                  PMB120
                                                                                                        CAROLINA, PR 00988

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.

             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 118 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 120 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
131 CONCEPCION                  06/05/18   17 BK 03283-LTS / El         47278             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    QUINONES, JOSEFINA                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 91 BOX 9488                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    VEGA ALTA, PR 00692-                                                                                 COLLECTIVELY (THE
    9365                                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 119 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 121 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
132 CONCHITA E COX             03/05/18   17 BK 03566-LTS / Sistema     1845^            $ 91,000,000.00* FRANCISCO BELTRAN          03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    SCHUCK                                de Retiro de los Empleados                                      ET ALL (4,493                         Estado Libre Asociado de
    URB UNIVERSITY                        del Gobierno del Estado                                         PLAINTIFFS)                           Puerto Rico
    GARDENS                               Libre Asociado de Puerto                                        COLLECTIVELY (THE
    322A CALLE CLEMSON                    Rico                                                            BELTRAN CINTRON
    SAN JUAN, PR 00927                                                                                    PLAINTIFF GROUP")...
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 1845 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 1845 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 120 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 122 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
133 CORA MARQUEZ,                06/28/18   17 BK 03283-LTS / El          87974             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MANUEL                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 9702                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CAGUAS, PR 00726                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 121 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 123 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
134 CORALES RAMOS,               06/07/18   17 BK 03283-LTS / El         104473             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    EVELYN A                                Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    PO BOX 798                              Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    CABO ROJO, PR 00623                                                                                    "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP");                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 122 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 124 of 805

                                                                Tricentésima Quincuagésima Primera Objeción Global
                                                                 Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                      FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE              RECLAM       MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN       RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
135 CORDERO GARCIA,              06/01/18   17 BK 03567-LTS /            45592             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    ANGELA                                  Autoridad de Carreteras y                                     DIAZ ET AL (1084                        de Retiro de los Empleados
    PO BOX 1546                             Transportación de Puerto                                      PLAINTIFFS)                             del Gobierno del Estado
    RIO GRANDE, PR 00745-                   Rico                                                          COLLECTIVELY (THE                       Libre Asociado de Puerto
    1546                                                                                                  "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 123 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 125 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
136 CORDERO VELEZ,             05/30/18   17 BK 03283-LTS / El         41573             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CLARA M                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 9281                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    HUMACAO, PR 00791                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 124 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 126 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
137 CORDERO VELEZ,             05/30/18   17 BK 03283-LTS / El         29148             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CLARA M.                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 9281                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    HUMACAO, PR 00792                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 125 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 127 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
138 CORDOVA ESCALERA,          06/28/18   17 BK 03283-LTS / El         144605            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN A.                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB. HDA LA MATILDE                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    5687 MORELL CAMPOS                                                                                  COLLECTIVELY (THE
    PONCE, PR 00728                                                                                     BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 126 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 128 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
139 CORDOVA, JUANITA            05/25/18   17 BK 03283-LTS / El         33515             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NUNEZ                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 4173                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    VEGA BAJA, PR 00694                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 127 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 129 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
140 CORREA DELGADO,              05/30/18   17 BK 03283-LTS / El          58444               $ 20,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MAYRA                                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    P.O. BOX 107                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    JUANA DIAZ, PR 00795                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 128 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 130 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
141 CORREA MORALES,             05/30/18   17 BK 03283-LTS / El          28985               $ 33,747.45* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    WILBERTO                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    TORRES DE ANDALUCIA                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    TORRE II APTO 1110                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00926                                                                                    "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 129 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 131 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
142 CORREA VILLEGAS,             06/22/18   17 BK 03283-LTS / El          85610              $ 201,600.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN M                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 02 BOX 14377                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CAROLINA, PR 00987                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 130 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 132 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
143 CORREA VILLEGAS,             06/22/18   17 BK 03566-LTS / Sistema     84983               $ 47,675.94* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN M.                               de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 02 BOX 14377                         del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    CAROLINA, PR 00987                      Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                            Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 131 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 133 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
144 CORTIJO SANCHEZ,             05/25/18   17 BK 03283-LTS / El          43457             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    EDITH                                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB COUNTRY CLUB                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    QM5 CALLE 246                                                                                          (COLLECTIVELY THE                        Libre Asociado de Puerto
    CAROLINA, PR 00982-                                                                                    "ACEVEDO CAMACHO                         Rico
    1895                                                                                                   PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
145 COSME VAZQUEZ,               05/23/18   17 BK 03283-LTS / El          19212              $ 150,000.00* VELEZ ROSA LYDIA Y            05/29/18   17 BK 03283-LTS / El           29477              $ 150,000.00
    MARIA                                   Estado Libre Asociado de                                       OTROS KPE 1980-1738                      Estado Libre Asociado de
    BO. CEDRO ARRIBA                        Puerto Rico                                                    (805), TPI SAN JUAN                      Puerto Rico
    APARTADO 755                                                                                           GEORGETTI 78
    NARANJITO, PR 00719                                                                                    SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 132 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 134 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
146 COTTO CAMARA,              07/05/18   17 BK 03283-LTS / El         131315            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    DAIMARY                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    NB 52 CALLE QUINA                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    URB. SANTA JUANITA                                                                                  COLLECTIVELY (THE
    BAYAMON, PR 00956                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 133 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 135 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
147 COTTO CINTRON,              02/28/20    17 BK 03283-LTS / El          173378           Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    PEDRO                                   Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    URB. JARDINES DEL                       Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    MAMEY                                                                                                 RODRIGUEZ ZAYAS;
    CALLE 6 J11                                                                                           HC 2 BOX 6519
    PATILLAS, PR 00723                                                                                    GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
148 COTTO MALDONADO,            06/29/18    17 BK 03566-LTS / Sistema     140262           Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    JESSICA                                 de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    URB. PARQUE                             del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    GABRIELA D-6 CALLE 4                    Libre Asociado de Puerto                                      PMB120
    SALINAS, PR 00751                       Rico                                                          CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 134 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 136 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
149 CRUZ CABRERA, MARIA         05/24/18   17 BK 03283-LTS / El          28425               $ 14,400.00* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    DE LOURDES                             Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    PO BOX 6680                            Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    BAYAMON, PR 00960                                                                                     "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 135 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 137 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
150 CRUZ CARLO, JOSE M         05/24/18   17 BK 03283-LTS / El         28527^             $ 381,600.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    HC 66 BOX 10317                       Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    FAJARDO, PR 00738                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 28527 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 136 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 138 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
151 CRUZ CARLO, JOSE M.         05/24/18   17 BK 03566-LTS / Sistema     31462^             $ 160,014.96 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    HC 66 BOX 10317                        de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    FAJARDO, PR 00738                      del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
                                           Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 31462 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 31462 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 137 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 139 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
152 CRUZ CRUZ, NITZA           07/09/18    17 BK 03566-LTS / Sistema     154374             $ 12,960.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    URB VISTAS DE CAMUY                    de Retiro de los Empleados                                    ALFREDO A, ET ALS                       Estado Libre Asociado de
    H19 CALLE 3                            del Gobierno del Estado                                       LCDO. GILBERTO                          Puerto Rico
    CAMUY, PR 00627                        Libre Asociado de Puerto                                      RODRIGUEZ ZAYAS;
                                           Rico                                                          HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 138 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 140 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
153 CRUZ GONZALEZ,              04/27/18   17 BK 03283-LTS / El          9127                $ 19,988.09 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN L                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 139 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 141 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
154 CRUZ GONZALEZ,              06/07/18   17 BK 03283-LTS / El         71197                $ 21,156.24 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN L.                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 454                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    DORADO, PR 00646-0454                                                                                COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 140 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 142 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
155 CRUZ IRIZARRY,               06/27/18   17 BK 03283-LTS / El         102255               $ 105,600.00 DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    ZULMA I.                                Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    PO BOX. 800598                          Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    COTO LAUREL, PR 00780                                                                                  LOPEZ-ROSARIO                            Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP);                        Rico
                                                                                                           IVONNE GONZALEZ
                                                                                                           MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                           ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                           COLLECTIVELY (THE                        Puerto Rico
                                                                                                           LOPEZ-ROSARIO
                                                                                                           PLAINTIFF GROUP)
                                                                                                           P.O. BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
    Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
    virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
    arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
    arriba ni están subsumidas en los Reclamos maestros de López Rosario.
    ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
156 CRUZ IZQUIERDO,              05/30/18   17 BK 03283-LTS / El          23803                $ 7,430.20* CONCILIO NACIONAL            06/01/18    17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    GABRIEL                                 Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
    LIRIO DEL MAR                           Puerto Rico                                                    PO BOX 8700                              Puerto Rico
    TORRES, ESQ.                                                                                           PMB120
    PO BOX 3552                                                                                            CAROLINA, PR 00988
    MAYAGUEZ, PR 00681

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 141 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 143 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
157 CRUZ IZQUIERDO,             05/30/18   17 BK 03283-LTS / El         42540               $ 95,000.00* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    GABRIEL                                Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    JARDIN DEL ESTE                        Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    67 CALLE LAUREL                                                                                      PMB120
    NAGUABO, PR 00718                                                                                    CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 142 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 144 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
158 CRUZ OLMO, ROTCIV          05/29/18   17 BK 03283-LTS / El         31857             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    URB CIUDAD DEL LAGO                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    13                                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    TRUJILLO ALTO, PR                                                                                   COLLECTIVELY (THE
    00976                                                                                               BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 143 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 145 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
159 CRUZ ORTIZ, NORMA E.        07/06/18   17 BK 03283-LTS / El         160733              $ 45,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CORALES DE HATILLO                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    B-28 CALLE 7                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    HATILLO, PR 00659                                                                                    COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 144 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 146 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
160 CRUZ PEREZ, JORGE           06/29/18    17 BK 03283-LTS / El        164917             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    P.O. BOX 148                            Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    SANTA ISABEL, PR 00757                  Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
                                                                                                          RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 145 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 147 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
161 CRUZ REYES, IVELISSE        05/23/18   17 BK 03283-LTS / El         19432             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    HC 12 BOX 7302                         Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HUMACAO, PR 00791                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 146 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 148 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
162 CRUZ RIVERA , RAFAEL        06/26/18   17 BK 03283-LTS / El          99284             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NO. 158 CALLE 16 VRB                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    LA ARBDE DA                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SALINAS, PR 00751                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 147 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 149 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
163 CRUZ RIVERA, RAFAEL          06/29/18   17 BK 03283-LTS / El          139810            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NO. 158 CALLE 16 URB.                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    LA ARBOLEDA                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SALINAS, PR 00751                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
164 CRUZ RODRIGUEZ,              06/29/18   17 BK 03566-LTS / Sistema     120596              $ 67,000.00* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    KAMIR J.                                de Retiro de los Empleados                                     DE POLICIAS INC                          Estado Libre Asociado de
    HC-1 BOX 7421                           del Gobierno del Estado                                        PO BOX 8700                              Puerto Rico
    LUQUILLO, PR 00773                      Libre Asociado de Puerto                                       PMB120
                                            Rico                                                           CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 148 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 150 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
165 CRUZ SERRANO, MARY          05/07/18   17 BK 03283-LTS / El         10825                $ 77,921.37 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    BELL                                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 149 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 151 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
166 CRUZ TROCHE, JOSE E.         06/28/18   17 BK 03283-LTS / El         129511               $ 50,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    1575 AVE. MUNOZ                         Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    RIVERA                                  Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    PMB 393                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    PONCE, PR 00717-0211                                                                                   "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 150 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 152 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
167 CRUZ VALENTIN,              06/06/18   17 BK 03566-LTS / Sistema     65702              $ 47,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MADELYN                                de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 1890                            del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    ISABELA, PR 00662                      Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 151 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 153 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
168 CRUZ VEGA, SAMUEL           06/29/18    17 BK 03283-LTS / El        140156             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    HC 01 BOX 4516                          Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    JUANA DIAZ, PR 00795                    Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
                                                                                                          RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
169 CRUZ ZAYAS, IDA             06/21/18    17 BK 03283-LTS / El         73709             Indeterminado* EDUCADORES                  06/29/18    17 BK 03283-LTS / El           67462         $ 35,000,000.00*
    R-7-4 TOWN HOUSE                        Estado Libre Asociado de                                      PUERTORRIQUEÑOS EN                      Estado Libre Asociado de
    COAMO, PR 00769                         Puerto Rico                                                   ACCIÓN, INC                             Puerto Rico
                                                                                                          BUFETE FRANCISCO R.
                                                                                                          GONZÁLEZ
                                                                                                          1519 PONCE DE LEÓN
                                                                                                          AVE.
                                                                                                          SUITE 805
                                                                                                          SAN JUAN, PR 00909

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 67462, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Educadores Puertorriqueños En Acción, Inc., y
    otros, contra Rafael Ramón y otros, Caso n.° 2013-05-1716 (el “Reclamo maestro de EPA”). Los demandantes del pleito son empleados del Departamento de Educación (“DOE”), quienes reconocieron
    haber sido discriminados tras haber quedado excluidos injustamente de algunos aumentos salariales. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las
    obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
    arriba ni están subsumidas en el Reclamo maestro de EPA.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 152 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 154 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
170 CRUZ, EDNA DAVILA            05/25/18   17 BK 03283-LTS / El          30198             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    13-11 CALLE 28                          Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CAROLINA, PR 00983                      Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
                                                                                                           (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 153 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 155 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
171 CUADRADO FLORES ,           06/29/18   17 BK 03283-LTS / El         150714             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    LUZ M.                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 1082                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CAGUAS, PR 00726                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 154 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 156 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
172 CUADRADO MATOS,              06/27/18   17 BK 03566-LTS / Sistema    113845^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN                                  de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. ALT. SAN PEDRO                     del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    T-15 CALLE SAN                          Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    MARCOS                                  Rico                                                           "ACEVEDO CAMACHO                         Rico
    FAJARDO, PR 00738                                                                                      PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 113845 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 155 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 157 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
173 CUADRADO ROSARIO,          05/23/18   17 BK 03283-LTS / El         16603             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    GISELLE                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 8802                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BO.TEJAS                                                                                            COLLECTIVELY (THE
    HUMACAO, PR 00792                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 156 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 158 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
174 CUADRADO ROSARIO,          05/23/18   17 BK 03283-LTS / El         19253             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    GISELLE E                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 8802                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BO TEJAS                                                                                            COLLECTIVELY (THE
    HUMACAO, PR 00792                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 157 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 159 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
175 CUEVAS SOTO,                06/19/18   17 BK 03283-LTS / El         79269             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    WILLIAM                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC-02 BOX 6598                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    LARES, PR 00669                                                                                      COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 158 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 160 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
176 CURBELO JARAMILLO,         06/07/18   17 BK 03283-LTS / El         61313             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    DAISY                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    COOP DE VIVIENDA                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JARD DE SAN IGNACIO                                                                                 COLLECTIVELY (THE
    APTO 1002 B                                                                                         BELTRAN CINTRON
    SAN JUAN, PR 00927                                                                                  PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 159 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 161 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
177 DACOSTA MARTELL,            04/30/18   17 BK 03283-LTS / El          9744             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    GILDA                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    EXT LA ALAMEDA                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    C 38 CALLE A                                                                                         COLLECTIVELY (THE
    SAN JUAN, PR 00926                                                                                   BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 160 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 162 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
178 DACOSTA MARTELL,            04/30/18   17 BK 03566-LTS / Sistema      9749            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    GILDA                                  de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    EXT LA ALAMEDA                         del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    C 38 CALLE A                           Libre Asociado de Puerto                                      COLLECTIVELY (THE
    SAN JUAN, PR 00926                     Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 161 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 163 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
179 DAVID RUIZ, WIDALYS        06/28/18   17 BK 03283-LTS / El         163996            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    A                                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    INTERAMERICANA                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    APTS A-2 CALLE 20                                                                                   COLLECTIVELY (THE
    APT 346                                                                                             BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                   PLAINTIFF GROUP")...
    00976                                                                                               ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 162 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 164 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
180 DAVID RUIZ, WIDALYS         06/28/18   17 BK 03283-LTS / El         130238            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    A.                                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    INTERAMERICANA                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    APTS.CALLE 20 A2 APT                                                                                 COLLECTIVELY (THE
    346                                                                                                  BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                    PLAINTIFF GROUP")...
    00976                                                                                                ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 163 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 165 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
181 DAVID RUIZ, WIDALYS         06/28/18   17 BK 03283-LTS / El         154816            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    A.                                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    INTERAMERICANA                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    APTS. A2 CALLE 20 APT                                                                                COLLECTIVELY (THE
    346                                                                                                  BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                    PLAINTIFF GROUP")...
    00976                                                                                                ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 164 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 166 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
182 DAVID RUIZ, WIDALYS        06/28/18   17 BK 03283-LTS / El         164949            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    A.                                    Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    INTERAMERICANO APT                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    A2 CALLE 20                                                                                         COLLECTIVELY (THE
    APT 346                                                                                             BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                   PLAINTIFF GROUP")...
    00976                                                                                               ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 165 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 167 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
183 DAVILA BAEZ, SYLVIA        05/25/18   17 BK 03283-LTS / El         38055             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    Y.                                    Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 1204                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    NAGUABO, PR 00718                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 166 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 168 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
184 DAVILA CORTES,               06/29/18   17 BK 03283-LTS / El         163453                $ 30,000.00 DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    MELBA I.                                Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    20 C URB. SANTIAGO                      Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    LOIZA, PR 00772                                                                                        LOPEZ-ROSARIO                            Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP);                        Rico
                                                                                                           IVONNE GONZALEZ
                                                                                                           MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                           ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                           COLLECTIVELY (THE                        Puerto Rico
                                                                                                           LOPEZ-ROSARIO
                                                                                                           PLAINTIFF GROUP)
                                                                                                           P.O. BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
    Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
    virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
    arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
    arriba ni están subsumidas en los Reclamos maestros de López Rosario.
    ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 167 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 169 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
185 DAVILA CRUZ, EDNA            05/25/18   17 BK 03283-LTS / El          27105             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    13-11 CALLE 28                          Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CAROLINA, PR 00983                      Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
                                                                                                           (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 168 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 170 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
186 DAVILA CRUZ, EDNA            05/25/18   17 BK 03566-LTS / Sistema     43614^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB SABANA GDNS                         de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    1311 CALLE 28                           del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    CAROLINA, PR 00983-                     Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    2910                                    Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 43614 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
187 DAVILA GONZALEZ,             05/21/18   17 BK 03283-LTS / El          32641             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    JOSE A.                                 Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    HC-01 BOX 2933                          Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    COABEY                                                                                                 RODRIGUEZ ZAYAS;
    JAYUYA, PR 00664                                                                                       HC 2 BOX 6519
                                                                                                           GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.


              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 169 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                Desc:
                                                             Exhibit A Page 171 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                        RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                   PRESENTA           NÚMERO DE             RECLAM      MONTO DE LA
           NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                 NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN      RECLAMACIÓN
188 DAVILA JIMENEZ,             06/29/18   17 BK 03283-LTS / El         84910               $ 85,000.00 VELEZ ROSA LYDIA Y          05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    JANICE                                 Estado Libre Asociado de                                     OTROS KPE 1980-1738                    Estado Libre Asociado de
    PO BOX 764                             Puerto Rico                                                  (805), TPI SAN JUAN                    Puerto Rico
    GURABO, PR 00778                                                                                    GEORGETTI 78
                                                                                                        SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                   Página 170 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 172 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
189 DAVILA MEDINA,              05/29/18   17 BK 03283-LTS / El         39666             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ADELA E                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 298                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    RIO GRANDE, PR 00745                                                                                 COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 171 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 173 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
190 DE JESUS ALMEDINA,          06/29/18   17 BK 03283-LTS / El         133474             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARIA P.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    P.O. BOX 856                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SALINAS, PR 00751                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 172 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 174 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
191 DE JESUS ALMEDINA,          06/29/18   17 BK 03283-LTS / El         142584             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARIA P.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 856                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SALINAS, PR 00751                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 173 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 175 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
192 DE JESUS ALMEDIRA,          06/29/18   17 BK 03283-LTS / El         145026             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARIA P.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 856                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SALINAS, PR 00751                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 174 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 176 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
193 DE JESUS GONZALEZ,         06/07/18   17 BK 03283-LTS / El         82743^              $ 324,000.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    BETSY                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 06 BOX 70057                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAGUAS, PR 00727                                                                                    COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 82743 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 175 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 177 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
194 DE JESUS RIVERA, IRIS       06/26/18   17 BK 03566-LTS / Sistema     38229^              $ 25,000.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    PO BOX 1542                            de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    CAROLINA, PR 00984-                    del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    1542                                   Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 38229 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 176 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 178 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
195 DE JESÚS RIVERA,            06/29/18   17 BK 03283-LTS / El         144321             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARILUZ                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    635 CALLE EUCALIPTO                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    URB. FAJARDO                                                                                          (COLLECTIVELY THE                        Libre Asociado de Puerto
    GARDENS                                                                                               "ACEVEDO CAMACHO                         Rico
    FAJARDO, PR 00738                                                                                     PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 177 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 179 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
196 DE JESUS ROSADO,            06/29/18   17 BK 03283-LTS / El         141526            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EDUVINA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 856                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SALINAS, PR 00751                                                                                    COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 178 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 180 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
197 DE JESUS ROSADO,            06/29/18   17 BK 03283-LTS / El         143153            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EDUVINA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BOX 856                                Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SALINAS, PR 00751                                                                                    COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 179 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 181 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
198 DE JESUS SALAZAR,           04/10/18   17 BK 03283-LTS / El          6846              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    WILLIAM                                Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    HC 04 BOX 40552                        Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    MAYAGUEZ, PR 00680                                                                                    "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 180 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 182 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
199 DE LOS A CINTRON,           05/15/18   17 BK 03283-LTS / El         15445             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 171                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BARRANQUITAS, PR                                                                                     COLLECTIVELY (THE
    00794                                                                                                BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 181 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 183 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
200 DE LOS A. MUJICA             05/25/18   17 BK 03283-LTS / El          23567                   $ 609.03 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MUJICA, ROSA                            Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 182 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 184 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
201 DEJESUS ROSADO,             06/29/18   17 BK 03283-LTS / El         149442            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EDUVINA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BOX 856                                Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SALINAS, PR 00751                                                                                    COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 183 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 185 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
202 DELGADO PEREZ, ALMA          06/27/18   17 BK 03283-LTS / El         107770             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    R.                                      Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    P.O. BOX 800023                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    COTO LAUREL, PR 00780                                                                                  (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 184 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 186 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
203 DIAZ CRUZ, LILLIAN L.       05/25/18   17 BK 03283-LTS / El         46597              $ 150,900.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JARDINES DE BALENCIA                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    APTO 1412                              Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    C/ PERERA LEAL 621                                                                                   COLLECTIVELY (THE
    RIO PIEDRAS, PR 00923                                                                                BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 185 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 187 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
204 DIAZ CRUZ, LILLIAN L.       05/25/18   17 BK 03566-LTS / Sistema     33790^             $ 69,611.74* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JARDINES DE                            de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    VALENCIA 1413                          del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    C/PEREIRA LEAL 631                     Libre Asociado de Puerto                                      COLLECTIVELY (THE
    RIO PIEDRAS, PR 00923                  Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 33790 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 186 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 188 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
205 DIAZ DE JESUS, HECTOR        05/14/18   17 BK 03283-LTS / El          11050             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CALLE AGUEYBANA                         Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CC-16                                   Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    PARQUE DEL MONTE                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    CAGUAS, PR 00725                                                                                       "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 187 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 189 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
206 DIAZ DIAZ, IRVIN            05/10/18   17 BK 03283-LTS / El         14262             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    HC-01 BOX 4668                         Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    NAGUABO, PR 00718                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 188 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                Desc:
                                                             Exhibit A Page 190 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                       RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                   PRESENTA           NÚMERO DE             RECLAM      MONTO DE LA
           NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                 NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN      RECLAMACIÓN
207 DIAZ FIGUEROA,              07/30/18   17 BK 03283-LTS / El        109600               $ 13,964.41 VELEZ ROSA LYDIA Y          05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    MILAGROS                               Estado Libre Asociado de                                     OTROS KPE 1980-1738                    Estado Libre Asociado de
    PO BOX 7444                            Puerto Rico                                                  (805), TPI SAN JUAN                    Puerto Rico
    SAN JUAN, PR 00916                                                                                  GEORGETTI 78
                                                                                                        SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.
208 DIAZ FIGUEROA,              07/30/18   17 BK 03283-LTS / El        150389              $ 13,964.41* VELEZ ROSA LYDIA Y          05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    MILAGROS                               Estado Libre Asociado de                                     OTROS KPE 1980-1738                    Estado Libre Asociado de
    BO OBRERO                              Puerto Rico                                                  (805), TPI SAN JUAN                    Puerto Rico
    629 CALLE NIN                                                                                       GEORGETTI 78
    SAN JUAN, PR 00912                                                                                  SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.
209 DIAZ FIGUEROA,              07/30/18   17 BK 03283-LTS / El        161886^              $ 13,964.41 VELEZ ROSA LYDIA Y          05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    MILAGROS                               Estado Libre Asociado de                                     OTROS KPE 1980-1738                    Estado Libre Asociado de
    CALLE NIN #629                         Puerto Rico                                                  (805), TPI SAN JUAN                    Puerto Rico
    SAN JUAN, PR 00915                                                                                  GEORGETTI 78
                                                                                                        SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.
    ^ Reclamo n°. 161886 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                   Página 189 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 191 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
210 DIAZ FLOUES, GLENDA          05/07/18   17 BK 03283-LTS / El          12083             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    LIZ                                     Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 50 BOX 20913                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SAN LORENZO, PR 00754                                                                                  (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 190 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 192 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
211 DIAZ GARCIA, MIGUEL          05/25/18   17 BK 03283-LTS / El          22296                   $ 502.88 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    A                                       Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
212 DIAZ MERCED, HECTOR          08/14/19   17 BK 03283-LTS / El         170314             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    P O BOX 2287                            Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    SALINAS, PR 00751                       Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
                                                                                                           RODRIGUEZ ZAYAS;
                                                                                                           HC 2 BOX 6519
                                                                                                           GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 191 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 193 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
213 DIAZ MORALES, AZLIN        06/14/18   17 BK 03283-LTS / El         64729^              $ 367,200.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    QUINTAS BALDWIN                       Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    50 AVE A APT 1206                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BAYAMON, PR 00959                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 64729 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 192 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 194 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
214 DIAZ MORALES, AZLIN        06/14/18   17 BK 03566-LTS / Sistema     78765              $ 39,604.74* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    QUINTAS BALWIN #50                    de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    AVE. A APT. 1206                      del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    BAYAMON, PR 00959                     Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                          Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 193 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 195 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                     FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
215 DIAZ NIEVES, AIDA            05/17/18   17 BK 03566-LTS / Sistema     16670            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    URB RAMEY                               de Retiro de los Empleados                                    DIAZ ET AL (1084                        de Retiro de los Empleados
    128 CALLE A                             del Gobierno del Estado                                       PLAINTIFFS)                             del Gobierno del Estado
    AGUADILLA, PR 00603-                    Libre Asociado de Puerto                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
    1102                                    Rico                                                          "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 194 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 196 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
216 DIAZ ORTIZ, ANGEL L          05/23/18   17 BK 03283-LTS / El          30132             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    COUNTRY CLUB 4TH                        Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    EXT. 885                                Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CALLE/GALAPAGOS                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00924                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 195 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 197 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
217 DIAZ RODRIGUEZ,             06/29/18   17 BK 03283-LTS / El         114301               $ 18,031.01 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARITZA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 372177                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAYEY, PR 00737-2177                                                                                 COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 196 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 198 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
218 DIAZ RUIZ, MIQUEL A         09/11/19    17 BK 03283-LTS / El        170725             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    B MULA HC 63                            Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    BOX 3591                                Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    PATILLAS, PR 00723                                                                                    RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 197 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 199 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
219 DIAZ VEGA, AMELIA            05/02/18   17 BK 03283-LTS / El          11675             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    5878 CALLE JACINTO                      Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    GUTIERREZ                               Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    BARRIADA BELGICA                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    PONCE, PR 00717                                                                                        "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 198 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 200 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
220 DOMINGUEZ ESTRADA,           04/04/18   17 BK 03283-LTS / El           6490             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CRUZ S                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB LOS DOMINICOS                       Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    D89 CALLE SANTO                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
    TOMAS DE AQUINO                                                                                        "ACEVEDO CAMACHO                         Rico
    BAYAMON, PR 00957                                                                                      PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
221 DONES DE LEON,               06/29/18   17 BK 03283-LTS / El         143358             Indeterminado* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    ROBERTO                                 Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
    P.O. BOX 1235                           Puerto Rico                                                    PO BOX 8700                              Puerto Rico
    LAS PIEDRAS, PR 00771                                                                                  PMB120
                                                                                                           CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 199 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 201 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
222 DONES MORALES,              06/28/18   17 BK 03283-LTS / El         70396             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NAYDA L.                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    P.O. BOX 801                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    URB. VALLES DE                                                                                       COLLECTIVELY (THE
    ARROYO #24                                                                                           BELTRAN CINTRON
    ARROYO, PR 00714                                                                                     PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 200 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 202 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
223 DONES MORALES,              06/28/18   17 BK 03566-LTS / Sistema     51423            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NAYDA L.                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    P.O. BOX 801                           del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    ARROYO, PR 00714                       Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 201 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 203 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
224 DONES RODRIGUEZ,           06/11/18   17 BK 03283-LTS / El         84179               $ 50,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 7963                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAGUAS, PR 00726                                                                                    COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 202 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 204 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
225 DONES RODRIGUEZ,           06/11/18   17 BK 03283-LTS / El         88628             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    P.O. BOX 7963                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAGUAS, PR 00726                                                                                    COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 203 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 205 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
226 DYPERON RODRIGUEZ,          06/27/18   17 BK 03283-LTS / El         98158             Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    BARBARA ENID                           Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    4121 CALLE NUCLEAR                     Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    URB. BELLA VISTA                                                                                     COLLECTIVELY (THE                       Libre Asociado de Puerto
    PONCE, PR 00716-4148                                                                                 "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 204 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 206 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
227 ECHEVARRIA                  07/06/18   17 BK 03283-LTS / El         147525            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ACEVEDO, DAVID                         Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC-4 BOX 42530                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUADILLA, PR 00603                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 205 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 207 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
228 ECHEVARRIA LASSUS,          05/24/18   17 BK 03566-LTS / Sistema     35103            Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    AMPARO                                 de Retiro de los Empleados                                    AROCHO ET AL (1,601                     de Retiro de los Empleados
    HC 2 BOX 14361                         del Gobierno del Estado                                       PLAINTIFFS)                             del Gobierno del Estado
    CAROLINA, PR 00987-                    Libre Asociado de Puerto                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
    9812                                   Rico                                                          "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 206 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 208 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
229 ECHEVARRIA                   04/20/18   17 BK 03283-LTS / El          7850              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    MARTINEZ, RAMON                         Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    RR03 BOX 10150                          Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    ANASCO, PR 00610-9160                                                                                  "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP");                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 207 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 209 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
230 ENCARNACION                06/08/18   17 BK 03283-LTS / El         72473             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    VASQUEZ, BELKIS                       Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    COND. LOS                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    ALEMANDIOS PLAZA I                                                                                  COLLECTIVELY (THE
    APT 703                                                                                             BELTRAN CINTRON
    SAN JUAN, PR 00924                                                                                  PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 208 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 210 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
231 ESPADA DAVID,               09/12/19   17 BK 03283-LTS / El         170639            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EVELYN M.                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 1086                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    COAMO, PR 00769                                                                                      COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 209 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 211 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
232 ESPINOZA MARTINEZ,         05/29/18   17 BK 03283-LTS / El         32405             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JAVIER                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 8981                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    HUMACAO, PR 00792                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 210 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 212 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
233 ESQUILIN CINTRON,          04/20/18   17 BK 03566-LTS / Sistema     7830^            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ROSA                                  de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    BC5 CALLE YAGRUMO                     del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    VALLE ARRIBA                          Libre Asociado de Puerto                                      COLLECTIVELY (THE
    HEIGHTS                               Rico                                                          BELTRAN CINTRON
    CAROLINA, PR 00983                                                                                  PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 7830 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 211 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 213 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
234 ESTEVES ESTEVES,            03/22/18   17 BK 03283-LTS / El         4023^               $ 15,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    OLGA                                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 6 BOX 12134                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SAN SEBASTIAN, PR                                                                                    COLLECTIVELY (THE
    00685                                                                                                BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 4023 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 212 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 214 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
235 ESTRADA VEGA,                06/20/18   17 BK 03283-LTS / El          42194             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN B.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE 81 BLQ 95 CASA 3                  Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SIERRA BAYAMON                                                                                         (COLLECTIVELY THE                        Libre Asociado de Puerto
    BAYAMON, PR 00961                                                                                      "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 213 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 215 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
236 ESTRADA VEGA,                06/20/18   17 BK 03566-LTS / Sistema     37785^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN B.                               de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE 81 BLQ 95 CASA 3                  del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    SIERRA BAYAMON                          Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    BAYAMON, PR 00961                       Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 37785 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 214 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 216 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
237 FALCON MALAVE,              06/29/18   17 BK 03283-LTS / El         114299                 $ 400.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MERLYN L.                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PMB 485 HC 1 BOX 29030                 Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAGUAS, PR 00725-8900                                                                                COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 215 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 217 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
238 FALTO LARACUENTE,           07/16/18   17 BK 03283-LTS / El         130146             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    LINNETTE                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    PO BOX 1462                            Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    HORMIGUEROS, PR                                                                                       "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    00660                                                                                                 PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 216 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 218 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
239 FELICIANO MARTINEZ,          06/26/18   17 BK 03283-LTS / El          91282             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MYLDA A.                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    613 CALLE TABONUCO                      Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    FAJARDO, PR 00738-3076                                                                                 (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 217 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 219 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
240 FELICIANO MEDINA,           06/26/18   17 BK 03283-LTS / El         113392            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MIGUEL                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC-01                                  Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BOX 9097                                                                                             COLLECTIVELY (THE
    PENUELAS, PR 00624                                                                                   BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 218 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 220 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
241 FELICIANO RODRIGUEZ,        03/29/18   17 BK 03283-LTS / El          5645                $ 45,000.00* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    IRVING                                 Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    CARR. NUEVA HC-01                      Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    BOX 8380                                                                                              LOPEZ-ROSARIO                            Libre Asociado de Puerto
    HORMIGUEROS, PR                                                                                       PLAINTIFF GROUP);                        Rico
    00660                                                                                                 IVONNE GONZALEZ
                                                                                                          MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 219 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 221 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
242 FELICIANO RODRIGUEZ,        04/27/18   17 BK 03283-LTS / El          9143                    $ 60.00* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    IRVING                                 Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    HC 01 BOX 8380                         Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    HORMIGUEROS, PR                                                                                       LOPEZ-ROSARIO                            Libre Asociado de Puerto
    00660                                                                                                 PLAINTIFF GROUP);                        Rico
                                                                                                          IVONNE GONZALEZ
                                                                                                          MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 220 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 222 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
243 FELICIANO ROSADO,          05/23/18   17 BK 03566-LTS / Sistema     26099            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JARITZA                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    HC-3 BOX 6395                         del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    RINCON, PR 00677                      Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                          Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 221 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 223 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
244 FELIX PENA, MARISOL         05/07/18   17 BK 03283-LTS / El          10823             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    HC 55 BOX 8817                         Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CEIBA, PR 00735                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
                                                                                                          (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 222 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 224 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
245 FERNANDEZ                    05/23/18   17 BK 03283-LTS / El          18293                    $ 42.00 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    GONZALEZ, EMILIO                        Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 223 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 225 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
246 FERNANDEZ                    05/24/18   17 BK 03283-LTS / El          25661                   $ 811.44 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    HERNANDEZ, JESUS                        Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 224 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 226 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
247 FERNANDEZ OTERO,            05/02/18   17 BK 03283-LTS / El          9346                $ 50,864.55 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NILSA                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 225 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 227 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
248 FERNANDEZ                   06/28/18   17 BK 03283-LTS / El         125472              $ 75,000.00* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    RODRIGUEZ, JORGE L                     Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    HC 01 BOX 60021                        Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    LAS PIEDRAS, PR 00771                                                                                COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 226 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 228 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
249 FERNANDEZ TORRES,           06/29/18   17 BK 03566-LTS / Sistema     117101           Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    NANCY                                  de Retiro de los Empleados                                    AROCHO ET AL (1,601                     de Retiro de los Empleados
    H.C. 01 BOX 5296                       del Gobierno del Estado                                       PLAINTIFFS)                             del Gobierno del Estado
    SANTA ISABEL, PR 00757                 Libre Asociado de Puerto                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
                                           Rico                                                          "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 227 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 229 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
250 FERRAO AYALA,                07/05/18   17 BK 03283-LTS / El         155181                 $ 10,582.01 MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARIELI                                 Estado Libre Asociado de                                        CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    P.O. BOX 387                            Puerto Rico                                                     PLANTIFFS)                              del Gobierno del Estado
    TOA ALTA, PR 00954                                                                                      (COLLECTIVELY THE                       Libre Asociado de Puerto
                                                                                                            "ACEVEDO CAMACHO                        Rico
                                                                                                            PLANTIFF GROUP");
                                                                                                            CASP CASE NUM. 2016-
                                                                                                            05-1340
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 228 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 230 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
251 FIGUEROA ALAMO,              05/23/18   17 BK 03283-LTS / El          30135               $ 302,400.00 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ANGEL M.                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    P.O. BOX 6333                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SAN JUAN, PR 00914-6333                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 229 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 231 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
252 FIGUEROA DIAZ,              06/29/18   17 BK 03283-LTS / El         43188                 $ 7,200.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LINELLY                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    11302 ISLE OF                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    WATERBRIDGE                                                                                          COLLECTIVELY (THE
    APTO 107                                                                                             BELTRAN CINTRON
    ORLANDO, FL 32837                                                                                    PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 230 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 232 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
253 FIGUEROA DIAZ,             06/28/18   17 BK 03283-LTS / El         58357                 $ 7,200.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LINELLY                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    11302 ISLE OF                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    WATERBRIDGE APT.107                                                                                 COLLECTIVELY (THE
    ORLANDO, FL 32837                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 231 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 233 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
254 FIGUEROA DIAZ,              06/28/18   17 BK 03283-LTS / El         58953                 $ 7,200.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LINELLY                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    11302 ISLE OF                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    WATERBRIDGE                                                                                          COLLECTIVELY (THE
    APT 107                                                                                              BELTRAN CINTRON
    ORLANDO, FL 32837                                                                                    PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 232 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 234 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
255 FIGUEROA MUNIZ, IRIS         07/05/18   17 BK 03283-LTS / El         157252             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    M                                       Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    9202 NW 9TH CT                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    PLANTATION, FL 33324                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 233 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 235 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
256 FIGUEROA NIEVES,             04/12/18   17 BK 03283-LTS / El          7264              Indeterminado* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    ELSA M.                                 Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    URB LA MARINA                           Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    19 CALLE ERIDANA                                                                                       LOPEZ-ROSARIO                            Libre Asociado de Puerto
    CAROLINA, PR 00979                                                                                     PLAINTIFF GROUP);                        Rico
                                                                                                           IVONNE GONZALEZ
                                                                                                           MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                           ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                           COLLECTIVELY (THE                        Puerto Rico
                                                                                                           LOPEZ-ROSARIO
                                                                                                           PLAINTIFF GROUP)
                                                                                                           P.O. BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
    Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
    virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
    arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
    arriba ni están subsumidas en los Reclamos maestros de López Rosario.
    ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 234 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 236 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
257 FIGUEROA PENA, EDNA        06/28/18   17 BK 03283-LTS / El         139353            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CALLE DEL MONTE 144                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BO. CAMPANILLA                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    TOA BAJA, PR 00949                                                                                  COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 235 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 237 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
258 FLORES RODRIGUEZ,          05/21/18   17 BK 03283-LTS / El         30776               $ 60,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ERIC X.                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    VILLA MARIA G15                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CALLE 2                                                                                             COLLECTIVELY (THE
    CAQUAS, PR 00725                                                                                    BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 236 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 238 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
259 FLORES ZAYES,               06/14/18   17 BK 03283-LTS / El         50202             Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    ZOBEIDA                                Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    PO BOX 3502 SUITE 25                   Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    JUANA DIAZ, PR 00795                                                                                 COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 237 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 239 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
260 FONTANEZ MELENDEZ,           06/29/18   17 BK 03566-LTS / Sistema     134072            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    WILFREDO                                de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. LOMAS VERDES                       del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    3V-10                                   Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    CALLE MIRTO                             Rico                                                           "ACEVEDO CAMACHO                         Rico
    BAYAMON, PR 00956-                                                                                     PLANTIFF GROUP");
    3320                                                                                                   CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
261 FORGAS TORRUELLAS ,          05/21/18   17 BK 03566-LTS / Sistema     35399             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    JULIO                                   de Retiro de los Empleados                                     ALFREDO A, ET ALS                        Estado Libre Asociado de
    BDA BELGICA                             del Gobierno del Estado                                        LCDO. GILBERTO                           Puerto Rico
    5974 CALLE BOLIVIA                      Libre Asociado de Puerto                                       RODRIGUEZ ZAYAS;
    PONCE, PR 00717-1724                    Rico                                                           HC 2 BOX 6519
                                                                                                           GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 238 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 240 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
262 FRANCIS ALVARADO,           05/29/18   17 BK 03283-LTS / El          40959             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    JOSEPHINE                              Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. COUNTRY CLUB                      Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    2DA. EXT.                                                                                             (COLLECTIVELY THE                        Libre Asociado de Puerto
    CARLOS BESTERO #1140                                                                                  "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00924                                                                                    PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 239 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 241 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
263 FUENTES ECHEVARRIA,         06/06/18   17 BK 03283-LTS / El         61458                 $ 2,000.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ENID                                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 3 BOX 33827                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    HATILLO, PR 00659-9611                                                                               COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 240 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 242 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
264 FUENTES ECHEVARRIA,        06/06/18   17 BK 03283-LTS / El         62931                 $ 3,000.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ENID                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 3 BOX 33811                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    HATILLO, PR 00659                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 241 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 243 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
265 GALINDEZ SIERRA,            06/04/18   17 BK 03283-LTS / El          38765             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN S.                              Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    BOX 1550                               Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MANATI, PR 00674                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 242 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 244 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
266 GALLARDO DE LEON,          06/29/18   17 BK 03283-LTS / El         138137            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ALEXANDRA                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB. VILLA CAROLINA                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    11930 CALLE 67                                                                                      COLLECTIVELY (THE
    CAROLINA, PR 00985                                                                                  BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 243 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 245 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
267 GARCIA CORTES,              05/24/18   17 BK 03283-LTS / El         23887             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARGARITA                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 59 BOX 6902                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUADA, PR 00602                                                                                     COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 244 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 246 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
268 GARCIA CORTES,              05/24/18   17 BK 03283-LTS / El         27808             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARGARITA                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 59 BOX 6902                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUADA, PR 00602                                                                                     COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 245 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 247 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
269 GARCIA HERNANDEZ,           05/24/18   17 BK 03283-LTS / El         24367^               $ 712,800.00 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NEFTALI                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. MONTE VERDE                       Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CALLE MONTE SANTO                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
    #3317                                                                                                 "ACEVEDO CAMACHO                         Rico
    MANATI, PR 00674                                                                                      PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 24367 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 246 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 248 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
270 GARCIA RIVERA,             05/30/18   17 BK 03283-LTS / El         27778             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LISANDRA                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 523                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MAUNABO, PR 00707                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 247 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 249 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
271 GARCIA TORRES,               06/28/18   17 BK 03283-LTS / El         123230            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    CARMEN M                                Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    HC 9 BOX 1737                           Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    PONCE, PR 00731                                                                                       COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                          "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 248 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 250 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
272 GARCIA VAZQUEZ,             06/25/18   17 BK 03283-LTS / El         90794             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    SONIA I                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    225 CALLE REINA                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PONCE, PR 00730-3525                                                                                 COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 249 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 251 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
273 GARCIA, LUIS R.            06/06/18   17 BK 03283-LTS / El         48906               $ 18,480.00* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    URB VIRGINIA VALLEY                   Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    615 VALLE VERDE                       Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    JUNCOS, PR 00777                                                                                    PMB120
                                                                                                        CAROLINA, PR 00988

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 250 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 252 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
274 GERENA LOZADA,              10/09/19   17 BK 03283-LTS / El         171319              $ 210,000.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    AUDRY                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    P O BOX 9728                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PLAZA CAROLINA ST                                                                                    COLLECTIVELY (THE
    CAROLINA, PR 00988                                                                                   BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 251 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 253 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
275 GERENA MARCANO,              06/28/18   17 BK 03283-LTS / El         96234^               $ 604,800.00 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    RICARDO                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    22 CALLE                                Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    15 HILL BROTHERS                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00924                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 96234 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 252 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 254 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
276 GERMAIN                    06/12/18   17 BK 03283-LTS / El         88187             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    OPPENHEIMER,                          Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CARMEN E.                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    URB. EL MADRIGAL                                                                                    COLLECTIVELY (THE
    CALLE 2 B10                                                                                         BELTRAN CINTRON
    PONCE, PR 00730                                                                                     PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 253 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 255 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
277 GOGLAS LOPEZ,               05/30/18   17 BK 03283-LTS / El         37989                $ 55,767.12 CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    KATHERINE M                            Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    HC 4 BOX 22008                         Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    JUANA DIAZ, PR 00795                                                                                 PMB120
                                                                                                         CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 254 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 256 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
278 GONZALEZ                    04/17/18   17 BK 03566-LTS / Sistema      7924            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CANDELARIO, MARIA L                    de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    VILLA CAROLINA                         del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    CALLE 64 BLOQ 120 15                   Libre Asociado de Puerto                                      COLLECTIVELY (THE
    CAROLINA, PR 00985                     Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 255 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 257 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
279 GONZALEZ                   05/30/18   17 BK 03283-LTS / El         38419             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARTAGENA, ELBA IDA                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 2 BOX 7221                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SALINAS, PR 00751                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 256 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 258 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                         RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
280 GONZALEZ CIRINO,            06/28/18   17 BK 03283-LTS / El         125021            Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    RICARDO                                Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    PO BOX 11664                           Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    SAN JUAN, PR 00910                                                                                   PMB120
                                                                                                         CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 257 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 259 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
281 GONZALEZ COLON,            05/01/18   17 BK 03283-LTS / El         11177             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NOEMI                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB JARDINES DE                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAGUAS C/B #B-9                                                                                     COLLECTIVELY (THE
    CAGUAS, PR 00727                                                                                    BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 258 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 260 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
282 GONZALEZ COTTO, ADA         06/29/18   17 BK 03566-LTS / Sistema     155032            Indeterminado* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    L.                                     de Retiro de los Empleados                                     ROSARIO ET AL                            de Retiro de los Empleados
    URB REXVILLE                           del Gobierno del Estado                                        COLLECTIVELY (THE                        del Gobierno del Estado
    BF9 CALLE 34                           Libre Asociado de Puerto                                       LOPEZ-ROSARIO                            Libre Asociado de Puerto
    BAYAMON, PR 00957-                     Rico                                                           PLAINTIFF GROUP);                        Rico
    4138                                                                                                  IVONNE GONZALEZ
                                                                                                          MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 259 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 261 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
283 GONZALEZ COTTO,              06/29/18   17 BK 03283-LTS / El         166165               $ 50,000.00* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    NILDA A                                 Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    1484 AVE ROOSEVELT,                     Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    APTO. 1213                                                                                             LOPEZ-ROSARIO                            Libre Asociado de Puerto
    SAN JUAN, PR 00920-2723                                                                                PLAINTIFF GROUP);                        Rico
                                                                                                           IVONNE GONZALEZ
                                                                                                           MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                           ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                           COLLECTIVELY (THE                        Puerto Rico
                                                                                                           LOPEZ-ROSARIO
                                                                                                           PLAINTIFF GROUP)
                                                                                                           P.O. BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
    Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
    virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
    arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
    arriba ni están subsumidas en los Reclamos maestros de López Rosario.
    ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 260 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 262 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
284 GONZALEZ CRUZ,               06/26/18   17 BK 03283-LTS / El         106560             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    JUDITH M.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. VISTAS DE                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    LUQUILLO II                                                                                            (COLLECTIVELY THE                        Libre Asociado de Puerto
    717 CALLE CUARZO                                                                                       "ACEVEDO CAMACHO                         Rico
    LUQUILLO, PR 00773                                                                                     PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 261 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 263 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
285 GONZALEZ CRUZ,               05/24/18   17 BK 03283-LTS / El          33632                   $ 628.98 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MANUEL                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 262 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 264 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
286 GONZALEZ DE JESUS,         06/06/18   17 BK 03283-LTS / El         65979                  $ 500.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ENID                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 1 BOX 2625                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    ARECIBO, PR 00616                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 263 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 265 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
287 GONZALEZ FIGUEROA,          05/10/18    17 BK 03283-LTS / El          14197            Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    FERNANDO                                Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    HC 1 BOX 6168                           Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    GUAYANILLA, PR 00656-                                                                                 RODRIGUEZ ZAYAS;
    9445                                                                                                  HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
288 GONZALEZ FIGUEROA,          05/10/18    17 BK 03566-LTS / Sistema     14267            Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    FERNANDO                                de Retiro de los Empleados                                    ALFREDO A, ET ALS                       Estado Libre Asociado de
    HC 1 BOX 6168                           del Gobierno del Estado                                       LCDO. GILBERTO                          Puerto Rico
    GUAYANILLA, PR 00656                    Libre Asociado de Puerto                                      RODRIGUEZ ZAYAS;
                                            Rico                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
289 GONZALEZ FONTANEZ,          06/12/18    17 BK 03283-LTS / El          63201               $ 35,000.00 VELEZ ROSA LYDIA Y          05/29/18    17 BK 03283-LTS / El           29477             $ 150,000.00
    MARIBEL                                 Estado Libre Asociado de                                      OTROS KPE 1980-1738                     Estado Libre Asociado de
    JOSEFINA PANTOJA                        Puerto Rico                                                   (805), TPI SAN JUAN                     Puerto Rico
    OQUENDO, ABOG.                                                                                        GEORGETTI 78
    PO BOX 21370                                                                                          SAN JUAN, PR 00925
    SAN JUAN, PR 00928-1370

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 264 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                Desc:
                                                            Exhibit A Page 266 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                        RECLAMACIÓN REMANENTE

                            FECHA DE                                  N.º DE                                                    FECHA DE                                  N.º DE
                            PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                   PRESENTA           NÚMERO DE             RECLAM      MONTO DE LA
          NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                 NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN      RECLAMACIÓN
290 GONZALEZ FONTANEZ,         06/12/18   17 BK 03283-LTS / El         63724              $ 45,000.00* VELEZ ROSA LYDIA Y          05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    MARIBEL                               Estado Libre Asociado de                                     OTROS KPE 1980-1738                    Estado Libre Asociado de
    PANTOJA OQUENDO,                      Puerto Rico                                                  (805), TPI SAN JUAN                    Puerto Rico
    JOSEFINA                                                                                           GEORGETTI 78
    PO BOX 21370                                                                                       SAN JUAN, PR 00925
    SAN JUAN, PR 00928

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
   Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
   al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
   educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
   remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                   Página 265 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 267 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
291 GONZALEZ GARCIA,           06/29/18   17 BK 03283-LTS / El         147046            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LUCRECIA                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB. JARDINES DE                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    ARROYO                                                                                              COLLECTIVELY (THE
    A 6 CALLE X                                                                                         BELTRAN CINTRON
    ARROYO, PR 00714                                                                                    PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 266 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 268 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
292 GONZALEZ GONZALEZ,          06/29/18   17 BK 03566-LTS / Sistema     163454            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    DIGNORA                                de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    RR#1 BUZON 35CC                        del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    CAROLINA, PR 00979                     Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                           Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 267 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 269 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
293 GONZALEZ                     06/07/18   17 BK 03566-LTS / Sistema     52589             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MALDONADO,                              de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    MIGDALIA                                del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    BO RIO CANAS ARRIBA                     Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    CALLE 1 # 119                           Rico                                                           "ACEVEDO CAMACHO                         Rico
    JUANA DIAZ, PR 00795                                                                                   PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 268 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 270 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
294 GONZALEZ MERCADO,          06/26/18   17 BK 03283-LTS / El         71688             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    OMAR                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB ROLLING HILLS                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    S 368 CALLE                                                                                         COLLECTIVELY (THE
    TEGUCIGALPA                                                                                         BELTRAN CINTRON
    CAROLINA, PR 00987                                                                                  PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 269 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 271 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
295 GONZALEZ MERCADO,          06/26/18   17 BK 03283-LTS / El         98315             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    OMAYRA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB COUNTRY CLUB                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JC 20 C 230                                                                                         COLLECTIVELY (THE
    CAROLINA, PR 00982                                                                                  BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 270 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 272 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
296 GONZALEZ ORTIZ,             04/09/18   17 BK 03283-LTS / El          5389                 $ 1,224.00 JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    ANGEL M                                Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    BO HELECHAL                            Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    HC 03 BOX 8911                                                                                       COLLECTIVELY (THE                       Libre Asociado de Puerto
    BARRANQUITAS, PR                                                                                     "ABRAMS-DIAZ                            Rico
    00794                                                                                                PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 271 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 273 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
297 GONZALEZ PIZARRO,            05/25/18   17 BK 03283-LTS / El          23816                 $ 15,517.20 MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARIA M.                                Estado Libre Asociado de                                        CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                     PLANTIFFS)                              del Gobierno del Estado
    MORALES                                                                                                 (COLLECTIVELY THE                       Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                        "ACEVEDO CAMACHO                        Rico
    SAN JUAN, PR 00902-1828                                                                                 PLANTIFF GROUP");
                                                                                                            CASP CASE NUM. 2016-
                                                                                                            05-1340
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 272 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 274 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
298 GONZALEZ RAMOS,              06/29/18   17 BK 03283-LTS / El          56373             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    GUILLERMO                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    PO BOX 2758                             Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    RIO GRANDE, PR 00745-                                                                                  "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    2758                                                                                                   PLAINTIFF GROUP");                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 273 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 275 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
299 GONZALEZ RAMOS,              05/24/18   17 BK 03283-LTS / El          17014                   $ 832.05 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    LEYNE                                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 274 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 276 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
300 GONZALEZ REYES,              06/29/18   17 BK 03283-LTS / El          90510                 $ 5,000.00* MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    IRMA I.                                 Estado Libre Asociado de                                        CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    URB. LOMA ALTA                          Puerto Rico                                                     PLANTIFFS)                              del Gobierno del Estado
    CALLE 1 E-Z                                                                                             (COLLECTIVELY THE                       Libre Asociado de Puerto
    CAROLINA, PR 00987                                                                                      "ACEVEDO CAMACHO                        Rico
                                                                                                            PLANTIFF GROUP");
                                                                                                            CASP CASE NUM. 2016-
                                                                                                            05-1340
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 275 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 277 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
301 GONZALEZ RIOS,              06/28/18   17 BK 03283-LTS / El         75583                   $ 110.62 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    RAMON A.                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 276 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 278 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
302 GONZALEZ RIOS,              11/04/19    17 BK 03283-LTS / El        172132               $ 15,000.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    WILFREDO                                Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    BOX 651                                 Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    VEGA ALTA, PR 00692                                                                                   RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 277 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 279 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
303 GONZÁLEZ RIVERA,             06/28/18   17 BK 03283-LTS / El          57704             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NESTOR J.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB VILLA ROSALES                       Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CALLE 1 # C20                                                                                          (COLLECTIVELY THE                        Libre Asociado de Puerto
    AIBONITO, PR 00705                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 278 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 280 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
304 GONZALEZ RODRIGUEZ,         07/05/18   17 BK 03566-LTS / Sistema     156607             $ 25,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN D                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    COND CAGUAS TOWER                      del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    40 COND CAGUAS                         Libre Asociado de Puerto                                      COLLECTIVELY (THE
    TOWER APT 406                          Rico                                                          BELTRAN CINTRON
    CAGUAS, PR 00725-5601                                                                                PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 279 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 281 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
305 GONZALEZ TORRES,            06/28/18   17 BK 03566-LTS / Sistema     122696             $ 75,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LISSETTE                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 8230                            del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    PONCE, PR 00732-8230                   Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 280 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 282 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                      FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE              RECLAM       MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN       RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
306 GORDIAN, YOLANDA            06/22/18   17 BK 03567-LTS /            87996               $ 30,000.00* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    GUZMAN                                 Autoridad de Carreteras y                                     DIAZ ET AL (1084                        de Retiro de los Empleados
    71 EXT MARIO BRASCHI                   Transportación de Puerto                                      PLAINTIFFS)                             del Gobierno del Estado
    JUANA DIAZ, PR 00795                   Rico                                                          COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 281 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                Desc:
                                                             Exhibit A Page 283 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                        RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                   PRESENTA           NÚMERO DE             RECLAM      MONTO DE LA
           NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                 NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN      RECLAMACIÓN
307 GUELEN, KEYLA M.            05/30/18   17 BK 03283-LTS / El         42528               $ 8,175.00* VELEZ ROSA LYDIA Y          05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    LCDA. AMELIA M.                        Estado Libre Asociado de                                     OTROS KPE 1980-1738                    Estado Libre Asociado de
    CINTRON VELAZQUEZ                      Puerto Rico                                                  (805), TPI SAN JUAN                    Puerto Rico
    URB. SAN ANTONIO 1939                                                                               GEORGETTI 78
    AVE. LAS AMÉRICAS                                                                                   SAN JUAN, PR 00925
    PONCE, PR 00728-1815

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                   Página 282 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 284 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
308 GUILLAMA ORAMA,              06/05/18   17 BK 03283-LTS / El          46964             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN I                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 543                              Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    HATILLO, PR 00659                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 283 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 285 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
309 GUTIÉRREZ MATOS,             05/25/18   17 BK 03283-LTS / El          18098             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    YASMIN                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE MORALES                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    #85 - A PDA. 20                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
    SANTURCE, PR 00909                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 284 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 286 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
310 GUTIERREZ                   06/18/18   17 BK 03283-LTS / El         88105             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MONTALVO,                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    MARGARITA                              Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    3330 ANTONIA SAEZ                                                                                    COLLECTIVELY (THE
    URB. LAS DELICIAS                                                                                    BELTRAN CINTRON
    PONCE, PR 00728                                                                                      PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 285 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 287 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
311 GUZMAN LOPEZ, JORGE        06/29/18   17 BK 03283-LTS / El         148277              $ 48,799.73* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    L                                     Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    HC 1 BOX 13153                        Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    COMERIO, PR 00782                                                                                   COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                        "ACEVEDO AROCHO                         Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K AC
                                                                                                        2005-5022
                                                                                                        LCDA. IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 286 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 288 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
312 HERNANDEZ CABAN,            06/06/18   17 BK 03566-LTS / Sistema     60868            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LETICIA                                de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 725                             del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    AGUADILLA, PR 00605                    Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 287 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 289 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
313 HERNANDEZ COSME,            09/27/19    17 BK 03283-LTS / El        171186             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    JOSE A.                                 Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    HC 2 BOX 9056                           Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    GUAYANILLA, PR 00656                                                                                  RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 288 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 290 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
314 HERNANDEZ DE JESUS,         06/21/18   17 BK 03283-LTS / El          76344                 $ 46,080.00 MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARISOL                                Estado Libre Asociado de                                        CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    502 VALLE DE ENSUENO                   Puerto Rico                                                     PLANTIFFS)                              del Gobierno del Estado
    VALLE VERDE                                                                                            (COLLECTIVELY THE                       Libre Asociado de Puerto
    GURABO, PR 00778                                                                                       "ACEVEDO CAMACHO                        Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 289 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 291 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
315 HERNANDEZ DE JESUS,         06/21/18   17 BK 03283-LTS / El          76345             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARISOL                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URBANIZACION VALLE                     Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    DE ENSUENO                                                                                            (COLLECTIVELY THE                        Libre Asociado de Puerto
    502 VALLE VERDE                                                                                       "ACEVEDO CAMACHO                         Rico
    GURABO, PR 00778                                                                                      PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 290 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 292 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
316 HERNANDEZ DE JESUS,         06/21/18   17 BK 03566-LTS / Sistema     63395             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARISOL                                de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB VALLE DE                           del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    ENSUENO                                Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    502 VALLE VERDE                        Rico                                                           "ACEVEDO CAMACHO                         Rico
    GURABO, PR 00778                                                                                      PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 291 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 293 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
317 HERNANDEZ                   05/24/18   17 BK 03566-LTS / Sistema     31067^                $ 26,824.75 MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    GONZALEZ , ZAIDA                       de Retiro de los Empleados                                      CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    505 CALLE BALEARES                     del Gobierno del Estado                                         PLANTIFFS)                              del Gobierno del Estado
    PUERTO NUEVO                           Libre Asociado de Puerto                                        (COLLECTIVELY THE                       Libre Asociado de Puerto
    SAN JUAN, PR 00920                     Rico                                                            "ACEVEDO CAMACHO                        Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 31067 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 292 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 294 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
318 HERNANDEZ HERRERA,          08/11/20   17 BK 03283-LTS / El         174846               $ 100,000.00 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ANTONIA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    513 CALLE L NUEVA                      Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    VIDA EL TUQUE                                                                                         (COLLECTIVELY THE                        Libre Asociado de Puerto
    PONCE, PR 00728                                                                                       "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 293 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 295 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
319 HERNANDEZ ORTIZ,            05/07/18   17 BK 03283-LTS / El         10368                   $ 200.07 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ELBA N                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 294 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 296 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
320 HERNANDEZ PERALES,         05/22/18    17 BK 03283-LTS / El         28109              $ 141,697.97* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    ANGEL                                  Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    URB LA HACFENDA                        Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    CALLE 42 AJ - 14                                                                                     RODRIGUEZ ZAYAS;
    GUAYAMA, PR 00784                                                                                    HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 295 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 297 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
321 HERNANDEZ RESTO,            06/20/18   17 BK 03283-LTS / El          45001               $ 18,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    HIRAM                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC-61 BOX 4438                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    TRUJILLO ALTO, PR                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
    00976                                                                                                 "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 296 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 298 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
322 HERNANDEZ RIVERA,          06/29/18   17 BK 03283-LTS / El         78555               $ 75,000.00* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    MARCELINO                             Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    URB. BELLA VISTA                      Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    G-46 CALLE 10A                                                                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
    BAYAMON, PR 00957                                                                                   "ACEVEDO AROCHO                         Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K AC
                                                                                                        2005-5022
                                                                                                        LCDA. IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 297 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 299 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
323 HERNANDEZ ROSADO,           05/14/18   17 BK 03283-LTS / El          14843             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    SECUNDINO                              Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    2 CALLE BRISAS DEL                     Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    MAR                                                                                                   "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    AGUADA, PR 00602                                                                                      PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 298 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 300 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
324 HERNANDEZ TORRES,           06/28/18   17 BK 03283-LTS / El          59741             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ISABEL                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. LIRIOS                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    108 CALLE ALELI                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    JUNCOS, PR 00777                                                                                      "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
325 HERNANDEZ VELEZ,            07/05/18   17 BK 03566-LTS / Sistema     155410            Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    ALEJANDRO                              de Retiro de los Empleados                                     ALFREDO A, ET ALS                        Estado Libre Asociado de
    HC 4 BOX 11619                         del Gobierno del Estado                                        LCDO. GILBERTO                           Puerto Rico
    YAUCO, PR 00698                        Libre Asociado de Puerto                                       RODRIGUEZ ZAYAS;
                                           Rico                                                           HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 299 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 301 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
326 HERNANDEZ, RUBEN            06/30/18    17 BK 03283-LTS / El         68711             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    P.O BOX 3637                            Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    AGUADILLA, PR 00605-                    Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    3854                                                                                                  RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 300 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 302 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
327 HERNANDEZ-NIEVES,          06/15/18   17 BK 03283-LTS / El         83038             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    SOLIMAR                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    3 RAFAEL MAYMI                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAGUAS, PR 00725                                                                                    COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 301 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 303 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
328 HIDALGO SOTO,              07/13/18   17 BK 03283-LTS / El         150984              $ 10,560.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JUANITO                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CARR 441 BO NARANJO                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SECTOR SEGUI                                                                                        COLLECTIVELY (THE
    HC-01 BOX 6530-1                                                                                    BELTRAN CINTRON
    MOCA, PR 00676                                                                                      PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 302 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 304 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
329 HILERIO HERNANDEZ,          06/13/18   17 BK 03283-LTS / El         64302^              $ 15,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LUZ                                    Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 6 BOX 66106                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUADILLA, PR 00603                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 64302 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 303 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 305 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
330 HILERIO HERNANDEZ,          06/13/18   17 BK 03566-LTS / Sistema     64064^             $ 45,520.67* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LUZ                                    de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    HC 6 BOX 66106                         del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    AGUADILLA, PR 00603                    Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 64064 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 304 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 306 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
331 HILERIO HERNANDEZ,          06/13/18   17 BK 03283-LTS / El         64284             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LUZ I.                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 06 BOX 66106                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUADILLA, PR 00603                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 305 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 307 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
332 HORTA NIEVES, DANIEL       06/29/18   17 BK 03566-LTS / Sistema     135681           Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    CARR 172 RAMAL 7775                   de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    PO BOX 9721                           del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    CIDRA, PR 00739                       Libre Asociado de Puerto                                      PMB120
                                          Rico                                                          CAROLINA, PR 00988

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 306 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 308 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
333 HUERTAS MOJICA,              05/26/18   17 BK 03283-LTS / El          23810             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    SAMUEL                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    RR 7 BOX 16667                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    TOA ALTA, PR 00953                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
334 HUERTAS RIOS, LINDA I        05/21/18   17 BK 03283-LTS / El          17746             Indeterminado* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    CALLE 21 V-1125                         Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
    ALTURAS DE RIO                          Puerto Rico                                                    PO BOX 8700                              Puerto Rico
    GRANDE                                                                                                 PMB120
    RIO GRANDE, PR 00745                                                                                   CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 307 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 309 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                     FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
335 IGLESIAS DE JESUS,           06/05/18   17 BK 03283-LTS / El          46577              $ 180,000.00 JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    ELIZABETH                               Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    URB VILLAS DE LOIZA                     Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    R 31 CALLE 19                                                                                         COLLECTIVELY (THE                       Libre Asociado de Puerto
    CANOVANAS, PR 00729                                                                                   "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
336 ILARRAZA CRUZ,               06/15/18   17 BK 03566-LTS / Sistema     87888            Indeterminado* CONCILIO NACIONAL            06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    WANDA I.                                de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    BOX 6071                                del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    CAGUAS, PR 00725                        Libre Asociado de Puerto                                      PMB120
                                            Rico                                                          CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.

              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 308 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 310 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
337 INOSTROZA ARROYO,          05/29/18   17 BK 03283-LTS / El         32244             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA P                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB VISTA HERMOSA J                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    17 CALLE 8                                                                                          COLLECTIVELY (THE
    HUMACAO, PR 00791                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 309 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 311 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
338 IRIZARRY CACERES,            04/17/18   17 BK 03566-LTS / Sistema     7660^             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    SONIA M                                 de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE YAUREL 3025                       del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    EXT MONTE SOL                           Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    CABO ROJO, PR 00623                     Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 7660 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 310 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 312 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
339 IRIZARRY CACERES,            05/22/18   17 BK 03283-LTS / El          23658             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    SONIA N                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    EXT MONTE SOL                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    3025 CALLE YAUREL                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
    CABO ROJO, PR 00623                                                                                    "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 311 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 313 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
340 IRIZARRY PEREZ,             07/02/18   17 BK 03283-LTS / El         109995             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    GERARDO                                Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    HC 7 BOX 21346                         Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    MAYAGUEZ, PR 00680                                                                                    "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 312 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 314 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
341 IRIZARRY SOTO, EVA         06/29/18   17 BK 03283-LTS / El         150441              $ 65,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    URB CONSTANCIA 2905                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CALLE VANNINA                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    P.O. BOX 7840                                                                                       COLLECTIVELY (THE
    PONCE, PR 00717                                                                                     BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 313 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 315 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
342 IRIZARRY TORRES,            05/25/18   17 BK 03283-LTS / El          22810               $ 28,939.12* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NANCY                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE 39 A-15                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    URBANIZACION SANTA                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
    JUANITA                                                                                               "ACEVEDO CAMACHO                         Rico
    BAYAMON, PR 00956                                                                                     PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 314 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 316 of 805

                                                                Tricentésima Quincuagésima Primera Objeción Global
                                                                 Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                      FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE              RECLAM       MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN       RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
343 JIMENEZ RIVERA,              05/21/18   17 BK 03567-LTS /            27779             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    IRENES                                  Autoridad de Carreteras y                                     DIAZ ET AL (1084                        de Retiro de los Empleados
    BO ESPINAL BZN 152                      Transportación de Puerto                                      PLAINTIFFS)                             del Gobierno del Estado
    CALLE A                                 Rico                                                          COLLECTIVELY (THE                       Libre Asociado de Puerto
    AGUADA, PR 00602                                                                                      "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 315 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 317 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
344 JUSINO MORALES,              05/04/18   17 BK 03283-LTS / El         10512             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    NOREEN                                  Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    2DA EXT EL VALLE                        Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    530 CALLE GIRASOL                                                                                     COLLECTIVELY (THE                       Libre Asociado de Puerto
    LAJAS, PR 00662                                                                                       "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 316 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 318 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
345 JUSINO RIVERA, MARI         07/06/18   17 BK 03283-LTS / El         149322            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    OLGA                                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB. ESTANCIES DEL                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    RIO GIRASOL                                                                                          COLLECTIVELY (THE
    SABONA GRANDE, PR                                                                                    BELTRAN CINTRON
    00673-7164                                                                                           PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 317 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 319 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
346 JUSINO VAZQUEZ,             05/30/18   17 BK 03283-LTS / El         38596             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    HAYDEE                                 Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    URB VALLE HERMOSO                      Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    SU 21 CALLE BUCARE                                                                                   COLLECTIVELY (THE                       Libre Asociado de Puerto
    HORMIGUEROS, PR                                                                                      "ABRAMS-DIAZ                            Rico
    00660                                                                                                PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 318 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 320 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
347 KARMAN, AIDA E              05/25/18   17 BK 03283-LTS / El          19386             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    COND. GARDEN HILLS                     Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    TOWER                                  Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    15 CALLE MIRAMONTE                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
    APTO. 402                                                                                             "ACEVEDO CAMACHO                         Rico
    GUAYNABO, PR 00966-                                                                                   PLANTIFF GROUP");
    2030                                                                                                  CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 319 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 321 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
348 KARMAN, AIDA E              05/25/18   17 BK 03283-LTS / El          19818             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    COND. GARDEN HILLS                     Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    TOWER                                  Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    15 CALLE MIRAMONTE                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
    APTO. 402                                                                                             "ACEVEDO CAMACHO                         Rico
    GUAYNABO, PR 00966-                                                                                   PLANTIFF GROUP");
    2030                                                                                                  CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 320 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 322 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
349 LABOY RIVERA, LUZ N         05/21/18   17 BK 03283-LTS / El          17639             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB MENDEZ                             Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    A10 CALLE PRINCIPAL                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    YABUCOA, PR 00767                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
350 LABOY TORRES, JOUINO        09/19/19   17 BK 03283-LTS / El         171023             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    APARTADO 718                           Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    VILLALBA, PR 00766                     Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
                                                                                                          RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 321 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 323 of 805

                                                                Tricentésima Quincuagésima Primera Objeción Global
                                                                 Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                      FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE              RECLAM       MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN       RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
351 LAMBOY SANTIAGO,             03/26/18   17 BK 03567-LTS /             4309             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    EMILIA                                  Autoridad de Carreteras y                                     DIAZ ET AL (1084                        de Retiro de los Empleados
    HC 83 BOX 6920                          Transportación de Puerto                                      PLAINTIFFS)                             del Gobierno del Estado
    VEGA ALTA, PR 00692-                    Rico                                                          COLLECTIVELY (THE                       Libre Asociado de Puerto
    9200                                                                                                  "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 322 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 324 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
352 LANTIGUA GARCIA,            06/22/18   17 BK 03283-LTS / El         85611^              $ 336,600.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    VIVIANA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    DR. QUEVEDO BAEZ                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BT 21 5TA SECCION                                                                                    COLLECTIVELY (THE
    LEVITTOWN                                                                                            BELTRAN CINTRON
    TOA BAJA, PR 00949                                                                                   PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 85611 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 323 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 325 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
353 LAZU-COLON, ALBERTO         06/28/18   17 BK 03283-LTS / El          61354             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB TOA ALTA                           Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HEIGHTS AN29 CALLE                     Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    33                                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
    TOA ALTA, PR 00953                                                                                    "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 324 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 326 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
354 LEBRON REYES, JOSE L        05/30/18   17 BK 03283-LTS / El         41133             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    BO CAMINO NUEVO                        Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    APTO 339                               Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    YABUCOA, PR 00767                                                                                    COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 325 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 327 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
355 LEON QUINONES ,             05/30/18   17 BK 03283-LTS / El         58125             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NANCY                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 800 176                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    COTO LAUREL, PR 00780                                                                                COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 326 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 328 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
356 LEON QUINONES,              06/29/18   17 BK 03566-LTS / Sistema    145225^              $ 75,000.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NANCY                                  de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    P.O. BOX 800176                        del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    COTO LAUREL, PR 00780                  Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 145225 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 327 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 329 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
357 LEON VEGA, LYDIA E.          06/29/18   17 BK 03283-LTS / El         147533             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    B - 2 CALLE 8                           Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. JARDINES                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SANTA ISABEL, PR 00757                                                                                 (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 328 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 330 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
358 LIMERY DONES,                05/24/18   17 BK 03283-LTS / El         28721^              $ 316,800.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ABRAHAM                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB LEVITTOWN                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    U20 CALLE LEILA                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
    TOA BAJA, PR 00949                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 28721 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 329 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 331 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
359 LIMERY DONES,                05/24/18   17 BK 03566-LTS / Sistema     25267^             $ 122,319.72* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ABRAHAM                                 de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    C/ LEILA U-20                           del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    URB. LEVITOWN                           Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    TOA BAJA, PR 00949                      Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 25267 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 25267 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 330 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 332 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
360 LIMERY DONES,                05/23/18   17 BK 03283-LTS / El          15110             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARITZA                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HB-13 CALLE ELIZA                       Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    TABAREZ                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    7MA SECCION,                                                                                           "ACEVEDO CAMACHO                         Rico
    LEVITTOWN                                                                                              PLANTIFF GROUP");
    TOA BAJA, PR 00949                                                                                     CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 331 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 333 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
361 LLANOS ROSARIO, LUZ          05/24/18   17 BK 03283-LTS / El          21161                  $ 186.85* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    D                                       Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 332 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 334 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
362 LLAVET DUCHESNE,           05/21/18   17 BK 03566-LTS / Sistema     13226            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NEREIDA                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    C/BARCELONA G-171                     del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    EXT.FOREST HILL                       Libre Asociado de Puerto                                      COLLECTIVELY (THE
    BAYAMON, PR 00959                     Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 333 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 335 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
363 LOPERENA ORTIZ,             05/30/18   17 BK 03283-LTS / El          37960             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    NANNETTE                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    PO BOX 318                             Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    LAJAS, PR 00667                                                                                       "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 334 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 336 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
364 LOPEZ ALVAREZ ,             05/11/18   17 BK 03283-LTS / El         14676             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NOEMI                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    18 AVE LOS ROBLES                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUADILLA, PR 00603                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 335 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 337 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
365 LÓPEZ DELGADO, ANA          05/29/18    17 BK 03283-LTS / El         23215               $ 35,000.00* PRUDENCIO ACEVEDO           06/29/18    17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    M                                       Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    HC 5 BOX 91500                          Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    ARECIBO, PR 00612-9516                                                                                COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                          "ACEVEDO AROCHO                         Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K AC
                                                                                                          2005-5022
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18    17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                      Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                              Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
366 LOPEZ GONZALEZ,             05/25/18    17 BK 03283-LTS / El         33758             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El          152372          $ 17,590,927.76
    ISMAEL                                  Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    HC 01 BOX 4302                          Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    ADJUNTAS, PR 00601                                                                                    RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.

              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 336 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 338 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
367 LOPEZ GONZALEZ, SOL        05/08/18   17 BK 03283-LTS / El         12495             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    E                                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB ESTANCIAS DEL                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    RIO                                                                                                 COLLECTIVELY (THE
    549 CALLE PORTUGUES                                                                                 BELTRAN CINTRON
    HORMIGUEROS, PR                                                                                     PLAINTIFF GROUP")...
    00660                                                                                               ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 337 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 339 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
368 LOPEZ GUZMAN,                05/30/18   17 BK 03283-LTS / El          34594             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ROSAURA                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC-02 BOX 6141                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    FLORIDA, PR 00650                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 338 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 340 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
369 LOPEZ MENDEZ, JOSE L       11/24/19   17 BK 03283-LTS / El         171927              $ 80,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    HC-4 BOX 16028                        Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    MOCA, PR 00676                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 339 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 341 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
370 LOPEZ MORALES, EDNA        05/23/18   17 BK 03283-LTS / El         19015             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    C.                                    Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 346                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    YABUCOA, PR 00767                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 340 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 342 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
371 LOPEZ MORALES, EDNA        05/23/18   17 BK 03283-LTS / El         18130             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    C                                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 346                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    YABUCOA, PR 00767                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 341 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 343 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
372 LOPEZ REYES, MARIA           05/24/18   17 BK 03283-LTS / El          21546                   $ 651.38 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    DE LOS A.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 342 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 344 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
373 LOPEZ RONDON,              06/29/18   17 BK 03283-LTS / El         147324              $ 691,200.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARTA I.                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    MARTA I. LOPEZ RONDO                  Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    C/DELBREY #264, PDA.                                                                                COLLECTIVELY (THE
    25, SANTURCE                                                                                        BELTRAN CINTRON
    SAN JUAN, PR 00912                                                                                  PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 343 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 345 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
374 LOPEZ SANTANA,              05/16/18    17 BK 03283-LTS / El         37025             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    LUDICINIO                               Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    H.C. 1 BOX 9442                         Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    GUAYANILLA, PR 00656-                                                                                 RODRIGUEZ ZAYAS;
    9417                                                                                                  HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 344 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 346 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
375 LOPEZ VALENTIN, JOSE         06/08/20   17 BK 03283-LTS / El         178186            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    R                                       Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    URB MONTE OLIVO                         Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    347 CALLE POSEIDON                                                                                    COLLECTIVELY (THE                       Libre Asociado de Puerto
    GUAYAMA, PR 00784                                                                                     "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 345 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 347 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                     FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE              RECLAM       MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR              ACIÓN       RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
376 LOPEZ, ARTURO LOPEZ        06/28/18   17 BK 03567-LTS /            140693            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    PO BOX 533                            Autoridad de Carreteras y                                     ET ALL (4,493                           Estado Libre Asociado de
    ADJUNTAS, PR 00601                    Transportación de Puerto                                      PLAINTIFFS)                             Puerto Rico
                                          Rico                                                          COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 346 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 348 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
377 LORENZI MELENDEZ,            06/05/18   17 BK 03283-LTS / El          46266             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    DAMARIS                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB VILLA RETIRO SUR                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    P5                                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
    SANTA ISABEL, PR 00757                                                                                 "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 347 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 349 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
378 LORENZI RODRIGUEZ,          05/15/18   17 BK 03566-LTS / Sistema     23870^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    DIANA Y                                de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    109 CALLE SEGUNDO                      del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    BERNIER                                Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    COAMO, PR 00769                        Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 23870 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 348 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 350 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
379 LOZADA DIAZ, AURELIA       05/29/18   17 BK 03283-LTS / El         28213             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    A 1 URB VEREDA DEL                    Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    RIO                                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BAYAMON, PR 00959                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 349 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 351 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
380 LOZADA DIAZ, AURELIA       05/29/18   17 BK 03283-LTS / El         31963             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    VEREDA DEL RIO                        Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    1 CALLE A                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BAYAMON, PR 00959-                                                                                  COLLECTIVELY (THE
    8904                                                                                                BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 350 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 352 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
381 LOZADA FERNANDEZ,            06/11/18   17 BK 03283-LTS / El         87873^               $ 432,000.00 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    EVELYN                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    BO. SANTA ROSA I                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    HC 06 BOX 6894                                                                                         (COLLECTIVELY THE                        Libre Asociado de Puerto
    GUAYNABO, PR 00971-                                                                                    "ACEVEDO CAMACHO                         Rico
    9571                                                                                                   PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 87873 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 351 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 353 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
382 LOZADA, NELLIE              07/02/20    17 BK 03283-LTS / El        174236                $ 9,000.00* PRUDENCIO ACEVEDO           06/29/18    17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    MONROIG                                 Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    RAMIREZ DE                              Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    ARELLANO 5-1                                                                                          COLLECTIVELY (THE                       Libre Asociado de Puerto
    TORRIMAR                                                                                              "ACEVEDO AROCHO                         Rico
    GUAYNABO, PR 00966                                                                                    PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K AC
                                                                                                          2005-5022
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18    17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                      Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                              Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
383 LUGO CRUZ, HECTOR           06/29/18    17 BK 03283-LTS / El        156907              $ 150,670.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El          152372          $ 17,590,927.76
    HC 2 BOX 7426                           Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    PENUELAS, PR 00624-                     Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    9865                                                                                                  RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.

              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 352 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 354 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
384 LUGO LOPEZ, TANIA           07/06/18   17 BK 03283-LTS / El         159448             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    BO. BATEYES                            Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    CARR. 106 KM. 7.0                      Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    HC4 BOX 46063                                                                                         "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    MAYAGUEZ, PR 00680                                                                                    PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 353 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 355 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
385 LUGO SABATER, ANA E.       06/27/18   17 BK 03283-LTS / El         104361            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    2716 CALLE CHELIN                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB. PROVIDENCIA                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PONCE, PR 00728-3148                                                                                COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 354 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 356 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
386 LUGO SABATER, ANA E.       06/27/18   17 BK 03283-LTS / El         106721            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    2716 CALLE CHELIN                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB. LA PROVIDENCIA                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PONCE, PR 00728-3148                                                                                COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 355 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 357 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
387 LUGO SEGARRA,               05/09/18   17 BK 03283-LTS / El         12613             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    BRENDA                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB MAYAGUEZ                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    TERRACE                                                                                              COLLECTIVELY (THE
    7086 B GAUDIER                                                                                       BELTRAN CINTRON
    TEXIDOR                                                                                              PLAINTIFF GROUP")...
    MAYAGUEZ, PR 00682-                                                                                  ATTN: IVONNE
    6616                                                                                                 GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 356 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 358 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
388 LUNA RIOS, ANA L            06/05/20   17 BK 03283-LTS / El         174092            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    PO BOX 1983                            Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CIDRA, PR 00739                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 357 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 359 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
389 MADERA DEL VALLE,          06/08/18   17 BK 03283-LTS / El         33793             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CESAR                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 162                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    HORMIGUEROS, PR                                                                                     COLLECTIVELY (THE
    00660                                                                                               BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 358 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 360 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
390 MADERA DEL VALLE,          06/05/18   17 BK 03566-LTS / Sistema     32329            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CESAR F.                              de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    PO BOX162                             del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    HORMIGUEROS, PR                       Libre Asociado de Puerto                                      COLLECTIVELY (THE
    00660                                 Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 359 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 361 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
391 MAISONET                   05/15/18   17 BK 03283-LTS / El         15467               $ 150,420.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CONCEPCION, HECTOR                    Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 591                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    FLORIDAD, PR 00650                                                                                  COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 360 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 362 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
392 MAISONET ORTIZ,              05/16/18   17 BK 03283-LTS / El          15770             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MIGDALIA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 2645                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    JUNCOS, PR 00777                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 361 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 363 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
393 MALDONADO                    06/27/18   17 BK 03283-LTS / El         118200             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CANALES, MELISSA                        Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 01 BOX 7583                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    LUQUILLO, PR 00773-                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
    9608                                                                                                   "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
394 MALDONADO                    06/28/18   17 BK 03283-LTS / El          70726             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    GONZÁLEZ, RUBÉN                         Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    EMPLEADO DE                             Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    CORRECCIONAL                                                                                           RODRIGUEZ ZAYAS;
    HC03 BOX 14085                                                                                         HC 2 BOX 6519
    UTUADO, PR 00641                                                                                       GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 362 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 364 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
395 MALDONADO VELEZ,            05/25/18   17 BK 03283-LTS / El         25076             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JULIA                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC-5 BOX 27452                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    VIVI ARRIBA                                                                                          COLLECTIVELY (THE
    UTUADO, PR 00641-8698                                                                                BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 363 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 365 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
396 MARIN MARQUEZ,               06/25/18   17 BK 03566-LTS / Sistema     87386^             $ 100,800.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CYNTHIA                                 de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    BUENA VENTURA                           del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    BZN 179 CALLE DALIA                     Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    CAROLINA, PR 00987                      Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 87386 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 364 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 366 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
397 MARQUEZ FIGUEROA,           05/24/18   17 BK 03283-LTS / El          29901             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    YESENIA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. EXT. DIPLO                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CALLE 14 L9                                                                                           (COLLECTIVELY THE                        Libre Asociado de Puerto
    NAGUABO, PR 00718                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 365 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 367 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
398 MARQUEZ SOLIVERAS,         06/28/18   17 BK 03566-LTS / Sistema     73013            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    SARA H.                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    URB LOS CERROS E9                     del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    ADJUNTAS, PR 00601                    Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                          Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 366 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 368 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
399 MARRERO ORTIZ, LUZ          05/16/18   17 BK 03283-LTS / El          16722             Indeterminado* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    NEREIDA                                Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    BO DULCES LABIOS                       Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    131 SIMON CARLO                                                                                       LOPEZ-ROSARIO                            Libre Asociado de Puerto
    MAYAGUEZ, PR 00682                                                                                    PLAINTIFF GROUP);                        Rico
                                                                                                          IVONNE GONZALEZ
                                                                                                          MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 367 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 369 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
400 MARRERO SANTIAGO,           05/24/18   17 BK 03566-LTS / Sistema     36476              $ 46,624.00* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    WILLIAM                                de Retiro de los Empleados                                    AROCHO ET AL (1,601                     de Retiro de los Empleados
    HC 03 BOX 15020                        del Gobierno del Estado                                       PLAINTIFFS)                             del Gobierno del Estado
    JUANA DIAZ, PR 00795                   Libre Asociado de Puerto                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
                                           Rico                                                          "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 368 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 370 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
401 MARRERO TORRES,             05/18/18   17 BK 03283-LTS / El         46889             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LUIS A                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HACIENDA LAS VEGAS                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    104 CALLE RUISENOR                                                                                   COLLECTIVELY (THE
    JUANA DIAZ, PR 00795-                                                                                BELTRAN CINTRON
    7000                                                                                                 PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 369 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 371 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
402 MARRERO TORRES,             05/18/18   17 BK 03283-LTS / El         35116               $ 25,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LUIS A                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HACIENDA LAS VEGAS                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    104 CALLE RUISENOR                                                                                   COLLECTIVELY (THE
    JUANA DIAZ, PR 00795-                                                                                BELTRAN CINTRON
    7000                                                                                                 PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 370 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 372 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
403 MARRERO TORRES,             05/18/18   17 BK 03283-LTS / El         36537             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LUIS A.                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    104 CALLE RUISENOR                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    HACIENDA LAS VEGAS                                                                                   COLLECTIVELY (THE
    JUANA DIAZ, PR 00795                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 371 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 373 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
404 MARRERO, ENID                05/21/18   17 BK 03283-LTS / El          18276             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    OCASIO                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 1464                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    COROZAL, PR 00783                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 372 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 374 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
405 MARTELL RIVERA,             05/20/18   17 BK 03283-LTS / El         13651               $ 50,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    DAVID A                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HACIENDA REAL                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    479 REINA DE LAS                                                                                     COLLECTIVELY (THE
    FLORES                                                                                               BELTRAN CINTRON
    CAROLINA, PR 00987                                                                                   PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 373 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 375 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
406 MARTINEZ FELICIANO,          05/02/18   17 BK 03283-LTS / El          10131             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    MARISEL                                 Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    BDA. NICOLIN PEREZ #5                   Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    CALLE BERNARDINO                                                                                       "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    FELICIANO                                                                                              PLAINTIFF GROUP");                       Rico
    LAJAS, PR 00667                                                                                        CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 374 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 376 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
407 MARTINEZ MEDINA,            06/28/18   17 BK 03283-LTS / El         159702            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA A.                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB. SANTA TERESITA                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    3429 CALLE SANTA                                                                                     COLLECTIVELY (THE
    ANASTACIA                                                                                            BELTRAN CINTRON
    PONCE, PR 00730-4606                                                                                 PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 375 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 377 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
408 MARTINEZ RIVERA,           06/19/18    17 BK 03283-LTS / El         50108               $ 17,400.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    JOSE L.                                Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    207 ST. 1                              Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    PONCE, PR 00728                                                                                      RODRIGUEZ ZAYAS;
                                                                                                         HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 376 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 378 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
409 MARTINEZ RODRIGUEZ,          05/22/18   17 BK 03283-LTS / El          15600                   $ 893.33 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 377 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 379 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
410 MARTINEZ SANTIAGO,          05/29/18   17 BK 03566-LTS / Sistema     28747               $ 80,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NIVEA E                                de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    RO-68 URB. RIOCHUELO                   del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    C/ PLAZA SUR                           Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    TRUJILLO ALTO, PR                      Rico                                                           "ACEVEDO CAMACHO                         Rico
    00976                                                                                                 PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 378 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 380 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
411 MARTINEZ SERRANO,           05/18/18   17 BK 03283-LTS / El         36540             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 552                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795                                                                                 COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 379 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 381 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
412 MARTINEZ SERRANO,           05/18/18   17 BK 03283-LTS / El         38520             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA M.                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 552                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795                                                                                 COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 380 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 382 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
413 MARTY TROCHE,                04/16/18   17 BK 03283-LTS / El          7442             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    HIRAM L                                 Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    48 CALLE SALVADOR                       Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    BRAU                                                                                                  COLLECTIVELY (THE                       Libre Asociado de Puerto
    CABO ROJO, PR 00623                                                                                   "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 381 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 383 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
414 MARTY TROCHE, JAIME         04/16/18   17 BK 03283-LTS / El          5248             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    E                                      Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    48 CALLE SALVADOR                      Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    BRAU                                                                                                 COLLECTIVELY (THE                       Libre Asociado de Puerto
    CABO ROJO, PR 00623-                                                                                 "ABRAMS-DIAZ                            Rico
    3458                                                                                                 PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 382 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 384 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
415 MATEO RIVERA,                06/28/18   17 BK 03283-LTS / El          78248             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    AWILDA                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 1187                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    AIBONITO, PR 00705-1187                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 383 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 385 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
416 MATÍAS ACEVEDO,              05/24/18   17 BK 03283-LTS / El          29466                  $ 774.48* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARÍA I.                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
417 MATIAS LEON, JUDITH          06/04/18   17 BK 03283-LTS / El          46117             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    M                                       Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    URB. ESTANCIAS DEL                      Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    GOLF CLUB 734                                                                                          RODRIGUEZ ZAYAS;
    PONCE, PR 00730                                                                                        HC 2 BOX 6519
                                                                                                           GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 384 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 386 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
418 MATOS COLON, ELVIRA         07/05/18   17 BK 03283-LTS / El         144479             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB ROUND HLS                          Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    668 CALLE VIOLETA                      Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    TRUJILLO ALTO, PR                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
    00976-2715                                                                                            "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 385 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 387 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
419 MEDINA MEDINA,              05/25/18   17 BK 03283-LTS / El         21253             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARY L                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 5 BOX 5242                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    YABUCOA, PR 00767                                                                                    COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 386 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 388 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
420 MEDINA NAVEDO,             05/16/18   17 BK 03283-LTS / El         17682^             $ 302,400.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EDWIN                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB.FRONTERA C/JULIO                  Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    ALVARADO #139                                                                                       COLLECTIVELY (THE
    BAYAMON, PR 00619                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 17682 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 387 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 389 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
421 MEDINA ORTIZ, WANDA         06/19/18   17 BK 03283-LTS / El          29046             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    C                                      Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    297 CALLE BALDRICH                     Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SAN JUAN, PR 00912                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 388 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 390 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
422 MEDINA ORTIZ, WANDA         06/19/18   17 BK 03566-LTS / Sistema     42269^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    C.                                     de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    297 CALLE BALDRICH                     del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    SAN JUAN, PR 00912                     Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                           Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 42269 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 389 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 391 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
423 MELENDEZ ALVARADO,          06/28/18   17 BK 03283-LTS / El        124594^              $ 383,400.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    BETTY                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BUZON 206 URB. SIERRA                  Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    REAL                                                                                                 COLLECTIVELY (THE
    CAYEY, PR 00736-9004                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 124594 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 390 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 392 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
424 MELENDEZ CLASS,              05/14/18   17 BK 03283-LTS / El          14766             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    VICTOR                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CL 18 BUZON 6288                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CEIBA, PR 00735                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 391 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 393 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
425 MELENDEZ RENTAS,             09/21/18   17 BK 03283-LTS / El         167423               $ 14,280.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    SONIA                                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 6 BOX 21583                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    PONCE, PR 00731-9611                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 392 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 394 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
426 MELENDEZ RIVERA,            05/25/18   17 BK 03566-LTS / Sistema     30854            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    IVETTE                                 de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    E-27 CALLE NEISY STA.                  del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    ROSA                                   Libre Asociado de Puerto                                      COLLECTIVELY (THE
    CAGUAS, PR 00725                       Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 393 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 395 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
427 MELENDEZ, SANTIAGO           05/24/18   17 BK 03283-LTS / El         31418^              $ 491,400.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NUNEZ                                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    RR-37 BOX 5140 CALLE                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    ROMANY                                                                                                 (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00926                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 31418 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 394 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 396 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
428 MENDEZ GONZALEZ,            06/28/18   17 BK 03283-LTS / El         125249              $ 150,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ELIZABETH                              Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE 6 G-17                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    URB. SANTA ELENA                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
    BAYAMON, PR 00957                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 395 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 397 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
429 MENDEZ MENDEZ,              05/18/18   17 BK 03566-LTS / Sistema     35283^                  $ 55.61* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    RUTH E                                 de Retiro de los Empleados                                     AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    HC 1 BOX 5382                          del Gobierno del Estado                                        COLLECTIVELLY (THE                       del Gobierno del Estado
    MOCA, PR 00676                         Libre Asociado de Puerto                                       "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                           Rico                                                           PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 35283 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 396 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 398 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
430 MENDEZ SALINAS,            05/11/18   17 BK 03283-LTS / El         14691             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    SERGIO                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 688                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CARR 434 SECTOR                                                                                     COLLECTIVELY (THE
    SABANAS                                                                                             BELTRAN CINTRON
    BO CUCHILLAS                                                                                        PLAINTIFF GROUP")...
    MOCA, PR 00676                                                                                      ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 397 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 399 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
431 MENDOZA GODOY,             05/29/18   17 BK 03283-LTS / El         40756             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    YANETT DEL CARMEN                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CALLE 23 N-25                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    ALTURAS DE                                                                                          COLLECTIVELY (THE
    FLAMBOYAN                                                                                           BELTRAN CINTRON
    BAYAMON, PR 00959                                                                                   PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 398 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 400 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
432 MERCADO DE ORTIZ,            05/22/18   17 BK 03283-LTS / El          17053                   $ 419.15 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ANA                                     Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 399 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 401 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
433 MERCADO RIOS,               06/20/18   17 BK 03283-LTS / El         84668               $ 55,008.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    WILLIAM                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CK 6 CALLE DR                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    QUINONES                                                                                             COLLECTIVELY (THE
    TOA BAYA, PR 00949                                                                                   BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 400 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 402 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
434 MERCADO RUIZ, ADA W        06/21/18   17 BK 03283-LTS / El         50972             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    2135 CALLE NOGAL LOS                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CAOBOS                                Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PONCE, PR 00716-2703                                                                                COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 401 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 403 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
435 MERCADO RUIZ,               06/13/18   17 BK 03283-LTS / El         76519             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MALINDA MABEL                          Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BOX 499                                Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CASTANER, PR 00631                                                                                   COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 402 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 404 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
436 MERCED ALICEA,              05/18/18   17 BK 03283-LTS / El         17813             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN A                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 809                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    GURABO, PR 00778                                                                                     COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 403 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                              Exhibit A Page 405 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                      PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                  NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
437 MERCED LOPEZ, JOSE E         06/29/18   17 BK 03566-LTS / Sistema    163777^            Indeterminado* JUAN PÉREZ-COLÓN ET          06/29/18   17 BK 03566-LTS / Sistema    104175^            $ 1,469,956.00*
    PO BOX 92                               de Retiro de los Empleados                                     AL (324 PLAINTIFFS)                     de Retiro de los Empleados
    GUAYNABO, PR 00970                      del Gobierno del Estado                                        COLLECTIVELY (THE                       del Gobierno del Estado
                                            Libre Asociado de Puerto                                       "PÉREZ-COLÓN                            Libre Asociado de Puerto
                                            Rico                                                           PLAINTIFF GROUP")                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC1990-0487
                                                                                                           LCDA. IVONNE
                                                                                                           GONZÁLEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JUAN PÉREZ-COLÓN ET          05/31/18   17 BK 03283-LTS / El           30851             $ 2,435,987.21
                                                                                                           AL (324 PLAINTIFFS)                     Estado Libre Asociado de
                                                                                                           COLLECTIVELY (THE                       Puerto Rico
                                                                                                           "PÉREZ-COLÓN
                                                                                                           PLAINTIFF GROUP")
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC1990-0487
                                                                                                           LCDA. IVONNE
                                                                                                           GONZÁLEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 30851 y 104175, que fueron presentados en nombre de todos los demandantes en el litigio caratulado Juan Pérez Colón y
    otros contra el Departamento de Transportación y Obras Públicas (DOTP) de Puerto Rico, N.° KAC1990-0487 (los “Reclamos maestros de Pérez Colón”), por el abogado que representa a los demandantes
    en dicho litigio. Los demandantes de este pleito son los ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”) que el DOTP retuvo de manera ilegal salarios y pagos de jubilación,
    como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio
    referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio
    referido más arriba ni están subsumidas en los Reclamos maestros de Perez Colon.
    ^ Reclamo n°. 163777 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 104175 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                       Página 404 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 406 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
438 MIESES ROSARIO,              05/18/18   17 BK 03283-LTS / El          18113               $ 80,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ADRIANA                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    BL-26 CALLE 41                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    URB. REXVILLE                                                                                          (COLLECTIVELY THE                        Libre Asociado de Puerto
    BAYAMON, PR 00959                                                                                      "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
439 MILLAN SANTANA,              10/25/19   17 BK 03283-LTS / El         171886                 $ 60,000.00 CONCILIO NACIONAL            06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    GRISELLE                                Estado Libre Asociado de                                        DE POLICIAS INC                         Estado Libre Asociado de
    HC 3 BOX 11104                          Puerto Rico                                                     PO BOX 8700                             Puerto Rico
    JUANA DIAZ, PR 00795                                                                                    PMB120
                                                                                                            CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 405 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 407 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
440 MIRANDA GONZALEZ,           05/16/18   17 BK 03283-LTS / El          15421             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    WALESKA                                Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    20 CALLE NENADICH                      Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    ESTE                                                                                                  "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    MAYAGUEZ, PR 00680                                                                                    PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 406 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 408 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
441 MIRANDA REYES, JUAN        11/04/19    17 BK 03283-LTS / El        172152                 $ 8,359.00 MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    B.                                     Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    CALLE COLOMBINA M-6                    Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    LOMAS VERDE                                                                                          RODRIGUEZ ZAYAS;
    BAYAMON, PR 00956                                                                                    HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 407 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 409 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
442 MIRANDA RODRIGUEZ,           06/28/18   17 BK 03283-LTS / El         137780               $ 80,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ROSA NELLY                              Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    2713 CALLE ALTAMISO                     Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    JARDINES FAGOT                                                                                         (COLLECTIVELY THE                        Libre Asociado de Puerto
    PONCE, PR 00716-3641                                                                                   "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 408 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 410 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                         RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
443 MIRANDA TORRES,             06/07/18   17 BK 03283-LTS / El         49847               $ 41,644.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    HERLINDA                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 520                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    TOA ALTA, PR 00954                                                                                   COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 409 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 411 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
444 MIRO RAMIREZ, EBED          10/03/19    17 BK 03283-LTS / El        171318               $ 17,632.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    I-3 CALLE DIAMANTE                      Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    VEGA ALTA, PR 00692                     Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
                                                                                                          RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 410 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 412 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
445 MOJICA BULTRON,            05/25/18   17 BK 03283-LTS / El         27930^              $ 496,800.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    SONIA M.                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 3026                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BAYAMON, PR 00960                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 27930 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 411 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 413 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
446 MOLINA FERRER,              05/29/18   17 BK 03283-LTS / El         43315^              $ 367,200.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA C                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CALLE 115 BP-10 JARD                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    DE COUNTRY CLUB                                                                                      COLLECTIVELY (THE
    CAROLINA, PR 00983                                                                                   BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 43315 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 412 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 414 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
447 MONELL TORRES ,              05/23/18   17 BK 03566-LTS / Sistema     29354^              $ 30,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    DELMA I                                 de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    0-14 TUDELA                             del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    URB. VILLA                              Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    ANDALUCIA                               Rico                                                           "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00926                                                                                     PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 29354 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 413 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 415 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
448 MONELL TORRES,               04/20/18   17 BK 03283-LTS / El           7915             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    DELMA I                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    VILLA ANDALUCIA                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    O 14 TUDELA                                                                                            (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00926                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
449 MONGE PACHECO, IRIS          06/29/18   17 BK 03283-LTS / El         132373             Indeterminado* VELEZ ROSA LYDIA Y            05/29/18   17 BK 03283-LTS / El           29477              $ 150,000.00
    M.                                      Estado Libre Asociado de                                       OTROS KPE 1980-1738                      Estado Libre Asociado de
    PO BOX 1559                             Puerto Rico                                                    (805), TPI SAN JUAN                      Puerto Rico
    LAS PIEDRAS, PR 00771                                                                                  GEORGETTI 78
                                                                                                           SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 414 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 416 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
450 MONTANEZ MARTINEZ,         04/20/18   17 BK 03283-LTS / El          7827             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ROLANDO                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    COND CAMELOT 140                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CARRETERA 842 APT                                                                                   COLLECTIVELY (THE
    2605                                                                                                BELTRAN CINTRON
    SAN JUAN, PR 00926                                                                                  PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 415 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 417 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
451 MONTANEZ MORALES,            05/25/18   17 BK 03283-LTS / El          23439                   $ 773.83 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MODESTA                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
452 MONTILLA LOPEZ,              06/27/18   17 BK 03283-LTS / El         106529              $ 186,408.00* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    JULIO H                                 Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
    CONDOMINIUM VILLA                       Puerto Rico                                                    PO BOX 8700                              Puerto Rico
    PANAMCERCUNA                                                                                           PMB120
    EDIT-D APT - 604                                                                                       CAROLINA, PR 00988
    SAN JUAN, PR 00924

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 416 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 418 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
453 MORALES COLON, IVAN         05/07/18   17 BK 03283-LTS / El          9362              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    PO BOX 406                             Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    HORMIGUEROS, PR                        Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    00660                                                                                                 "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 417 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 419 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                     FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
454 MORALES GONZALEZ,            05/18/18   17 BK 03566-LTS / Sistema     38606            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    JUSTINO                                 de Retiro de los Empleados                                    DIAZ ET AL (1084                        de Retiro de los Empleados
    PO BOX 966                              del Gobierno del Estado                                       PLAINTIFFS)                             del Gobierno del Estado
    MOCA, PR 00676-0966                     Libre Asociado de Puerto                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
                                            Rico                                                          "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 418 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 420 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
455 MORALES LARREGUI,          05/22/18   17 BK 03283-LTS / El         19310               $ 15,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    VICTOR M                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB O'NEILL C14                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MANATI, PR 00674                                                                                    COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 419 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 421 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
456 MORALES                     05/16/18   17 BK 03283-LTS / El         15746             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MALDONADO, CARMEN                      Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    S                                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    COND JARD DE                                                                                         COLLECTIVELY (THE
    ALTAMESA                                                                                             BELTRAN CINTRON
    AVE SAN ALFONSO I                                                                                    PLAINTIFF GROUP")...
    APTO E 7                                                                                             ATTN: IVONNE
    SAN JUAN, PR 00921-4652                                                                              GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 420 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 422 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
457 MORALES PAGAN,              06/29/18    17 BK 03283-LTS / El        122217             Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    JEREMY                                  Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    MANSIONES CAROLINA                      Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    C/LAUREL NN-18                                                                                        PMB120
    CAROLINA, PR 00987                                                                                    CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.
458 MORALES SAEZ,               05/29/18    17 BK 03283-LTS / El         32379               $ 18,792.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    DANIEL                                  Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    HC 02 BOX 6384                          Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    GUAYANILLA, PR 00656                                                                                  RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 421 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 423 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
459 MORALES SANCHEZ,            05/01/18   17 BK 03283-LTS / El          11399             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    YOLANDA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 03 BOX 40593                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CAGUAS, PR 00725                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 422 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 424 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
460 MORALES VALENTIN,            04/16/18   17 BK 03283-LTS / El          7447              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    MADELINE                                Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    CALLE CAPIFALY #112                     Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    BO. BUENAVISTA                                                                                         "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    MAYAGUEZ, PR 00680                                                                                     PLAINTIFF GROUP");                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 423 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 425 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
461 MORENO CORDERO ,            06/26/18    17 BK 03566-LTS / Sistema     97853            Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    LOURDES                                 de Retiro de los Empleados                                    ALFREDO A, ET ALS                       Estado Libre Asociado de
    EXT. SANTA TERESITA                     del Gobierno del Estado                                       LCDO. GILBERTO                          Puerto Rico
    ALODIA-3843                             Libre Asociado de Puerto                                      RODRIGUEZ ZAYAS;
    PONCE, PR 00730-4619                    Rico                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
462 MORENO CORDERO,             06/26/18    17 BK 03283-LTS / El          99524               $ 17,000.00 MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    LOURDES                                 Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    EXT. SANTA                              Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    TERESITA-3843                                                                                         RODRIGUEZ ZAYAS;
    SANTA ALODIA                                                                                          HC 2 BOX 6519
    PONCE, PR 00730-4619                                                                                  GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 424 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 426 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
463 MORENO VELAZQUEZ,            06/29/18   17 BK 03283-LTS / El          48377             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    EULALIA                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 1 BOX 6876                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    AIBONITO, PR 00705-9716                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 425 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 427 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
464 MOYA MOYANO, LUZ J          06/06/18   17 BK 03283-LTS / El         60981             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    315 CALLE SIMON                        Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    MADERA                                 Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    VILLA ANGELICA                                                                                       COLLECTIVELY (THE                       Libre Asociado de Puerto
    MAYAGUEZ, PR 00680                                                                                   "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 426 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 428 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
465 MOYA MOYANO, LUZ J.         06/06/18   17 BK 03283-LTS / El         61012             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    VILLA ANGELICA                         Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    315 SIMON MADERA                       Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    MAYAGUEZ, PR 00680                                                                                   COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 427 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 429 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
466 MOYA MOYANO, LUZ J.         06/06/18   17 BK 03283-LTS / El         101946            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    VILLA ANGELICA                         Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    315 SIMON MADERA                       Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    MAYAGUEZ, PR 00680                                                                                   COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 428 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 430 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
467 MUNIZ RAMOS, HECTOR        06/14/18   17 BK 03283-LTS / El         49206             Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    L.                                    Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    COND. SANTA MARIA 2                   Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    APT. 309                                                                                            COLLECTIVELY (THE                       Libre Asociado de Puerto
    SAN JUAN, PR 00924                                                                                  "ACEVEDO AROCHO                         Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K AC
                                                                                                        2005-5022
                                                                                                        LCDA. IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 429 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 431 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
468 MUNOZ CARABALLO,             04/30/18   17 BK 03283-LTS / El          9840             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    YOLANDA                                 Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    HC 01 BOX 10306                         Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    GUAYANILLA, PR 00656                                                                                  COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                          "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 430 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 432 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
469 MUNOZ, OSCAR LIND          10/30/19    17 BK 03283-LTS / El        172195             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    HC-63-BOX 3204                         Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    PATILLAS, PR 00723                     Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
                                                                                                         RODRIGUEZ ZAYAS;
                                                                                                         HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 431 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 433 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
470 MURIEL NIEVES,              05/25/18   17 BK 03283-LTS / El         22295             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    HECTOR L                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB LUCHETTI                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CALLE PEDRO M                                                                                        COLLECTIVELY (THE
    RIVERA 80                                                                                            BELTRAN CINTRON
    MANATI, PR 00674-6032                                                                                PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 432 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 434 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
471 MURIEL SUSTACHE,            05/29/18   17 BK 03283-LTS / El         40886             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARISELA                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 1832                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    YABUCOA, PR 00767-                                                                                   COLLECTIVELY (THE
    1832                                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 433 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 435 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
472 NANGO LASSALLE,             06/28/18   17 BK 03283-LTS / El         120735^              $ 367,200.00 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    EPIFANIO                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    3000 MARGINAL                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    BALDORIOTY APT 11-K                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
    COND INTERSUITES                                                                                      "ACEVEDO CAMACHO                         Rico
    CAROLINA, PR 00979                                                                                    PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 120735 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 434 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 436 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
473 NARVAEZ FERRER, ANA         07/06/18   17 BK 03566-LTS / Sistema     151436            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    M                                      de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 2 BOX 7605                          del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    COROZAL, PR 00783                      Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                           Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 435 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 437 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
474 NATAL TRINIDAD,              06/13/18   17 BK 03283-LTS / El          40774             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARITZA                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    VILLA PALMERAS                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    254 CALLE BARTOLOME                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
    LAS CASAS                                                                                              "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00915                                                                                     PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
475 NAVARRO FLORES,              11/14/19   17 BK 03283-LTS / El         172520             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    JOSE L.                                 Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    HC 64 BOX 8347                          Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    PATILLAS, PR 00723                                                                                     RODRIGUEZ ZAYAS;
                                                                                                           HC 2 BOX 6519
                                                                                                           GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 436 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 438 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
476 NAVEDO OTERO,               05/04/18   17 BK 03283-LTS / El          9423                $ 83,145.87 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NANCY                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 437 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 439 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
477 NAVEDO OTERO,               05/30/18   17 BK 03283-LTS / El         29202             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NANCY                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 297                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    VEGA ALTA, PR 00692                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 438 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 440 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
478 NAVEDO OTERO,               05/30/18   17 BK 03283-LTS / El         40644              $ 100,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NANCY                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    P. O. BOX 297                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    VEGA ALTA, PR 00692                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 439 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 441 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
479 NAZARIO VEGA,               06/27/18   17 BK 03283-LTS / El         103840            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARISOL                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    5048 CA. LORENCITA                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    FERRE                                                                                                COLLECTIVELY (THE
    PONCE, PR 00728                                                                                      BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 440 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 442 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
480 NEGRON MILLAN,             05/25/18   17 BK 03566-LTS / Sistema     27083^             $ 388,800.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    YVONNE                                de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    SANTA MARIA MAYOR                     del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    A 10 CALLE 19                         Libre Asociado de Puerto                                      COLLECTIVELY (THE
    HUMACAO, PR 00791                     Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 27083 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 27083 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 441 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 443 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
481 NEGRON VIDAL,              07/06/18   17 BK 03283-LTS / El         154371              $ 80,000.00* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    MARITZA                               Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    URB. HACIENDA                         Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    BORINQUERO                                                                                          COLLECTIVELY (THE                       Libre Asociado de Puerto
    826 CALLE EMAJAGUA                                                                                  "ACEVEDO AROCHO                         Rico
    CAGUAS, PR 00725                                                                                    PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K AC
                                                                                                        2005-5022
                                                                                                        LCDA. IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 442 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 444 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
482 NEVAREZ FONTAN,              06/27/18   17 BK 03283-LTS / El          51923                $ 1,200.00* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    JOSE E.                                 Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    URB. LEVITTOWN                          Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    LAKES                                                                                                  LOPEZ-ROSARIO                            Libre Asociado de Puerto
    CALLE MARIA CADILLA                                                                                    PLAINTIFF GROUP);                        Rico
    FK-19                                                                                                  IVONNE GONZALEZ
    TOA BAJA, PR 00949-2760                                                                                MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                           ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                           COLLECTIVELY (THE                        Puerto Rico
                                                                                                           LOPEZ-ROSARIO
                                                                                                           PLAINTIFF GROUP)
                                                                                                           P.O. BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
    Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
    virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
    arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
    arriba ni están subsumidas en los Reclamos maestros de López Rosario.
    ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 443 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 445 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
483 NEVAREZ FONTAN,              06/27/18   17 BK 03566-LTS / Sistema     60052                 $ 3,725.00 DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    JOSE E.                                 de Retiro de los Empleados                                     ROSARIO ET AL                            de Retiro de los Empleados
    LEVITTOWN LAKES                         del Gobierno del Estado                                        COLLECTIVELY (THE                        del Gobierno del Estado
    C/MARIA CADILLA FK19                    Libre Asociado de Puerto                                       LOPEZ-ROSARIO                            Libre Asociado de Puerto
    TOA BAJA, PR 00949-2760                 Rico                                                           PLAINTIFF GROUP);                        Rico
                                                                                                           IVONNE GONZALEZ
                                                                                                           MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                           ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                           COLLECTIVELY (THE                        Puerto Rico
                                                                                                           LOPEZ-ROSARIO
                                                                                                           PLAINTIFF GROUP)
                                                                                                           P.O. BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
    Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
    virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
    arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
    arriba ni están subsumidas en los Reclamos maestros de López Rosario.
    ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 444 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 446 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
484 NIEVES GARCIA,              04/10/18   17 BK 03283-LTS / El          6598              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    HECTOR L                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    HC 04 BOX 44594                        Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    MAYAGUEZ, PR 00680                                                                                    "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 445 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 447 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
485 NIEVES RAMOS,                06/27/18   17 BK 03283-LTS / El         109002             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ADELAIDA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    2231 CALLE DELTA                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    URB. SAN ANTONIO                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    PONCE, PR 00728-1702                                                                                   "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 446 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 448 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
486 NIEVES VILLANUEVA,          05/25/18   17 BK 03566-LTS / Sistema     28052             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MERCEDES                               de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    BO OBRERO                              del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    777 CALLE TITO                         Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    RODRIGUEZ                              Rico                                                           "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00915                                                                                    PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 447 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 449 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
487 NIEVES, NILDA LLANOS         05/25/18   17 BK 03283-LTS / El          25155                   $ 672.75 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    IVONNE GONZÁLEZ                         Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    MORALES                                 Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    P.O. BOX 9021828                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00902-1828                                                                                "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 448 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 450 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
488 NOEL RODRIGUEZ ,            04/25/18   17 BK 03283-LTS / El          8777              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    MONTALVO                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    URB. ALTURAS                           Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    SABANERAS                                                                                             "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    E-92                                                                                                  PLAINTIFF GROUP");                       Rico
    SABANA GRANDE, PR                                                                                     CIVIL CASE NUM. K
    00637                                                                                                 AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 449 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 451 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
489 NUNEZ CORCOVA,              05/02/18   17 BK 03283-LTS / El          9645                $ 85,132.57 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JUANITA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 450 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 452 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
490 NUNEZ GARCIA,               06/29/18   17 BK 03566-LTS / Sistema     128024             $ 41,378.36* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    DOMINGO                                de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    HC 5 BOX 5997                          del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    JUANA DIAZ, PR 00795                   Libre Asociado de Puerto                                      PMB120
                                           Rico                                                          CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 451 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 453 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
491 NUNEZ ROLON, LUCIA          06/28/18   17 BK 03283-LTS / El          63679             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB. MONTE CARLO                       Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE # 10                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    AIBONITO, PR 00705                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 452 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 454 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
492 OCASIO CUEVAS,              04/27/18   17 BK 03283-LTS / El          9454                $ 72,169.72 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    MILAGROS ACEVEDO                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    COLON                                                                                                COLLECTIVELY (THE
    COND COLINA REAL                                                                                     BELTRAN CINTRON
    2000 AVE F RINCON BOX                                                                                PLAINTIFF GROUP")...
    1405                                                                                                 ATTN: IVONNE
    SAN JUAN, PR 00926                                                                                   GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 453 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 455 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
493 OCASIO CUEVAS,              05/04/18   17 BK 03283-LTS / El         10427                $ 28,790.29 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    YOLANDA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 454 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 456 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
494 OCASIO FONTANEZ,             05/25/18   17 BK 03283-LTS / El          22949             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    DELILAH                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. VISTAS DEL                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CONVENTO                                                                                               (COLLECTIVELY THE                        Libre Asociado de Puerto
    CALLE 6 # 2G-17                                                                                        "ACEVEDO CAMACHO                         Rico
    FAJARDO, PR 00738                                                                                      PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 455 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 457 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
495 OCASIO MALDONADO,          06/28/18   17 BK 03283-LTS / El         128246            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    SONIA E.                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    6 QUINTAS DE VEGA                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BAJA                                                                                                COLLECTIVELY (THE
    VEGA BAJA, PR 00693                                                                                 BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 456 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 458 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
496 OCASIO MEDINA,               07/06/18   17 BK 03283-LTS / El         137279             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MADELINE                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    REPTO KENNEDY                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    39 CALLE B                                                                                             (COLLECTIVELY THE                        Libre Asociado de Puerto
    PENUELAS, PR 00624-                                                                                    "ACEVEDO CAMACHO                         Rico
    3503                                                                                                   PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 457 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 459 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
497 OCASIO MEDINA,               07/06/18   17 BK 03283-LTS / El         148808             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MADELINE                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    REPTO KENNEDY                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    39 CALLE B                                                                                             (COLLECTIVELY THE                        Libre Asociado de Puerto
    PENUELAS, PR 00624-                                                                                    "ACEVEDO CAMACHO                         Rico
    3503                                                                                                   PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 458 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 460 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
498 OCASIO RIOS, JOSE           06/01/18   17 BK 03283-LTS / El          35254             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    REPARTO SANTIAGO                       Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    D 21 BOX 337                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    NAGUABO, PR 00718                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 459 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 461 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
499 OCASIO ROSADO, NILSA        06/05/18   17 BK 03283-LTS / El          46278             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    E.                                     Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PARCELAS CARMEN                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    17-A CALLE CISNE                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
    PARCELAS CARMEN                                                                                       "ACEVEDO CAMACHO                         Rico
    VEGA ALTA, PR 00692-                                                                                  PLANTIFF GROUP");
    5811                                                                                                  CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
500 OCASIO TORRES,              03/05/20   17 BK 03283-LTS / El         173423             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    DANIEL                                 Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    CALLE TORRELAGUNA                      Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    #430                                                                                                  RODRIGUEZ ZAYAS;
    URB EMBALSE SAN                                                                                       HC 2 BOX 6519
    JOSE                                                                                                  GUAYANILLA, PR 00656
    SAN JUAN, PR 00923

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.


             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 460 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 462 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
501 O'FERRALL IRIZARRY,          05/29/18   17 BK 03283-LTS / El          44458             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    GISELA                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. CAPARRA                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    HEIGHTS                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00920                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
502 OLIVERA RODRÍGUEZ,           05/15/18   17 BK 03283-LTS / El          12044             Indeterminado* VELEZ ROSA LYDIA Y            05/29/18   17 BK 03283-LTS / El           29477              $ 150,000.00
    YAZIRA                                  Estado Libre Asociado de                                       OTROS KPE 1980-1738                      Estado Libre Asociado de
    CALLE ALMENDRA                          Puerto Rico                                                    (805), TPI SAN JUAN                      Puerto Rico
    NÚM.33                                                                                                 GEORGETTI 78
    PARCELAS MÁRQUEZ                                                                                       SAN JUAN, PR 00925
    MANATÍ, PR 00674

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 461 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 463 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
503 OLIVERAS TORRES,            06/25/18   17 BK 03566-LTS / Sistema     89132               $ 53,127.85 CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    MILLIE                                 de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    PO BOX 1601                            del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    BAYAMON, PR 00960-                     Libre Asociado de Puerto                                      PMB120
    1601                                   Rico                                                          CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 462 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 464 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
504 OLIVERO RODRIGUEZ,          05/25/18   17 BK 03283-LTS / El          18446             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    GLADYS M                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE 2 D21                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    URB VILLA DE LOIZA                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
    CANOVANAS, PR 00729                                                                                   "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 463 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 465 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
505 OQUENDO OQUENDO,            02/19/19   17 BK 03283-LTS / El         168624            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CANDIDA R.                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 2 BOX 6968                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    ADJUNTAS, PR 00601-                                                                                  COLLECTIVELY (THE
    9668                                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 464 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 466 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
506 OQUENDO TIRADO,             05/07/18   17 BK 03283-LTS / El         12201             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CYNTHIA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB. OLYMPIC VILLE                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CALLE MONTREAL I-5                                                                                   COLLECTIVELY (THE
    LAS PIEDRAS, PR 00771                                                                                BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 465 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 467 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
507 ORELLANA PAGAN,             06/29/18    17 BK 03283-LTS / El          148347             $ 64,103.64* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    YOLANDA                                 Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    19 CALLE TEL AVIV                       Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    PROMISED LAND                                                                                         PMB120
    NAGUABO, PR 00718                                                                                     CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.
508 ORELLANA PAGAN,             05/10/18    17 BK 03566-LTS / Sistema     13600              $ 64,103.64* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    YOLANDA                                 de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    PROMISELAND #19                         del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    CALLE TELAVIV                           Libre Asociado de Puerto                                      PMB120
    NAGUABO, PR 00718-                      Rico                                                          CAROLINA, PR 00988
    2839

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.
509 ORFILA HERNANDEZ,           06/01/18    17 BK 03283-LTS / El          71192            Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    EDWIN                                   Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    URB. VILLA LINDA 85                     Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    CALLE LEEMO MORA                                                                                      RODRIGUEZ ZAYAS;
    AGUADILLA, PR 00603                                                                                   HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 466 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 468 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
510 ORLANDI GOMEZ,               04/17/18   17 BK 03283-LTS / El          5242             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    ANGEL M                                 Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    HC01 BOX 4301                           Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    ARROYO, PR 00714                                                                                      COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                          "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 467 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 469 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
511 OROZCO LABOY, VILMA          05/25/18   17 BK 03283-LTS / El          36915               $ 48,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    L                                       Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    ALTURAS DE RIO                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    GRANDE                                                                                                 (COLLECTIVELY THE                        Libre Asociado de Puerto
    R904 CALLE 16                                                                                          "ACEVEDO CAMACHO                         Rico
    RIO GRANDE, PR 00745                                                                                   PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
512 ORTEGA DE JESUS,             06/29/18   17 BK 03283-LTS / El          96448             Indeterminado* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    FREMAIN                                 Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
    BUZ G 95 BO                             Puerto Rico                                                    PO BOX 8700                              Puerto Rico
    DOMINGUITO PARC                                                                                        PMB120
    MATTEI                                                                                                 CAROLINA, PR 00988
    ARECIBO, PR 00612

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 468 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 470 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
513 ORTEGA DIAZ, BLANCA         06/22/18   17 BK 03283-LTS / El          42634                 $ 30,000.00 MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    BARRIO OBRERO                          Estado Libre Asociado de                                        CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    746 CALLE TITO                         Puerto Rico                                                     PLANTIFFS)                              del Gobierno del Estado
    RODRIGUEZ                                                                                              (COLLECTIVELY THE                       Libre Asociado de Puerto
    SAN JUAN, PR 00915                                                                                     "ACEVEDO CAMACHO                        Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 469 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 471 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
514 ORTIZ ARVELO,               06/27/18   17 BK 03566-LTS / Sistema     104987           Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    GERVASIO                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    HC 2 BOX 9722                          del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795-                  Libre Asociado de Puerto                                      COLLECTIVELY (THE
    9692                                   Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 470 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 472 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
515 ORTIZ COLON,                 06/27/18   17 BK 03283-LTS / El         117438             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    RAMONITA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC5 BOX 6087                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    JUANA DIAZ, PR 00795                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
516 ORTIZ COTTO,                 06/29/18   17 BK 03283-LTS / El         149755             Indeterminado* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    ORLANDO                                 Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
    CALLE 21 NN3 VILLE DE                   Puerto Rico                                                    PO BOX 8700                              Puerto Rico
    CRISTO                                                                                                 PMB120
    CAGUAS, PR 00725                                                                                       CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 471 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 473 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
517 ORTIZ DIAZ, AWILDA           05/25/18   17 BK 03283-LTS / El          26745             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    525 CARR. 8860, APT.                    Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    2473                                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    TRUJILLO ALTO, PR                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
    00976                                                                                                  "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 472 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 474 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
518 ORTIZ LOPEZ, LUZ C          06/05/18   17 BK 03283-LTS / El         47624             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    PO BOX 340                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    COROZAL, PR 00783                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 473 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 475 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
519 ORTIZ ORTIZ, CARMEN          06/29/18   17 BK 03283-LTS / El         133338             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    N                                       Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB VILLA DEL                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CARMEN                                                                                                 (COLLECTIVELY THE                        Libre Asociado de Puerto
    4627 AVE CONSTANCIA                                                                                    "ACEVEDO CAMACHO                         Rico
    PONCE, PR 00716-2250                                                                                   PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 474 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 476 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
520 ORTIZ OTERO, ILIA S.         06/29/18   17 BK 03283-LTS / El         146640             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB. CARIOCA                            Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    29 SUR CALLE 3                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    GUAYAMA, PR 00784                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 475 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 477 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
521 ORTIZ OTERO, ILIA S.         06/29/18   17 BK 03566-LTS / Sistema    141444^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB CARIOCA                             de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    29 CALLE 3                              del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    GUAYAMA, PR 00784                       Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                            Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 141444 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 476 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 478 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
522 ORTIZ PEREZ, DIANA M.       05/25/18   17 BK 03283-LTS / El         24182               $ 72,000.00* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    URB. RIO HONDO I                       Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    D 39 CALLE RIO                         Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    CAONILLAS                                                                                            COLLECTIVELY (THE                       Libre Asociado de Puerto
    BAYAMON, PR 00961                                                                                    "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 477 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 479 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
523 ORTIZ ROSA, YENICE          06/29/18   17 BK 03283-LTS / El         151337            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    PO BOX 177                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    SABANA SECA, PR 00952                  Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 478 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 480 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
524 ORTIZ ROSARIO,               05/27/18   17 BK 03283-LTS / El          22846               $ 50,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MILDRED                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE MARLIN K37                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    BAHIA VISTA MAR                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
    CAROLINA, PR 00983                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 479 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 481 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
525 ORTIZ SANTIAGO,              06/28/18   17 BK 03283-LTS / El          123679            Indeterminado* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    JUANITA                                 Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    PO BOX 1040                             Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    OROCOVIS, PR 00720                                                                                     LOPEZ-ROSARIO                            Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP);                        Rico
                                                                                                           IVONNE GONZALEZ
                                                                                                           MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                           ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                           COLLECTIVELY (THE                        Puerto Rico
                                                                                                           LOPEZ-ROSARIO
                                                                                                           PLAINTIFF GROUP)
                                                                                                           P.O. BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
    Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
    virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
    arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
    arriba ni están subsumidas en los Reclamos maestros de López Rosario.
    ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
526 ORTIZ SANTIAGO,              06/27/18   17 BK 03566-LTS / Sistema     111469            Indeterminado* CONCILIO NACIONAL            06/01/18    17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    RAMON                                   de Retiro de los Empleados                                     DE POLICIAS INC                          Estado Libre Asociado de
    Q17 CALLE 23 LIBRE EL                   del Gobierno del Estado                                        PO BOX 8700                              Puerto Rico
    MADRIGAL                                Libre Asociado de Puerto                                       PMB120
    PONCE, PR 00730                         Rico                                                           CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 480 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 482 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
527 ORTIZ TORRES, MARIA         05/29/18   17 BK 03283-LTS / El          38315            Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    660 CUPIDO                             Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    URB. VENUS GARDEN                      Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    RIO PIEDRAS, PR 00926                                                                                COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
528 ORTIZ VELEZ, LUIS D.        05/29/18   17 BK 03566-LTS / Sistema     51686            Indeterminado* CONCILIO NACIONAL            06/01/18   17 BK 03283-LTS / El          161091        $ 280,000,000.00*
    PO BOX 2074                            de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    SALINAS, PR 00751                      del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
                                           Libre Asociado de Puerto                                      PMB120
                                           Rico                                                          CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.


              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 481 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 483 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
529 ORTIZ VILANOVA,             06/04/18    17 BK 03283-LTS / El         58880             Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    WILFREDO                                Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    JANE A. BECKER                          Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    WHITAKER                                                                                              PMB120
    PO BOX 9023914                                                                                        CAROLINA, PR 00988
    SAN JUAN, PR 00902

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.
530 OTERO RODRIGUEZ,            07/12/18    17 BK 03283-LTS / El        148051               $ 34,328.47* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    RAMONA                                  Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    URB. LOIZA VALLEY                       Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    CALLE JAZMIN B119                                                                                     RODRIGUEZ ZAYAS;
    CANOVANAS, PR 00729                                                                                   HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 482 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 484 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
531 OTERO, NANCY                05/30/18   17 BK 03283-LTS / El         40915             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NAVEDO                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 297                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    VEGA ALTA, PR 00692                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 483 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 485 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
532 OTERO, RAMONA              07/12/18    17 BK 03283-LTS / El        104341               $ 34,328.47* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    BOX 554                                Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    CANOVANAS, PR 00729                    Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
                                                                                                         RODRIGUEZ ZAYAS;
                                                                                                         HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 484 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 486 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
533 PABLOS VAZQUEZ,            05/23/18   17 BK 03283-LTS / El         25086             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LEILA                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB VILLA                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    UNIVERSITARIA                                                                                       COLLECTIVELY (THE
    BH6 CALLE 35                                                                                        BELTRAN CINTRON
    HUMACAO, PR 00791                                                                                   PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 485 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 487 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
534 PACHECO QUINONES,           05/16/18   17 BK 03283-LTS / El         23463                $ 35,265.47 JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    JUSTINO                                Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    HC 01 BOX 8196                         Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    PENUELAS, PR 00624                                                                                   COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 486 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 488 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
535 PADUA VELEZ, JUAN E.        12/20/19    17 BK 03283-LTS / El        172855             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    HC-1 BOX 3079                           Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    ADJUNTAS, PR 00601                      Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
                                                                                                          RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 487 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 489 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
536 PAGAN CUASCUT, LIZ A       06/29/18    17 BK 03283-LTS / El         91399               $ 75,000.00* PRUDENCIO ACEVEDO           06/29/18    17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    MAMEYAL 101 A CALLE                    Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    19                                     Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    DORADO, PR 00646                                                                                     COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18    17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                      Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                              Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
537 PAGAN GOMEZ, LUIS E        12/03/19    17 BK 03283-LTS / El        172688             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El          152372          $ 17,590,927.76
    1910 W WALNUT ST                       Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    ALLENTOWN, PA 18104                    Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
                                                                                                         RODRIGUEZ ZAYAS;
                                                                                                         HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.

             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 488 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 490 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
538 PAGAN MORALES,              06/28/18   17 BK 03283-LTS / El         57421                $ 22,200.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    DOLLY                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BOX 184                                Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CABO ROJO, PR 00623                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 489 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 491 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
539 PAGAN RIVERA, IRIS L.        07/05/18   17 BK 03283-LTS / El         155537               $ 80,000.00 JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    URB. VILLA PRADES                       Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    703 CFRANCISCO P                        Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    CORTES                                                                                                COLLECTIVELY (THE                       Libre Asociado de Puerto
    SAN JUAN, PR 00924-2245                                                                               "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 490 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 492 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
540 PAGAN SCHELMETTY,           05/26/18   17 BK 03283-LTS / El         23346                $ 12,059.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    DOLORES M                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    F3 URB JESUS M LAGO                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    UTUADO, PR 00641                                                                                     COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 491 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 493 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
541 PARRA MARQUEZ,               05/24/18   17 BK 03283-LTS / El          19486             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    EMMA                                    Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    JARDINEZ DE CAPARRA                     Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    W-8 AVE RUIZ SOLER                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
    BAYAMON, PR 00959                                                                                      "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
542 PELLOT RODRIGUEZ             05/14/18   17 BK 03283-LTS / El          14816                 $ 3,800.00* MALDONADO COLÓN,             06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    MD, DAISY                               Estado Libre Asociado de                                        ALFREDO A, ET ALS                       Estado Libre Asociado de
    PO BOX 4512                             Puerto Rico                                                     LCDO. GILBERTO                          Puerto Rico
    AGUADILLA, PR 00605                                                                                     RODRIGUEZ ZAYAS;
                                                                                                            HC 2 BOX 6519
                                                                                                            GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 492 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 494 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
543 PELUYERA ROSA,               05/23/18   17 BK 03283-LTS / El          15086             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN L                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 1 BOX 24553                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CAGUAS, PR 00725                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 493 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 495 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
544 PEREA GINORIO, LILIA         05/30/18   17 BK 03283-LTS / El          40590             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    M                                       Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    RR 18 BOX 600                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SAN JUAN, PR 00926-9238                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 494 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 496 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
545 PEREZ CORCHODO,            06/07/18   17 BK 03283-LTS / El         49646             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ROSE J.                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    135 RUTE 5                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    ISABEL, PR 00662                                                                                    COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 495 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                Desc:
                                                             Exhibit A Page 497 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                        RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                   PRESENTA           NÚMERO DE             RECLAM      MONTO DE LA
           NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                 NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN      RECLAMACIÓN
546 PEREZ DIAZ, GLORIA          05/28/18   17 BK 03283-LTS / El         25270             Indeterminado* VELEZ ROSA LYDIA Y         05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    HC 03 BOX 41181                        Estado Libre Asociado de                                      OTROS KPE 1980-1738                   Estado Libre Asociado de
    CAGUAS, PR 00725-9727                  Puerto Rico                                                   (805), TPI SAN JUAN                   Puerto Rico
                                                                                                         GEORGETTI 78
                                                                                                         SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                   Página 496 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 498 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
547 PEREZ IRIZARRY,            05/30/18   17 BK 03283-LTS / El         28089             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    GLORIDELL                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    EL MADRIGAL                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    505 CALLE MAGNOLIA                                                                                  COLLECTIVELY (THE
    PENUELAS, PR 00624                                                                                  BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 497 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 499 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
548 PEREZ MENDEZ,               10/03/19   17 BK 03283-LTS / El         171192              $ 80,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN IRMA                            Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 437                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SAN SEBASTIAN, PR                                                                                    COLLECTIVELY (THE
    00685                                                                                                BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 498 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 500 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
549 PEREZ ORTIZ, JULIO          10/04/19    17 BK 03283-LTS / El        171203              $ 193,000.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    APARTADO 866                            Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    PATILLAS, PR 00723                      Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
                                                                                                          RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 499 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 501 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
550 PEREZ PENALOZA,              05/24/18   17 BK 03566-LTS / Sistema     45764^                $ 60,179.76 MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ZHADYA P                                de Retiro de los Empleados                                      CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    RR 2 BOX 252                            del Gobierno del Estado                                         PLANTIFFS)                              del Gobierno del Estado
    CAROLINA, PR 00987                      Libre Asociado de Puerto                                        (COLLECTIVELY THE                       Libre Asociado de Puerto
                                            Rico                                                            "ACEVEDO CAMACHO                        Rico
                                                                                                            PLANTIFF GROUP");
                                                                                                            CASP CASE NUM. 2016-
                                                                                                            05-1340
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 45764 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 45764 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 500 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 502 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
551 PEREZ PENALOZA,              05/24/18   17 BK 03283-LTS / El         25578^              $ 151,200.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ZHADYA P                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    RR 2 BOX 252                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CAROLINA, PR 00987                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 25578 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
552 PICORNELL MARTÍ,             05/25/18   17 BK 03283-LTS / El          31829             Indeterminado* VELEZ ROSA LYDIA Y            05/29/18   17 BK 03283-LTS / El           29477              $ 150,000.00
    MORAIMA                                 Estado Libre Asociado de                                       OTROS KPE 1980-1738                      Estado Libre Asociado de
    PANTOJA OQUENDO,                        Puerto Rico                                                    (805), TPI SAN JUAN                      Puerto Rico
    JOSEFINA                                                                                               GEORGETTI 78
    PO BOX 21370                                                                                           SAN JUAN, PR 00925
    SAN JUAN, PR 00928

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.


              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 501 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 503 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
553 PIMENTEL DE SILVERIO,       06/28/18   17 BK 03283-LTS / El         111283              $ 75,000.00* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    DOMINICA                               Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    P21 CALLE 11 ALTURAS                   Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    DE INTERAMERICANA                                                                                    COLLECTIVELY (THE                       Libre Asociado de Puerto
    TRUJILLO ALTO, PR                                                                                    "ACEVEDO AROCHO                         Rico
    00976                                                                                                PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 502 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 504 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
554 PIZARRO CASTRO,             05/25/18   17 BK 03283-LTS / El         29982^             $ 302,400.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIBEL                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB ROSA MARIA                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    E 23 CALLE 4                                                                                         COLLECTIVELY (THE
    CAROLINA, PR 00985                                                                                   BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 29982 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 503 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 505 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
555 PIZARRO MELENDEZ,           03/29/18   17 BK 03566-LTS / Sistema      5327                $ 93,240.67 ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    FRANCISCO                              de Retiro de los Empleados                                     AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    URB LUQUILLO MAR                       del Gobierno del Estado                                        COLLECTIVELLY (THE                       del Gobierno del Estado
    CC 106 CALLE D                         Libre Asociado de Puerto                                       "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    LUQUILLO, PR 00773                     Rico                                                           PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 504 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 506 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
556 PONCE DE LEON, IRIS M        04/30/18   17 BK 03283-LTS / El           9737             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB SANTA MARIA                         Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    45 CALLE B                              Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SABANA GRANDE, PR                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
    00637                                                                                                  "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 505 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 507 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
557 PONCE DE LEON, IRIS M        04/30/18   17 BK 03283-LTS / El           9806             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CALLE B45                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB SANTA MARIA                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SABANA GRANDE, PR                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
    00637                                                                                                  "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 506 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 508 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
558 POU RIVERA, SANDRA I         05/10/18   17 BK 03283-LTS / El          14402             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB MABU                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    D11 CALLE 6                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    HUMACAO, PR 00791                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 507 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 509 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
559 POU RIVERA, SANDRA I.        05/10/18   17 BK 03283-LTS / El          14918             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB MABU CALLE 6                        Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    D-11                                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    HUMACAO, PR 00791                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 508 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 510 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
560 QUILES ORTIZ, ALBA N.        06/19/18   17 BK 03283-LTS / El          61017               $ 11,390.84* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    2301 E IRLO BRONSON                     Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    MEMORIAL HWY APT.                       Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    614                                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
    KISSIMMEE, FL 34744                                                                                    "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 509 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 511 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
561 QUINONES FELICIANO,        06/27/18   17 BK 03283-LTS / El         102722            Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    JULIO E.                              Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    1017 J. PERIEAS                       Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    PONCE, PR 00717                                                                                     COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                        "ACEVEDO AROCHO                         Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K AC
                                                                                                        2005-5022
                                                                                                        LCDA. IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 510 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 512 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
562 QUINONES UFRET,            07/06/18   17 BK 03283-LTS / El         160380            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    KAREN M                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB ALTURAS DE SAN                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JOSE                                                                                                COLLECTIVELY (THE
    MM4 CALLE 20                                                                                        BELTRAN CINTRON
    SABANA GRANDE, PR                                                                                   PLAINTIFF GROUP")...
    00637                                                                                               ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 511 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 513 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
563 QUINONES UFRET,            07/06/18   17 BK 03283-LTS / El         148387            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    KAREN M.                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB ALTURAS DE SAN                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JOSE                                                                                                COLLECTIVELY (THE
    C/20 MM 4                                                                                           BELTRAN CINTRON
    SABANA GRANDE, PR                                                                                   PLAINTIFF GROUP")...
    00667                                                                                               ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 512 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 514 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
564 QUINONES, JOSEFINA          05/02/18   17 BK 03283-LTS / El          9625                $ 57,281.38 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CONCEPCION                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 513 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 515 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
565 QUINTANA LUGO,               07/05/18   17 BK 03283-LTS / El         150333               $ 75,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MAGDA M                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB PALACIOS DE                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MARBELLA                                                                                               (COLLECTIVELY THE                        Libre Asociado de Puerto
    1210 SAN BERNABE                                                                                       "ACEVEDO CAMACHO                         Rico
    TOA ALTA, PR 00953                                                                                     PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 514 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 516 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
566 RAMIREZ BENITEZ,            04/26/18   17 BK 03283-LTS / El          9056                 $ 2,212.85 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ALEXANDER                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 515 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 517 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
567 RAMIREZ DE JESUS,           07/05/18   17 BK 03283-LTS / El         151006            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JEANNETTE                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BOX 47                                 Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BOQUERON, PR 00622                                                                                   COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 516 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 518 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
568 RAMIREZ RODRIGUEZ,          06/27/18    17 BK 03566-LTS / Sistema     107640           Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    NIVIA H                                 de Retiro de los Empleados                                    ALFREDO A, ET ALS                       Estado Libre Asociado de
    BOX 98                                  del Gobierno del Estado                                       LCDO. GILBERTO                          Puerto Rico
    PALMER, PR 00721-0098                   Libre Asociado de Puerto                                      RODRIGUEZ ZAYAS;
                                            Rico                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 517 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 519 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
569 RAMIREZ TORRES,            05/16/18   17 BK 03283-LTS / El         15104                  $ 400.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NORMA I.                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PARCELAS TIBURON                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BUZON 66 CALLE 13                                                                                   COLLECTIVELY (THE
    BARCELONETA, PR                                                                                     BELTRAN CINTRON
    00617-3178                                                                                          PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 518 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 520 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
570 RAMIREZ TORRES,            06/11/18   17 BK 03283-LTS / El         43310                $ 4,432.78* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NORMA I                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PARCELAS TIBURON                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BUZON 66                                                                                            COLLECTIVELY (THE
    CALLE 13                                                                                            BELTRAN CINTRON
    BARCELONETA, PR                                                                                     PLAINTIFF GROUP")...
    00617-3178                                                                                          ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 519 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 521 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
571 RAMOS AYALA,                09/16/19    17 BK 03283-LTS / El        170906             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    MIGUEL A.                               Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    BO. PROVIDENCIA HC-65                   Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    BUZON 6599                                                                                            RODRIGUEZ ZAYAS;
    PATILLAS, PR 00723-9100                                                                               HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 520 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 522 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
572 RAMOS CAMACHO,              05/09/18   17 BK 03283-LTS / El          12748             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    DINORIS                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 448                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    AGUAS BUENAS, PR                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
    00703                                                                                                 "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 521 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 523 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
573 RAMOS CAMACHO,              05/09/18   17 BK 03283-LTS / El          14042             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    DINORIS                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 448                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    AGUAS BUENAS, PR                                                                                      (COLLECTIVELY THE                        Libre Asociado de Puerto
    00703                                                                                                 "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 522 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 524 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
574 RAMOS COLON,               06/28/18   17 BK 03283-LTS / El         116095            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JOSSETTE                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    JARD. DE PONCE CALLE                  Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    A F12                                                                                               COLLECTIVELY (THE
    PONCE, PR 00730                                                                                     BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 523 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 525 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
575 RAMOS FUMERO,               06/19/18   17 BK 03283-LTS / El         105121             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    BLANCA A                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    15 CALLE CANITAS                       Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    LAJAS, PR 00667                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 524 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 526 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
576 RAMOS LAMBERTY,             06/25/18   17 BK 03283-LTS / El         163788            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA T                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 1 BOX 4410                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    LAS MARIAS, PR 00670-                                                                                COLLECTIVELY (THE
    9631                                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 525 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 527 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
577 RAMOS MARTINEZ,             05/23/18   17 BK 03283-LTS / El         25503               $ 50,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    DENISSE M                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB PASEO DEL                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PARQUE                                                                                               COLLECTIVELY (THE
    9                                                                                                    BELTRAN CINTRON
    AGUADILLA, PR 00603                                                                                  PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 526 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 528 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
578 RAMOS RIVAS, JUDITH         05/24/18   17 BK 03283-LTS / El         18351                   $ 969.49 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    M.                                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 527 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 529 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
579 RAMOS SABATER, ROSA          04/12/18   17 BK 03283-LTS / El          7255              Indeterminado* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    M                                       Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    URB PUERTO NUEVO                        Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    1233 CALLE 8 NE                                                                                        LOPEZ-ROSARIO                            Libre Asociado de Puerto
    SAN JUAN, PR 00920-2446                                                                                PLAINTIFF GROUP);                        Rico
                                                                                                           IVONNE GONZALEZ
                                                                                                           MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                           ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                           COLLECTIVELY (THE                        Puerto Rico
                                                                                                           LOPEZ-ROSARIO
                                                                                                           PLAINTIFF GROUP)
                                                                                                           P.O. BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
    Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
    virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
    arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
    arriba ni están subsumidas en los Reclamos maestros de López Rosario.
    ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 528 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 530 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
580 RAMOS SANTIAGO,            06/29/18   17 BK 03283-LTS / El         103210            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    RR 1 BOX 6678                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    GUAYAMA, PR 00784                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 529 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 531 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
581 RAMOS TORRES,               05/24/18   17 BK 03283-LTS / El         29463             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EVELYN N                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    118 AVE MONTEMAR                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUADILLA, PR 00603                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 530 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 532 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
582 RAMOS VEGA, MARISOL        05/25/18   17 BK 03283-LTS / El         26439               $ 64,068.00* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    JUAN E. SERRANO                       Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    SANTIAGO                              Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    1321 CALLE GERANIO                                                                                  COLLECTIVELY (THE                       Libre Asociado de Puerto
    URB. BUENAVENTURA                                                                                   "ACEVEDO AROCHO                         Rico
    PO BOX 70199                                                                                        PLAINTIFF GROUP")
    MAYAGUEZ, PR 00682-                                                                                 CIVIL CASE NUM. K AC
    1282                                                                                                2005-5022
                                                                                                        LCDA. IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 531 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 533 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
583 RAMOS, DAISY E.             06/26/18   17 BK 03566-LTS / Sistema     47224              $ 80,000.00* EDUCADORES                  06/29/18    17 BK 03283-LTS / El           67462         $ 35,000,000.00*
    HC-01 BOX 4226                         de Retiro de los Empleados                                    PUERTORRIQUEÑOS EN                      Estado Libre Asociado de
    RINCON, PR 00677                       del Gobierno del Estado                                       ACCIÓN, INC                             Puerto Rico
                                           Libre Asociado de Puerto                                      BUFETE FRANCISCO R.
                                           Rico                                                          GONZÁLEZ
                                                                                                         1519 PONCE DE LEÓN
                                                                                                         AVE.
                                                                                                         SUITE 805
                                                                                                         SAN JUAN, PR 00909

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 67462, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Educadores Puertorriqueños En Acción, Inc., y
    otros, contra Rafael Ramón y otros, Caso n.° 2013-05-1716 (el “Reclamo maestro de EPA”). Los demandantes del pleito son empleados del Departamento de Educación (“DOE”), quienes reconocieron
    haber sido discriminados tras haber quedado excluidos injustamente de algunos aumentos salariales. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las
    obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
    arriba ni están subsumidas en el Reclamo maestro de EPA.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 532 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 534 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
584 RAMOS, EVELYN                06/07/18   17 BK 03283-LTS / El          56434             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    CORALES                                 Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    URB SAN MIGUEL                          Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    A 11 CALLE 2                                                                                           "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    CABO ROJO, PR 00623                                                                                    PLAINTIFF GROUP");                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 533 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 535 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
585 REYES MOYET, RAMON          05/24/18   17 BK 03283-LTS / El         46324             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    H                                      Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 70 BOX 30814                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SAN LORENZO, PR 00754                                                                                COLLECTIVELY (THE
    -9709                                                                                                BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 534 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 536 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
586 REYES NIEVES,               05/17/18   17 BK 03283-LTS / El         16201              $ 130,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    YOLANDA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 1286                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    UTUADO, PR 00641                                                                                     COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 535 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 537 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
587 REYES ORTIZ, SONIA I        05/25/18   17 BK 03283-LTS / El         32117             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    TURABO GARDENS                         Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    2DA SECCION K56                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CALLE 28                                                                                             COLLECTIVELY (THE
    CAGUAS, PR 00725                                                                                     BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 536 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 538 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
588 RIOS FELICIANO,              04/20/18   17 BK 03283-LTS / El          7863              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    MIGUEL                                  Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    PO BOX 22                               Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    MARICAO, PR 00606                                                                                      "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP");                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 537 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 539 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
589 RIOS SANCHEZ, ALMA           05/24/18   17 BK 03283-LTS / El          33789             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB. SANTA MARIA                        Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE 4 D-22                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SAN GERMAN, PR 00683                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 538 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 540 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
590 RIOS SANTIAGO,               06/28/18   17 BK 03283-LTS / El         124268             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN M.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC-5 BOX 5452                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    JUANA DIAZ, PR 00795-                                                                                  (COLLECTIVELY THE                        Libre Asociado de Puerto
    9876                                                                                                   "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 539 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 541 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
591 RIOS SANTIAGO,               06/28/18   17 BK 03283-LTS / El         138317             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN M.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC-5 BOX 5452                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    JUANA DIAZ, PR 00795-                                                                                  (COLLECTIVELY THE                        Libre Asociado de Puerto
    9876                                                                                                   "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 540 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 542 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
592 RIOS SANTIAGO,               06/28/18   17 BK 03566-LTS / Sistema     162931            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN M.                               de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC - 5 BOX 5452                         del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    JUANA DIAZ, PR 00795-                   Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    9876                                    Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 541 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 543 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
593 RIVERA APONTE,              05/25/18   17 BK 03566-LTS / Sistema     23118               $ 42,269.17* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    WALESKA L.                             de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. COUNTRY CLUB                      del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    CALLE 254 HG 18                        Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    CAROLINA, PR 00982                     Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 542 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 544 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
594 RIVERA BENITEZ,              05/22/18   17 BK 03283-LTS / El          17062                   $ 651.13 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    AMADOR                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 543 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 545 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
595 RIVERA BORRERO,              06/11/18   17 BK 03283-LTS / El          50388             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ROSA ELENA                              Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    840 CALLE SAUCO EXT.                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    DEL CARMEN                                                                                             (COLLECTIVELY THE                        Libre Asociado de Puerto
    PONCE, PR 00716-2146                                                                                   "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
596 RIVERA BURGOS,               04/27/18   17 BK 03283-LTS / El           9161             Indeterminado* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    EMILIO                                  Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
    ALTURAS DE RIO                          Puerto Rico                                                    PO BOX 8700                              Puerto Rico
    GRANDE                                                                                                 PMB120
    CALLE 22 V1158                                                                                         CAROLINA, PR 00988
    RIO GRANDE, PR 00745

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 544 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 546 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
597 RIVERA BURGOS,              04/27/18   17 BK 03566-LTS / Sistema      9157            Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    EMILIO                                 de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    ALTURAS DE RIO                         del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    GRANDE                                 Libre Asociado de Puerto                                      PMB120
    CALLE 22 V1158                         Rico                                                          CAROLINA, PR 00988
    RIO GRANDE, PR 00745

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 545 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 547 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
598 RIVERA                     06/26/18   17 BK 03283-LTS / El         93611               $ 75,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARRASQUILLO,                         Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    DORAIMA                               Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    COLINAS DE FAIRVIEW                                                                                 COLLECTIVELY (THE
    4G-84 CALLE 219                                                                                     BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                   PLAINTIFF GROUP")...
    00976                                                                                               ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 546 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 548 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
599 RIVERA CARTAGENA,          05/25/18   17 BK 03283-LTS / El         33195             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CATHY                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 774                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUAS BUENAS, PR                                                                                    COLLECTIVELY (THE
    00703-0774                                                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 547 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 549 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
600 RIVERA CARTAGENA,          05/25/18   17 BK 03283-LTS / El         33224               $ 59,433.96* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CATHY                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 774                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUAS BUENAS, PR                                                                                    COLLECTIVELY (THE
    00703                                                                                               BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 548 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 550 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
601 RIVERA CARTAGENA,          05/25/18   17 BK 03566-LTS / Sistema     32662            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CATHY                                 de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 774                            del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    AGUAS BUENAS, PR                      Libre Asociado de Puerto                                      COLLECTIVELY (THE
    00703                                 Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 549 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 551 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
602 RIVERA CASANOVA,            07/05/18   17 BK 03283-LTS / El         157293             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    EILEEN M                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    BARRIO SUSUA                           Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    CALLE LA ROSA 4                                                                                       "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    SABANA GRANDE, PR                                                                                     PLAINTIFF GROUP");                       Rico
    00637                                                                                                 CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 550 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 552 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
603 RIVERA CASANOVA,             05/01/18   17 BK 03283-LTS / El          8421              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    EILEEN M.                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    P.O. BOX 314                            Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    ENSENADA, PR 00647                                                                                     "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP");                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 551 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 553 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
604 RIVERA CENTENO ,            05/24/18   17 BK 03283-LTS / El         24752^              $ 318,600.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    IVETTE                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB ROLLING HILLS                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    C91 C BRASIL                                                                                         COLLECTIVELY (THE
    CAROLINA, PR 00987                                                                                   BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 24752 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 552 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 554 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
605 RIVERA CINTRON,            10/07/19   17 BK 03283-LTS / El         171528              $ 46,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    GISELA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    APARTADO 10061                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    HUMACAO, PR 00792                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 553 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 555 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
606 RIVERA CINTRON,             05/30/18   17 BK 03283-LTS / El          42905             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    MARIA V                                Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    HC01 BOX 3361                          Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    HORMIGUEROS, PR                                                                                       "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    00660                                                                                                 PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 554 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                              Exhibit A Page 556 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
607 RIVERA CLEMENTE,             04/09/18   17 BK 03283-LTS / El          6725^            $ 60,000,000.00 JUAN PÉREZ-COLÓN ET          06/29/18   17 BK 03566-LTS / Sistema    104175^            $ 1,469,956.00*
    FELIX                                   Estado Libre Asociado de                                       AL (324 PLAINTIFFS)                     de Retiro de los Empleados
    HC 1 BOX 9045                           Puerto Rico                                                    COLLECTIVELY (THE                       del Gobierno del Estado
    LOIZA, PR 00772-9743                                                                                   "PÉREZ-COLÓN                            Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP")                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC1990-0487
                                                                                                           LCDA. IVONNE
                                                                                                           GONZÁLEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JUAN PÉREZ-COLÓN ET          05/31/18   17 BK 03283-LTS / El           30851             $ 2,435,987.21
                                                                                                           AL (324 PLAINTIFFS)                     Estado Libre Asociado de
                                                                                                           COLLECTIVELY (THE                       Puerto Rico
                                                                                                           "PÉREZ-COLÓN
                                                                                                           PLAINTIFF GROUP")
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC1990-0487
                                                                                                           LCDA. IVONNE
                                                                                                           GONZÁLEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 30851 y 104175, que fueron presentados en nombre de todos los demandantes en el litigio caratulado Juan Pérez Colón y
    otros contra el Departamento de Transportación y Obras Públicas (DOTP) de Puerto Rico, N.° KAC1990-0487 (los “Reclamos maestros de Pérez Colón”), por el abogado que representa a los demandantes
    en dicho litigio. Los demandantes de este pleito son los ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”) que el DOTP retuvo de manera ilegal salarios y pagos de jubilación,
    como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio
    referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio
    referido más arriba ni están subsumidas en los Reclamos maestros de Perez Colon.
    ^ Reclamo n°. 6725 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
    Reclamo n°. 104175 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                       Página 555 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 557 of 805

                                                                Tricentésima Quincuagésima Primera Objeción Global
                                                                 Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM       MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN       RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
608 RIVERA COLON, JOSE           06/27/18   17 BK 03567-LTS /            107125               $ 211,497.65 ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    JUAN J. VILELLA-                        Autoridad de Carreteras y                                      AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    JANEIRO, ESQ.                           Transportación de Puerto                                       COLLECTIVELLY (THE                       del Gobierno del Estado
    PMB 291 #1353 RD. 19                    Rico                                                           "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    GUAYNABO, PR 00966-                                                                                    PLAINTIFF GROUP");                       Rico
    2700                                                                                                   CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 556 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 558 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
609 RIVERA COLON,                06/07/18   17 BK 03283-LTS / El          61474             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    RAMONITA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB SANTA CLARA                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    17 CALLE 1                                                                                             (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN LORENZO, PR 00754                                                                                  "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 557 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 559 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
610 RIVERA CRUZ,               05/24/18   17 BK 03283-LTS / El         29511              $ 475,200.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    BARBARA                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BO PALMAS                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CALLE CUCHARILLAS                                                                                   COLLECTIVELY (THE
    256                                                                                                 BELTRAN CINTRON
    CATANO, PR 00962                                                                                    PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 558 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 560 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
611 RIVERA ENCARNACION,          05/24/18   17 BK 03283-LTS / El          20306             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MADELINE                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 20135                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SAN JUAN, PR 00928-0135                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 559 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 561 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
612 RIVERA ESCALERA,             05/25/18   17 BK 03283-LTS / El          21551             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    JEANETTE                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    #69 AVE A RIVERA                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN SEBASTIAN, PR                                                                                      "ACEVEDO CAMACHO                         Rico
    00685                                                                                                  PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 560 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 562 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
613 RIVERA GARCIA,               05/21/18   17 BK 03283-LTS / El          36598             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    RUBEN                                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 1237                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    PENUELAS, PR 00624                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 561 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 563 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
614 RIVERA GONZALEZ,            06/28/18   17 BK 03283-LTS / El         59419             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    AGUEDA M.                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB VILLAS DEL                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PRADO                                                                                                COLLECTIVELY (THE
    641 CALLE LAS VISTAS                                                                                 BELTRAN CINTRON
    JUANA DIAZ, PR 00795-                                                                                PLAINTIFF GROUP")...
    2751                                                                                                 ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 562 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 564 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
615 RIVERA GONZALEZ,            06/28/18   17 BK 03566-LTS / Sistema     59304            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    AGUEDA M.                              de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    URB. VILLAS DEL                        del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    PRADO                                  Libre Asociado de Puerto                                      COLLECTIVELY (THE
    641 CALLE LAS VISTAS                   Rico                                                          BELTRAN CINTRON
    JUANA DIAZ, PR 00795-                                                                                PLAINTIFF GROUP")...
    2751                                                                                                 ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 563 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 565 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                     FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE              RECLAM       MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR              ACIÓN       RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
616 RIVERA GONZALEZ,            06/28/18   17 BK 03567-LTS /            59387             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    AGUEDA M.                              Autoridad de Carreteras y                                     ET ALL (4,493                           Estado Libre Asociado de
    URB. VILLAS DEL                        Transportación de Puerto                                      PLAINTIFFS)                             Puerto Rico
    PRADO                                  Rico                                                          COLLECTIVELY (THE
    641 CALLE LAS VISTAS                                                                                 BELTRAN CINTRON
    JUANA DIAZ, PR 00795-                                                                                PLAINTIFF GROUP")...
    2751                                                                                                 ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 564 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 566 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
617 RIVERA HERNANDEZ,          05/25/18   17 BK 03283-LTS / El         31837^              $ 280,800.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ZAIDA                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    LOMAS VERDES                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    4417 YAGRUMO                                                                                        COLLECTIVELY (THE
    BAYAMON, PR 00956                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 31837 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 565 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 567 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
618 RIVERA IRIZARRY,            05/22/18   17 BK 03283-LTS / El         33588             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB LOS REYES                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    91 CALLE BELEN                                                                                       COLLECTIVELY (THE
    JUANA DIAZ, PR 00795                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 566 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 568 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
619 RIVERA JIMENEZ,             05/11/18   17 BK 03283-LTS / El         14637             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LYDIA                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 2 BOX 20394                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUADILLA, PR 00603                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 567 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 569 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
620 RIVERA LOPEZ, MARIA         05/18/18   17 BK 03283-LTS / El          32682             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    V.                                     Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB MARIOLGA                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    X-47 CALLE SAN                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
    ALFONSO                                                                                               "ACEVEDO CAMACHO                         Rico
    CAGUAS, PR 00725                                                                                      PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 568 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 570 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
621 RIVERA MARRERO,             05/29/18   17 BK 03283-LTS / El          41805             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    JOSE R                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB COUNTRY CLUB                       Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    877 CALLE HYPOLIAS                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00924                                                                                    "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 569 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 571 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
622 RIVERA MARTINEZ,             06/27/18   17 BK 03283-LTS / El         123152             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 7 BOX 2424                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    PONCE, PR 00731                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
623 RIVERA MELENDEZ,             06/29/18   17 BK 03283-LTS / El          89009              $ 150,000.00* VELEZ ROSA LYDIA Y            05/29/18   17 BK 03283-LTS / El           29477              $ 150,000.00
    RUTH J                                  Estado Libre Asociado de                                       OTROS KPE 1980-1738                      Estado Libre Asociado de
    (EDWIN J. CABAN                         Puerto Rico                                                    (805), TPI SAN JUAN                      Puerto Rico
    RIVERA)                                                                                                GEORGETTI 78
    URB. VILLA FONTANA                                                                                     SAN JUAN, PR 00925
    VIA 36 CALLE 4 SN11
    CAROLINA, PR 00983

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.


              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 570 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 572 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
624 RIVERA MERCADO,             07/06/18   17 BK 03283-LTS / El         159974             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    BRUNILDA                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    113 BARCELONA COURT                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    APT 201                                                                                               (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00907                                                                                    "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 571 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 573 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
625 RIVERA MONTALVO,            07/06/18   17 BK 03283-LTS / El         139531             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ROSA                                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 41                              Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SABANA GRANDE, PR                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
    00637-0041                                                                                            "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 572 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 574 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
626 RIVERA NEGRON,              07/09/18   17 BK 03283-LTS / El         120252            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    MARISOL                                Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    JARD DEL ESTE                          Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    142 CALLE TABONUCO                                                                                   COLLECTIVELY (THE                       Libre Asociado de Puerto
    NAGUABO, PR 00718-                                                                                   "ABRAMS-DIAZ                            Rico
    2819                                                                                                 PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 573 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 575 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
627 RIVERA NUNEZ, GLORIA         06/25/18   17 BK 03283-LTS / El         109229             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    I                                       Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    EXT. SANTA TERESITA                     Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    3502 CALLE SANTA                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    JUANITA                                                                                                "ACEVEDO CAMACHO                         Rico
    PONCE, PR 00730-4612                                                                                   PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
628 RIVERA OLIVO,                11/04/19   17 BK 03283-LTS / El         172216               $ 26,000.00* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    LIZANDRA                                Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    BOX 651                                 Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    VEGA ALTA, PR 00692                                                                                    RODRIGUEZ ZAYAS;
                                                                                                           HC 2 BOX 6519
                                                                                                           GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 574 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 576 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
629 RIVERA ORELLANA,             05/25/18   17 BK 03283-LTS / El          22298                   $ 277.55 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    PRISCILLA                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 575 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 577 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
630 RIVERA PEREZ,                05/18/18   17 BK 03566-LTS / Sistema     28107             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN J.                               de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    COND. CENTURY                           del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    GARDENS                                 Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    APT. B-4                                Rico                                                           "ACEVEDO CAMACHO                         Rico
    TOA BAJA, PR 00949                                                                                     PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 576 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 578 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
631 RIVERA PEREZ, JORGE          05/18/18   17 BK 03283-LTS / El         16587             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    CALLE SAN IGNACIO                       Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    253                                     Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    BO. SALUD                                                                                             COLLECTIVELY (THE                       Libre Asociado de Puerto
    MAYAGUEZ, PR 00680                                                                                    "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 577 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 579 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
632 RIVERA PLAZA,              06/28/18   17 BK 03283-LTS / El         123118            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN C.                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    966 CALLE BRILLANTE                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    URB BRIGAS DEL                                                                                      COLLECTIVELY (THE
    LAUREL                                                                                              BELTRAN CINTRON
    PONCE, PR 00780                                                                                     PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 578 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 580 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
633 RIVERA RIVERA,              05/24/18   17 BK 03283-LTS / El         21147             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EUFEMIA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    100 CALLE MAR CARIBE                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    ISABELA, PR 00662-3373                                                                               COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 579 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 581 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
634 RIVERA RIVERA,             05/24/18   17 BK 03566-LTS / Sistema     26253            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EUFEMIA                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    URB BRISAS DEL MAR                    del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    CALLE MAR CARIBE 100                  Libre Asociado de Puerto                                      COLLECTIVELY (THE
    ISABELA, PR 00662                     Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 580 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 582 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
635 RIVERA RIVERA,              05/08/18   17 BK 03283-LTS / El         11097                $ 11,912.69 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    FLORINDA                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 581 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 583 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
636 RIVERA RIVERA,              05/21/18   17 BK 03566-LTS / Sistema     29284            Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    HECTOR L                               de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    VISTAMAR                               del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    130 CALLE                              Libre Asociado de Puerto                                      PMB120
    VALLADOLID                             Rico                                                          CAROLINA, PR 00988
    CAROLINA, PR 00983

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.
637 RIVERA RIVERA,              05/21/18   17 BK 03283-LTS / El          30897            Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    HECTOR L.                              Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    130 CALLE                              Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    VALLADOLOD                                                                                           PMB120
    VISTAMA                                                                                              CAROLINA, PR 00988
    CAROLINA, PR 00983

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 582 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 584 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
638 RIVERA RIVERA,              05/08/18   17 BK 03283-LTS / El         10898                $ 96,785.35 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    YOLANDA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 583 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 585 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
639 RIVERA RIVERA,              05/07/18   17 BK 03283-LTS / El         10904               $ 52,941.92* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    YOLANDA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    COND PASEO DE LAS                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CUMBRES                                                                                              COLLECTIVELY (THE
    345 CARR 852 STE 117                                                                                 BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                    PLAINTIFF GROUP")...
    00967                                                                                                ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 584 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 586 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
640 RIVERA RIVERA,              06/28/18   17 BK 03283-LTS / El         120429            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    YOLANDA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BOX 581                                Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SANTA ISABEL, PR 00757                                                                               COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 585 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 587 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
641 RIVERA RIVERA,              06/28/18   17 BK 03283-LTS / El         127245            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    YOLANDA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BOX 581                                Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SANTA ISABEL, PR 00757                                                                               COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 586 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 588 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
642 RIVERA ROCHE,               05/29/18    17 BK 03283-LTS / El          38482            Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    RAFAEL                                  Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    URB SAN MARTIN I E 25                   Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    CALLE 5                                                                                               RODRIGUEZ ZAYAS;
    JUANA DIAZ, PR 00795                                                                                  HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
643 RIVERA RODRIGUEZ,           05/22/18    17 BK 03283-LTS / El          25982            Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    AGUSTIN                                 Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    C-COLON NUM.26                          Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    CANTERA                                                                                               PMB120
    SANTURCE, PR 00915                                                                                    CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.
644 RIVERA RODRIGUEZ,           05/22/18    17 BK 03566-LTS / Sistema     25808              $ 18,000.00* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    AGUSTIN                                 de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    #609 CALLE BRAZIL                       del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    BARRIO OBERO                            Libre Asociado de Puerto                                      PMB120
    SAN JUAN, PR 00925                      Rico                                                          CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 587 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 589 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
645 RIVERA RODRIGUEZ,           06/29/18   17 BK 03566-LTS / Sistema     133080              $ 40,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    GLORIA                                 de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 372                             del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    CANÓVANAS, PR 00729                    Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                           Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 588 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 590 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
646 RIVERA RODRIGUEZ,           05/21/18   17 BK 03283-LTS / El         16862             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JOHANNA M.                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC-3 BOX 10920                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SAN GERMAN, PR 00683                                                                                 COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 589 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 591 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
647 RIVERA RODRIGUEZ,           10/08/19    17 BK 03283-LTS / El        171569             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    JUAN B                                  Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    PO BOX 737                              Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    ENSENADA, PR 00647                                                                                    RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 590 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 592 of 805

                                                                Tricentésima Quincuagésima Primera Objeción Global
                                                                 Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                      FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE              RECLAM       MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN       RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
648 RIVERA ROLDAN,               06/29/18   17 BK 03567-LTS /            150424              $ 24,410.01* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    REINALDO                                Autoridad de Carreteras y                                     DIAZ ET AL (1084                        de Retiro de los Empleados
    P.O. BOX 589                            Transportación de Puerto                                      PLAINTIFFS)                             del Gobierno del Estado
    PATILLOS, PR 00723                      Rico                                                          COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                          "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 591 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 593 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
649 RIVERA ROSA,                 06/26/18   17 BK 03566-LTS / Sistema    138683^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MERALYS                                 de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE ROSENDO M.                        del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    CINTRON 59                              Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    LUQUILLO, PR 00773                      Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 138683 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 592 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 594 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
650 RIVERA SANCHEZ, IRIS        07/29/20   17 BK 03283-LTS / El         174618            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    M                                      Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    #56 CALLE 2B                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    HC02 BOX 9997                                                                                        COLLECTIVELY (THE
    COMUNIDAD SINGAPUR                                                                                   BELTRAN CINTRON
    JUANA DIAZ, PR 00795-                                                                                PLAINTIFF GROUP")...
    9614                                                                                                 ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 593 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 595 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
651 RIVERA SANTIAGO,           06/28/18   17 BK 03283-LTS / El         161622            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EVELINA                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    220 CALLE ROSA                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    FERRY BARRANCA                                                                                      COLLECTIVELY (THE
    PONCE, PR 00730                                                                                     BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 594 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 596 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
652 RIVERA SANTIAGO,             06/27/18   17 BK 03283-LTS / El         106450             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARTA ENID                              Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    VISTAS LUGILLO II 527                   Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CALLE ESMERALDA                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
    LUGUILLO, PR 00773                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 595 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 597 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
653 RIVERA SANTIAGO,            06/05/18   17 BK 03283-LTS / El          35625             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    SONIA                                  Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    PO BOX 3146                            Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    GUAYAMA, PR 00785                                                                                     "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 596 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 598 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
654 RIVERA SANTOS,              05/21/18   17 BK 03283-LTS / El         17619             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA DEL CARMEN                       Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC72 BOX 3661                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    NARANJITO, PR 00719                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 597 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 599 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
655 RIVERA SANTOS, NILSA         05/24/18   17 BK 03283-LTS / El         29513^               $ 432,000.00 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    M.                                      Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    313 PLEIADOS DEL                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    YUNQUE                                                                                                 (COLLECTIVELY THE                        Libre Asociado de Puerto
    RIO GRANDE, PR 00745                                                                                   "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 29513 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
656 RIVERA TORRES,               06/28/18   17 BK 03283-LTS / El         163071             Indeterminado* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    CARLOS A.                               Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
    URB. BALDORIOTY                         Puerto Rico                                                    PO BOX 8700                              Puerto Rico
    CALLE GUAJIRA #3305                                                                                    PMB120
    PONCE, PR 00728                                                                                        CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 598 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 600 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
657 RIVERA VALCAICEL,           07/13/18   17 BK 03283-LTS / El         164985              $ 40,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARITZA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    60 REY JORGE                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    URB CAMPO REAL                                                                                       COLLECTIVELY (THE
    LAS PIEDRAS, PR 00771                                                                                BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 599 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 601 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
658 RIVERA VAZQUEZ,             07/06/18   17 BK 03283-LTS / El         164389            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    DAISY O                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 06 BOX 13700                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    COROZAL, PR 00783                                                                                    COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 600 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 602 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
659 RIVERA VAZQUEZ,              06/19/18   17 BK 03283-LTS / El          89443             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NEYDA M                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    F-30 CALLE 4                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    URB. SAN MARTIN                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
    JUANA DIAZ, PR 00795                                                                                   "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 601 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 603 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
660 RIVERA VEGA, JOSÉ A.         05/10/18   17 BK 03283-LTS / El          39483             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    BUZON RR2                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    BOX 2974                                Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    AÑASCO, PR 00610                                                                                       "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP");                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 602 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 604 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
661 RIVERA, MIRTA JULIA          06/25/18   17 BK 03566-LTS / Sistema     60661^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB. SANTA MARIA                        de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE NAZARET                           del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    7835                                    Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    PONCE, PR 00717-1005                    Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 60661 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 603 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 605 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
662 ROBLES CHEVERE,            05/22/18   17 BK 03283-LTS / El         30038             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MAGALY                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    A 3 VILLA BARCELONA                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BARCELONETA, PR                                                                                     COLLECTIVELY (THE
    00617                                                                                               BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 604 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 606 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
663 ROBLES ORTIZ, JESUS          05/24/18   17 BK 03283-LTS / El          15826                    $ 27.20 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    IVONNE GONZÁLEZ                         Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    MORALES                                 Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    P.O. BOX 9021828                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00902-1828                                                                                "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 605 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 607 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
664 ROBLES SIERRA,               05/25/18   17 BK 03283-LTS / El          22451                   $ 633.18 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    RAMONITA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 606 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 608 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
665 ROCHE GONZALES,             06/28/18   17 BK 03566-LTS / Sistema     156041           Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ALTAGRACIA                             de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    HC-5 BOX 13109                         del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795-                  Libre Asociado de Puerto                                      COLLECTIVELY (THE
    9512                                   Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 607 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 609 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
666 ROCHE GONZALEZ ,            06/28/18   17 BK 03566-LTS / Sistema     132762           Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ALTAGRACIA                             de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    HC 5 BOX 13109                         del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795-                  Libre Asociado de Puerto                                      COLLECTIVELY (THE
    9512                                   Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 608 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 610 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
667 ROCHE GONZALEZ,             06/25/18   17 BK 03283-LTS / El         57976             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ALTAGRACIA                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 5 BOX 13109                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795-                                                                                COLLECTIVELY (THE
    9512                                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 609 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 611 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
668 ROCHE GONZALEZ,             06/28/18   17 BK 03283-LTS / El         132535            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ALTAGRACIA                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC-5 BOX 13109                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795-                                                                                COLLECTIVELY (THE
    9512                                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 610 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 612 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
669 ROCHE GONZALEZ,             06/28/18   17 BK 03283-LTS / El         138373            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ALTAGRACIA                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC-05 BOX 13109                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795-                                                                                COLLECTIVELY (THE
    9512                                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 611 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 613 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
670 ROCHE GONZALEZ,             06/28/18   17 BK 03283-LTS / El         164608            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ALTAGRACIA                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 5 BOX 13109                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795-                                                                                COLLECTIVELY (THE
    9512                                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 612 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 614 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
671 ROCHE GONZALEZ,             06/28/18   17 BK 03566-LTS / Sistema     117417           Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ALTAGRACIA                             de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    HC-05 BOX 13109                        del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795-                  Libre Asociado de Puerto                                      COLLECTIVELY (THE
    9512                                   Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 613 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 615 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
672 ROCHE GONZALEZ,             06/28/18   17 BK 03566-LTS / Sistema     133697           Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ALTAGRACIA                             de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    HC-05 BOX 13109                        del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795-                  Libre Asociado de Puerto                                      COLLECTIVELY (THE
    9512                                   Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 614 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 616 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
673 RODGRIGUEZ SANCHEZ,         05/29/18   17 BK 03283-LTS / El          34154             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    JORGE L.                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    HC 02 BOX 23410                        Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    CABO ROJO, PR 00623                                                                                   "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 615 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 617 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
674 RODRIGUEZ                  06/28/18   17 BK 03283-LTS / El         132137               $ 6,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ALBARRAN, CARMEN I.                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB SAN JOSE                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    509 CALLE PADRE                                                                                     COLLECTIVELY (THE
    USERAS                                                                                              BELTRAN CINTRON
    PONCE, PR 00728                                                                                     PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 616 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 618 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
675 RODRIGUEZ AYALA,           05/22/18   17 BK 03283-LTS / El         23742             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARYLIN DEL C                         Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 3425                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUNCOS, PR 00777                                                                                    COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 617 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 619 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
676 RODRIGUEZ BIRRIEL,         05/21/18   17 BK 03566-LTS / Sistema     17952            Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    CYNTHIA                               de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    PO BOX 1170                           del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    CANOVANAS, PR 00729                   Libre Asociado de Puerto                                      PMB120
                                          Rico                                                          CAROLINA, PR 00988

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 618 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 620 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
677 RODRIGUEZ BRACERO,          05/24/18   17 BK 03283-LTS / El          32364             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    JUAN R                                 Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    PARCELAS SAN                           Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    ROMUALDO                                                                                              "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    CALLE P BUZON 146                                                                                     PLAINTIFF GROUP");                       Rico
    HORMIGUEROS, PR                                                                                       CIVIL CASE NUM. K
    00660                                                                                                 AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 619 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 621 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
678 RODRIGUEZ BRACERO,          05/29/18   17 BK 03283-LTS / El          38113             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    JUAN R                                 Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    PARC SAN ROMUALDO                      Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    145 CALLE P                                                                                           "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    HORMIGUEROS, PR                                                                                       PLAINTIFF GROUP");                       Rico
    00660                                                                                                 CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 620 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 622 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
679 RODRIGUEZ BURGOS,           06/19/18   17 BK 03566-LTS / Sistema     39496^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    LUZ I.                                 de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. SANTA ROSA                        del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    CALLE 11 #29-7                         Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    BAYAMON, PR 00959                      Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 39496 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 621 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 623 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
680 RODRIGUEZ                  05/24/18   17 BK 03283-LTS / El         14875             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CANDELARIA, ZULMA I                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 3 BOX 51602                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    HATILLO, PR 00659                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 622 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 624 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
681 RODRIGUEZ CARDI,            05/24/18   17 BK 03283-LTS / El         31424^              $ 691,200.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ENEROLIZA                              Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE RAFAEL                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    ALONZO TORRES #1765                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00921                                                                                    "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 31424 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 623 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 625 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
682 RODRIGUEZ CARDI,            05/24/18   17 BK 03566-LTS / Sistema     27607^              $ 161,191.44 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ENEROLIZA                              de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE RAFAEL                           del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    ALONZO TORRES #1765                    Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00921                     Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 27607 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 27607 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
683 RODRIGUEZ CINTRON,          05/25/18   17 BK 03283-LTS / El          25628             Indeterminado* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    ISMAEL                                 Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
    199-31 BO DAGUAO                       Puerto Rico                                                    PO BOX 8700                              Puerto Rico
    NAGUABO, PR 00718-                                                                                    PMB120
    3104                                                                                                  CAROLINA, PR 00988

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.


             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 624 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 626 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
684 RODRIGUEZ CIUTROU,         10/16/19    17 BK 03283-LTS / El        171817               $ 18,490.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    LUIS A.                                Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    #13 SANTIAGO VIDARTE                   Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    YABUCOA, PR 00767                                                                                    RODRIGUEZ ZAYAS;
                                                                                                         HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 625 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 627 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
685 RODRIGUEZ DE JESUS ,        06/28/18   17 BK 03283-LTS / El         111483            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NELIDA                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 1789                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795                                                                                 COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 626 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 628 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
686 RODRIGUEZ DE JESUS,         06/28/18   17 BK 03283-LTS / El         124203            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NELIDA                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    P.O. BOX 1789                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795                                                                                 COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 627 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 629 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
687 RODRIGUEZ DE JESUS,         06/28/18   17 BK 03283-LTS / El         129973            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NELIDA                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 1789                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUANA DIAZ, PR 00795                                                                                 COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 628 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 630 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
688 RODRIGUEZ FELICIANO,        04/18/18   17 BK 03283-LTS / El          7589              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    EPIFANIO                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    CARR 348 KM 5.8 BOX                    Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    22532                                                                                                 "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    MAYAGUEZ, PR 00680                                                                                    PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 629 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 631 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
689 RODRIGUEZ GONZALEZ,         05/24/18   17 BK 03566-LTS / Sistema     18905^           Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    TANYA                                  de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 13871                           del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    SAN JUAN, PR 00908-3871                Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 18905 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 630 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                Desc:
                                                            Exhibit A Page 632 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                        RECLAMACIÓN REMANENTE

                            FECHA DE                                  N.º DE                                                    FECHA DE                                  N.º DE
                            PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                   PRESENTA           NÚMERO DE             RECLAM      MONTO DE LA
          NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                 NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN      RECLAMACIÓN
690 RODRIGUEZ GUZMAN,          06/29/18   17 BK 03283-LTS / El        151140             Indeterminado* VELEZ ROSA LYDIA Y         05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    MILAGROS                              Estado Libre Asociado de                                      OTROS KPE 1980-1738                   Estado Libre Asociado de
    2574 CALLE COLOSO                     Puerto Rico                                                   (805), TPI SAN JUAN                   Puerto Rico
    PONCE, PR 00717                                                                                     GEORGETTI 78
                                                                                                        SAN JUAN, PR 00925

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
   Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
   al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
   educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
   remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                   Página 631 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 633 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
691 RODRIGUEZ                   06/29/18   17 BK 03283-LTS / El         41506             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    HERNANDEZ, LUZ S                       Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    P O BOX 236                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    OROCOVIS, PR 00720                                                                                   COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 632 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                Desc:
                                                             Exhibit A Page 634 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                        RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                   PRESENTA           NÚMERO DE             RECLAM      MONTO DE LA
           NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                 NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN      RECLAMACIÓN
692 RODRÍGUEZ                   06/22/18   17 BK 03283-LTS / El         38199             Indeterminado* VELEZ ROSA LYDIA Y         05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    HERNÁNDEZ, MARÍA                       Estado Libre Asociado de                                      OTROS KPE 1980-1738                   Estado Libre Asociado de
    2C-6 CALLE13                           Puerto Rico                                                   (805), TPI SAN JUAN                   Puerto Rico
    URB. LA PROVIDENCIA                                                                                  GEORGETTI 78
    TOA ALTA, PR 00953                                                                                   SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.
693 RODRIGUEZ                   06/06/18   17 BK 03283-LTS / El         60499             Indeterminado* VELEZ ROSA LYDIA Y         05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    LAUREANO, WANDA                        Estado Libre Asociado de                                      OTROS KPE 1980-1738                   Estado Libre Asociado de
    JOSEFINA PANTOJA                       Puerto Rico                                                   (805), TPI SAN JUAN                   Puerto Rico
    OQUENDO                                                                                              GEORGETTI 78
    PO BOX 21370                                                                                         SAN JUAN, PR 00925
    SAN JUAN, PR 00928

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                   Página 633 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 635 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
694 RODRIGUEZ LOPEZ,           07/05/18   17 BK 03566-LTS / Sistema    146187^           Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARILITZA                             de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 781                            del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    CIALES, PR 00638                      Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                          Rico                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 146187 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 634 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 636 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
695 RODRIGUEZ LYDIA,            06/28/18   17 BK 03283-LTS / El         138310             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ALVAREZ                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE JUAN DE JESUS                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    #14                                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
    URB. MONSERRATE                                                                                       "ACEVEDO CAMACHO                         Rico
    JAYUYA, PR 00664                                                                                      PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 635 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 637 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                      FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE              RECLAM       MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN       RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
696 RODRIGUEZ MARRERO,          04/16/18   17 BK 03567-LTS /             5502             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    RAMON                                  Autoridad de Carreteras y                                     DIAZ ET AL (1084                        de Retiro de los Empleados
    PO BOX 739                             Transportación de Puerto                                      PLAINTIFFS)                             del Gobierno del Estado
    HORMIGUEROS, PR                        Rico                                                          COLLECTIVELY (THE                       Libre Asociado de Puerto
    00660-0739                                                                                           "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 636 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 638 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
697 RODRIGUEZ MARTINEZ,         07/03/18   17 BK 03283-LTS / El         121434            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    JUAN                                   Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    HC 1 BOX 16669                         Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    HUMACAO, PR 00791-                                                                                   COLLECTIVELY (THE                       Libre Asociado de Puerto
    9003                                                                                                 "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 637 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 639 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
698 RODRIGUEZ MEDINA,           05/30/18   17 BK 03283-LTS / El         29402             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN B                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    500 ROBERTO H. TODD                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    P.O. BOX 8000                                                                                        COLLECTIVELY (THE
    SANTURCE, PR 00910                                                                                   BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 638 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 640 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
699 RODRIGUEZ MERCADO,          06/07/18   17 BK 03283-LTS / El          54320             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    DAMARIS                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC-01 BOX 8238                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    HATILLO, PR 00659                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
700 RODRIGUEZ MERCADO,          10/08/19   17 BK 03283-LTS / El         171558             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    LUIS A                                 Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    PO BOX 944                             Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    PATILLAS, PR 00723                                                                                    RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 639 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 641 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
701 RODRIGUEZ MILLAN,           05/09/18   17 BK 03283-LTS / El          12811                $ 5,000.00* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    GLADYS                                 Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    118 PROLONGACION 25                    Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    DE JULIO                                                                                              LOPEZ-ROSARIO                            Libre Asociado de Puerto
    YAUCO, PR 00698                                                                                       PLAINTIFF GROUP);                        Rico
                                                                                                          IVONNE GONZALEZ
                                                                                                          MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 640 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 642 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
702 RODRIGUEZ MILLAN,           06/28/18   17 BK 03283-LTS / El         163083             Indeterminado* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    GLADYS                                 Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    118 PROLONGACION 25                    Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    DE JULIO                                                                                              LOPEZ-ROSARIO                            Libre Asociado de Puerto
    YAUCO, PR 00698                                                                                       PLAINTIFF GROUP);                        Rico
                                                                                                          IVONNE GONZALEZ
                                                                                                          MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 641 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 643 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
703 RODRIGUEZ                   04/25/18   17 BK 03283-LTS / El          8803              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    MONTALVO, NOEL                         Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    URB. ALTURAS                           Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    SABANERAS                                                                                             "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    CALLE E92                                                                                             PLAINTIFF GROUP");                       Rico
    SABANA GRANDE, PR                                                                                     CIVIL CASE NUM. K
    00637                                                                                                 AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 642 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 644 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
704 RODRIGUEZ                  01/29/20    17 BK 03283-LTS / El        173077                $ 20,822.00 MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    MONTALVO, WILLIAM                      Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    PO BOX 9477                            Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    BAYAMON, PR 00960                                                                                    RODRIGUEZ ZAYAS;
                                                                                                         HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
705 RODRIGUEZ                  01/13/20    17 BK 03283-LTS / El        177971               $ 208,822.00 MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    MONTALVO, WILLIAM                      Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    PO BOX 9477                            Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    BAYAMON, PR                                                                                          RODRIGUEZ ZAYAS;
                                                                                                         HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 643 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 645 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
706 RODRIGUEZ MORALES,          02/18/20   17 BK 03283-LTS / El         173319             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    AUREA                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    BO. APEADERO SECTOR                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    LOS MACHUCHALES                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 805                                                                                          "ACEVEDO CAMACHO                         Rico
    PATILLAS, PR 00723                                                                                    PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 644 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 646 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
707 RODRIGUEZ MORALES,          05/10/18   17 BK 03283-LTS / El          13974             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARIA M.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE ACEROLA B-8                      Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    VILLA CRIOLLOS                                                                                        (COLLECTIVELY THE                        Libre Asociado de Puerto
    CAGUAS, PR 00725                                                                                      "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 645 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 647 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
708 RODRIGUEZ NEGRON,           05/29/18   17 BK 03283-LTS / El         38383             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    VIRGEN Y                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB VISTA ALEGRE                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    1106 CALLE TRINITARIA                                                                                COLLECTIVELY (THE
    VILLALBA, PR 00766                                                                                   BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 646 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 648 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
709 RODRIGUEZ OLIVERAS,         07/17/18    17 BK 03283-LTS / El        167568               $ 21,600.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    DIONISIO                                Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    P.O BOX 561100                          Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    GUAYANILLA, PR 00656                                                                                  RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
710 RODRIGUEZ OLIVERAS,         07/17/18    17 BK 03283-LTS / El        124401               $ 11,400.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    MARTIN                                  Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    PO BOX 561208                           Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    GUAYANILLA, PR 00656-                                                                                 RODRIGUEZ ZAYAS;
    3208                                                                                                  HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 647 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 649 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
711 RODRIGUEZ OLIVERAS,        05/18/18   17 BK 03283-LTS / El         20526^              $ 493,200.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MIRIAM                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CALLE 129 BX-27                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JARDINES DE COUNTRY                                                                                 COLLECTIVELY (THE
    CLUB                                                                                                BELTRAN CINTRON
    CAROLINA, PR 00985                                                                                  PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 20526 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 648 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 650 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
712 RODRIGUEZ OLMEDA,           05/09/18   17 BK 03283-LTS / El          11944             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    IVETTE                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    BO LAVADERO                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    62 CALLE BOSQUE                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    HORMIGUEROS, PR                                                                                       "ACEVEDO CAMACHO                         Rico
    00660                                                                                                 PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 649 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 651 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
713 RODRIGUEZ RAMOS,            05/30/18   17 BK 03283-LTS / El          25257             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    MIGDALIA                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    PMB 249                                Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    PO BOX 1810                                                                                           "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    MAYAGUEZ, PR 00681                                                                                    PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 650 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 652 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                         RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
714 RODRIGUEZ RIVAS,            06/12/18   17 BK 03566-LTS / Sistema     63733            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA S.                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    URB. VILLA DE                          del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    PATILLAS                               Libre Asociado de Puerto                                      COLLECTIVELY (THE
    125 CALLE CUARZO                       Rico                                                          BELTRAN CINTRON
    PATILLAS, PR 00723                                                                                   PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 651 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 653 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
715 RODRIGUEZ                   10/02/19    17 BK 03283-LTS / El          171294           Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    RODRIGUEZ, CARLOS                       Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    W.                                      Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    HC 64 BUZON 7346                                                                                      RODRIGUEZ ZAYAS;
    PATILLAS, PR 00723                                                                                    HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
716 RODRIGUEZ                   05/25/18    17 BK 03566-LTS / Sistema     30160              $ 192,383.07 MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    RODRIGUEZ, JOSE M                       de Retiro de los Empleados                                    ALFREDO A, ET ALS                       Estado Libre Asociado de
    P.O. BOX 16142                          del Gobierno del Estado                                       LCDO. GILBERTO                          Puerto Rico
    SAN JUAN, PR 16142                      Libre Asociado de Puerto                                      RODRIGUEZ ZAYAS;
                                            Rico                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
717 RODRIGUEZ                   09/13/19    17 BK 03283-LTS / El          170749           Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    RODRIGUEZ, JOSE M.                      Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    PO BOX 16142                            Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    SAN JUAN, PR 00908                                                                                    RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 652 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 654 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
718 RODRIGUEZ                  11/05/19    17 BK 03283-LTS / El        172277             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    RODRIGUEZ, ROBERTO                     Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    PO BOX 451                             Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    ARROYO, PR 00714                                                                                     RODRIGUEZ ZAYAS;
                                                                                                         HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 653 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 655 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
719 RODRIGUEZ RUIZ,             04/20/18   17 BK 03283-LTS / El          7866             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    GEMINELLY                              Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    71 CALLE LOS ANGELES                   Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    ANASCO, PR 00610                                                                                     COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
720 RODRIGUEZ SANTIAGO,         05/29/18   17 BK 03283-LTS / El         37917             Indeterminado* CONCILIO NACIONAL            06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    AURELIO                                Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    PO BOX 1241                            Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    CANOVANAS, PR 00729                                                                                  PMB120
                                                                                                         CAROLINA, PR 00988

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.

             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 654 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 656 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
721 RODRIGUEZ TORRES,           06/29/18    17 BK 03283-LTS / El        145845                $ 20,000.00 MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    JOSE I                                  Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    MSC 097                                 Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    PO BOX 6004                                                                                           RODRIGUEZ ZAYAS;
    VILLALBA, PR 00766                                                                                    HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 655 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 657 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
722 RODRIGUEZ VALENTIN,         09/20/19   17 BK 03283-LTS / El         170992             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    IRMA I                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    P.O. BOX 112                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    LAS MARIAS, PR 00670                                                                                  (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
723 RODRIGUEZ VAZQUEZ,          09/30/19   17 BK 03283-LTS / El         171216               $ 24,000.00* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    RAFAEL A.                              Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    HC 4 BOX 11991                         Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    YAUCO, PR 00698                                                                                       RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 656 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 658 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
724 RODRIGUEZ                    07/06/18   17 BK 03283-LTS / El         159079               $ 600,000.00 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    VELAZQUEZ, IRIS O.                      Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    P.O. BOX 173                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    GURABO, PR 00778                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 657 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 659 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
725 RODRIGUEZ ZAYAZ,             07/06/18   17 BK 03283-LTS / El         158462             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ANA L.                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC1 BOX 6200                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CIALES, PR 00638                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
726 RODRIGUEZ, LUIS A.           06/27/18   17 BK 03283-LTS / El          54896              $ 1,000,000.00 MALDONADO COLÓN,             06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    RIVERA MUNICH &                         Estado Libre Asociado de                                        ALFREDO A, ET ALS                       Estado Libre Asociado de
    HERNANDEZ                               Puerto Rico                                                     LCDO. GILBERTO                          Puerto Rico
    PO BOX 364908                                                                                           RODRIGUEZ ZAYAS;
    SAN JUAN, PR 00936-4908                                                                                 HC 2 BOX 6519
                                                                                                            GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 658 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 660 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
727 ROHENA DIAZ, HECTOR        05/11/18   17 BK 03283-LTS / El         14664             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    L                                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 03 BOX 9259                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    GURABO, PR 00778                                                                                    COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 659 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 661 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
728 ROLDAN DAUMONT,             06/29/18   17 BK 03283-LTS / El         119076            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    WANDA I.                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CALLE 400 MC#4                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    4TA EXT COUNTRY                                                                                      COLLECTIVELY (THE
    CLUB                                                                                                 BELTRAN CINTRON
    CAROLINA, PR 00982                                                                                   PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 660 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 662 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
729 ROLON ORTEGA,               06/04/18   17 BK 03283-LTS / El         51735             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN M                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BO MOSQUITO                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PDA 6 BUZON 1525                                                                                     COLLECTIVELY (THE
    AGUIRRE, PR 00704                                                                                    BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 661 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 663 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
730 ROLON ORTEGA,               06/04/18   17 BK 03566-LTS / Sistema     37567^           Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN M                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    BO MOSQUITO                            del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    PDA 6 BUZON 1525                       Libre Asociado de Puerto                                      COLLECTIVELY (THE
    AGUIRRE, PR 00704                      Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 37567 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 662 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 664 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
731 ROLON ORTEGA,              06/04/18   17 BK 03283-LTS / El         38583             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    CARMEN M.                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BO MOSQUITO POLA 6                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    BZN - 1525                                                                                          COLLECTIVELY (THE
    AGUIRE, PR 00704                                                                                    BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 663 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 665 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
732 ROMAN MALDONADO,            05/29/18   17 BK 03283-LTS / El          45051             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    YELITZA                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB. DIPLO 707                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CALLE FLAMBOYAN                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    NAGUABO, PR 00718                                                                                     "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 664 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 666 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
733 ROMAN ROLDAN,                06/06/18   17 BK 03283-LTS / El         51417               $ 40,072.87* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    CARMEN                                  Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    URB VISTA VERDE                         Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    542 CALLE 16                                                                                          COLLECTIVELY (THE                       Libre Asociado de Puerto
    AGUADILLA, PR 00603                                                                                   "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 665 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 667 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                         RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
734 ROMERO CASTRO,              06/07/18   17 BK 03283-LTS / El         95222             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    IVELISSE                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    REPTO. SAN JOSE                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    375 CALLE BLANES                                                                                     COLLECTIVELY (THE
    SAN JUAN, PR 00923                                                                                   BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 666 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 668 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
735 RONDON PAGAN,               06/07/18   17 BK 03283-LTS / El         42894             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JANETTE                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 5 BOX 7403                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    GUAYNABO, PR 00971-                                                                                  COLLECTIVELY (THE
    9595                                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 667 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 669 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
736 ROQUE RIVAS, BOLIVAR        04/20/18   17 BK 03283-LTS / El           7824             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB. VILLA                             Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    ANDALUCIA TUDELA #0                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    -14                                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00926                                                                                    "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 668 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 670 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
737 ROSADO CRUZ, MARIA           05/25/18   17 BK 03283-LTS / El          23166                   $ 553.98 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    IVONNE GONZÁLEZ                         Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    MORALES                                 Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    P.O. BOX 9021828                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00902-1828                                                                                "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 669 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 671 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
738 ROSADO CRUZ, MARIA          05/25/18   17 BK 03566-LTS / Sistema     28898^                $ 45,268.58 MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    C/ YUQUIBO M-5                         de Retiro de los Empleados                                      CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    VILLASBA CAREY                         del Gobierno del Estado                                         PLANTIFFS)                              del Gobierno del Estado
    TRUJILLO ALTO, PR                      Libre Asociado de Puerto                                        (COLLECTIVELY THE                       Libre Asociado de Puerto
    00976                                  Rico                                                            "ACEVEDO CAMACHO                        Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 28898 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 670 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 672 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
739 ROSADO RODRIGUEZ,          06/28/18   17 BK 03283-LTS / El         71873                $ 10,200.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    NILSA                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PUERTO REAL CALLE 1                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CASA 573                                                                                            COLLECTIVELY (THE
    CABO ROJO, PR 00623                                                                                 BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 671 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 673 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
740 ROSADO SOTO, ANDRES        06/04/18    17 BK 03283-LTS / El         46067             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    HC 02 BOX 6348                         Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    LARES, PR 00669                        Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
                                                                                                         RODRIGUEZ ZAYAS;
                                                                                                         HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 672 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 674 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
741 ROSADO, JARITZA             05/23/18   17 BK 03283-LTS / El         26122             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    FELICIANO                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 3 BOX 6395                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    RINCON, PR 00677                                                                                     COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 673 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 675 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
742 ROSARIO BESTARD, IRIS       05/09/18   17 BK 03283-LTS / El         11951                $ 19,809.70 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    N                                      Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 674 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 676 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
743 ROSARIO DEL RIO,             07/02/18   17 BK 03283-LTS / El         144930             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARMEN M.                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC-2 BOX 8538                           Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CIALES, PR 00638-9753                                                                                  (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 675 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 677 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
744 ROSARIO MAISONET,           05/19/18   17 BK 03283-LTS / El          12676                $ 73,800.00 DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    SONIA                                  Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    300 ESTANCIAS DE                       Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    BARCELONETA                                                                                           LOPEZ-ROSARIO                            Libre Asociado de Puerto
    CALLE ESCORPORA                                                                                       PLAINTIFF GROUP);                        Rico
    BARCELONETA, PR                                                                                       IVONNE GONZALEZ
    00617-2415                                                                                            MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 676 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 678 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
745 ROSARIO RAMIREZ,             01/24/20   17 BK 03283-LTS / El         173179               $ 417,600.00 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    JOHN F.                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    P.O. BOX 9022183                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SAN JUAN, PR 00902-2183                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 677 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 679 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
746 ROSARIO RAMOS, EDDA         06/28/18   17 BK 03283-LTS / El          67077             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    I                                      Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 146                             Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    BO LA PLATA                                                                                           (COLLECTIVELY THE                        Libre Asociado de Puerto
    AIBONITO, PR 00786                                                                                    "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 678 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 680 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
747 ROSARIO SANCHEZ,            05/25/18   17 BK 03283-LTS / El         21424             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    VANESSA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    RR #10 BOX 10032                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SAN JUAN, PR 00926                                                                                   COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 679 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                Desc:
                                                            Exhibit A Page 681 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                        RECLAMACIÓN REMANENTE

                            FECHA DE                                  N.º DE                                                    FECHA DE                                  N.º DE
                            PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                   PRESENTA           NÚMERO DE             RECLAM      MONTO DE LA
          NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                 NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN      RECLAMACIÓN
748 ROSARIO TORRES, IRMA       06/29/18   17 BK 03283-LTS / El         71972             $ 150,000.00* VELEZ ROSA LYDIA Y          05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    PO BOX 253                            Estado Libre Asociado de                                     OTROS KPE 1980-1738                    Estado Libre Asociado de
    BARRANQUITAS, PR                      Puerto Rico                                                  (805), TPI SAN JUAN                    Puerto Rico
    00794                                                                                              GEORGETTI 78
                                                                                                       SAN JUAN, PR 00925

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
   Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
   al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
   educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
   remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                   Página 680 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 682 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
749 ROSARIO TORRES,            05/24/18   17 BK 03283-LTS / El         33037             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    OLGA N                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    P O BOX 371113                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAYEY, PR 00737                                                                                     COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 681 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 683 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
750 ROSARIO, DIANA               06/27/18   17 BK 03283-LTS / El          72894                  $ 888.33* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ESPADA                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 682 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 684 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
751 ROSARIO, MILAGROS           06/06/18   17 BK 03283-LTS / El         49234             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    SANTIAGO                               Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    CALLE GUAYANES G 12                    Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    177                                                                                                  COLLECTIVELY (THE                       Libre Asociado de Puerto
    URB. ESTANCIAS DEL                                                                                   "ABRAMS-DIAZ                            Rico
    RIO                                                                                                  PLAINTIFF GROUP")
    HORMIGUEROS, PR                                                                                      CIVIL CASE NUM. K
    00660                                                                                                AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 683 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 685 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
752 ROSAS ROJAS, MARITZA         05/03/18   17 BK 03283-LTS / El          11379             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    RES CARMEN                              Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    EDIF 14 APT 143                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MAYAGUEZ, PR 00680                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
753 RUIZ CASTILLO, IRMA I        10/17/19   17 BK 03283-LTS / El         171796             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    URB LOS COOHOS CALL                     Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    BAMBU 1223                              Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    PONCE, PR 00716                                                                                        RODRIGUEZ ZAYAS;
                                                                                                           HC 2 BOX 6519
                                                                                                           GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 684 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 686 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
754 RUIZ CASTILLO, IRMA I.      06/15/18    17 BK 03283-LTS / El         59992             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    URB LOS CAOBOS                          Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    CALLE BAMBU 1223                        Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    PONCE, PR 00716                                                                                       RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
755 RUIZ DE JESUS, JOSE R       12/20/19    17 BK 03283-LTS / El        172854               $ 12,500.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    HC 64 BOX 8134                          Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    PATILLAS, PR 00723                      Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
                                                                                                          RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 685 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 687 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
756 RUIZ DIAZ, CARMEN            06/27/18   17 BK 03283-LTS / El         113880             Indeterminado* DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    PO BOX 800047                           Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    COTO LAUREL, PR 00780                   Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    -0047                                                                                                  LOPEZ-ROSARIO                            Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP);                        Rico
                                                                                                           IVONNE GONZALEZ
                                                                                                           MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                           ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                           COLLECTIVELY (THE                        Puerto Rico
                                                                                                           LOPEZ-ROSARIO
                                                                                                           PLAINTIFF GROUP)
                                                                                                           P.O. BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
    Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
    virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
    arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
    arriba ni están subsumidas en los Reclamos maestros de López Rosario.
    ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
757 RUIZ LEDEE, UZZIEL           09/19/19   17 BK 03283-LTS / El         171028                $ 10,965.00 MALDONADO COLÓN,             06/27/18    17 BK 03283-LTS / El          152372           $ 17,590,927.76
    AT-3 CALLE 46 LA                        Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    HACIENDO                                Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    GUAYAMA, PR 00784                                                                                      RODRIGUEZ ZAYAS;
                                                                                                           HC 2 BOX 6519
                                                                                                           GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 686 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 688 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
758 RUIZ LOPEZ, ROSA             05/29/18   17 BK 03283-LTS / El          34112             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    APARTADO 1607                           Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    SAN GERMAN, PR 00683                    Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
                                                                                                           (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 687 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 689 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
759 RUIZ PAGAN, KHAIRY J        05/23/18   17 BK 03283-LTS / El         19237             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    URB JARD DE                            Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    VALENCIANO                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    B 6 CALLE ORQUIDEA                                                                                   COLLECTIVELY (THE
    JUNCOS, PR 00777                                                                                     BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 688 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 690 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
760 RUIZ PAGÁN, KHAIRY J        05/23/18   17 BK 03283-LTS / El         19125             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    URB. JARDINES DEL                      Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    VALENCIANO                             Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CALLE ORQUIDEA B-6                                                                                   COLLECTIVELY (THE
    JUNOS, PR 00777                                                                                      BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 689 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 691 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
761 RUIZ PAGAN, LIZZIE J.       02/18/20   17 BK 03283-LTS / El        173254^              $ 115,200.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JARD. VALENCIANO                       Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    ORQUIDEA B6                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    JUNCOS, PR 00777                                                                                     COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 173254 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 690 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 692 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
762 RUIZ RIVERA, ROSA I         05/22/18   17 BK 03283-LTS / El         25183             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    PO BOX 805                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CIDRA, PR 00739                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 691 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 693 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
763 RUIZ, GEMINELLY             04/20/18   17 BK 03283-LTS / El          7918             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    RODRIGUEZ                              Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    71 CALLE LOS ANGELES                   Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    ANASCO, PR 00610                                                                                     COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 692 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 694 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
764 SABALIER RIOS,             06/29/18   17 BK 03283-LTS / El         84289             Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    CARMEN J.                             Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    URB VILLA CONTESSA                    Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    P21 CALLE TUDOR                                                                                     COLLECTIVELY (THE                       Libre Asociado de Puerto
    BAYAMON, PR 00956-                                                                                  "ACEVEDO AROCHO                         Rico
    2735                                                                                                PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K AC
                                                                                                        2005-5022
                                                                                                        LCDA. IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 693 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 695 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
765 SAINZ SERRANO,              07/03/18   17 BK 03283-LTS / El         128292             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARLOS J.                              Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CIUDAD JARDIN II                       Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    228 CALLE ALCANFOR                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
    CANOVANAS, PR 00729                                                                                   "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 694 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 696 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
766 SALAMAN, LAURA               05/24/18   17 BK 03283-LTS / El          20823                   $ 550.40 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    FRANCIS                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MORALES                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                       "ACEVEDO CAMACHO                         Rico
    SAN JUAN, PR 00902-1828                                                                                PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 695 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 697 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
767 SALVA RODRIGUEZ             05/24/18   17 BK 03283-LTS / El          26248             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    (FALLECIDO), CANDIDO                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    A                                      Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    DOS PINOS                                                                                             (COLLECTIVELY THE                        Libre Asociado de Puerto
    TOWNHOUSES                                                                                            "ACEVEDO CAMACHO                         Rico
    B 12 CALLE 2                                                                                          PLANTIFF GROUP");
    SAN JUAN, PR 00923                                                                                    CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 696 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 698 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
768 SALVA RODRIGUEZ,             05/24/18   17 BK 03283-LTS / El          30598             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CANDIDO A                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CANDIDO A SALVA                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    RODRIGUEZ                                                                                              (COLLECTIVELY THE                        Libre Asociado de Puerto
    DOS PINOS                                                                                              "ACEVEDO CAMACHO                         Rico
    TOWNHOUSES                                                                                             PLANTIFF GROUP");
    B12 CALLE 2                                                                                            CASP CASE NUM. 2016-
    SAN JUAN, PR 00923                                                                                     05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 697 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 699 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
769 SANCHEZ ARROYO,             03/19/18   17 BK 03283-LTS / El          3408             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JUAN F                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BO AGUACAVE KM 0.0                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PO BOX 4499                                                                                          COLLECTIVELY (THE
    AGUADILLA, PR 00605                                                                                  BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 698 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 700 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
770 SANCHEZ                      06/28/18   17 BK 03283-LTS / El          63255                 $ 50,000.00 MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    CARRASQUILLO,                           Estado Libre Asociado de                                        CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    MARIANN                                 Puerto Rico                                                     PLANTIFFS)                              del Gobierno del Estado
    URB PASEO PALMA                                                                                         (COLLECTIVELY THE                       Libre Asociado de Puerto
    REAL                                                                                                    "ACEVEDO CAMACHO                        Rico
    90 CALLE CALANDRIA                                                                                      PLANTIFF GROUP");
    JUNCOS, PR 00777-9723                                                                                   CASP CASE NUM. 2016-
                                                                                                            05-1340
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 699 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 701 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
771 SANCHEZ MATEO, JOSE        06/07/18   17 BK 03283-LTS / El         65849             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    L.                                    Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PMB 663                               Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PO BOX 6017                                                                                         COLLECTIVELY (THE
    CAROLINA, PR 00984-                                                                                 BELTRAN CINTRON
    6017                                                                                                PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 700 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 702 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
772 SANCHEZ MORALES,            06/20/18   17 BK 03283-LTS / El         72162^             $ 129,600.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    WANDA                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB VISTAS DEL MAR                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    9 CALLE ARENA                                                                                        COLLECTIVELY (THE
    RIO GRANDE, PR 00745                                                                                 BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 72162 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 701 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 703 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
773 SANCHEZ MUNOS,              05/09/18   17 BK 03283-LTS / El         12662                $ 15,306.18 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    VERONICA                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 702 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 704 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
774 SANCHEZ PRINCIPE,            05/29/18   17 BK 03283-LTS / El          32249             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    IDALIZ                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    RR 2 BOX 454                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SAN JUAN, PR 00926                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 703 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 705 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
775 SANCHEZ RAMIREZ,           07/05/18   17 BK 03283-LTS / El         150059            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JEIDY                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 3578 MARINA                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    STA                                                                                                 COLLECTIVELY (THE
    MAYAGUEZ, PR 00681                                                                                  BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 704 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 706 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
776 SANCHEZ, ROSA COTTO          05/25/18   17 BK 03283-LTS / El          21425                   $ 643.25 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    IVONNE GONZÁLEZ                         Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    MORALES                                 Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    P.O. BOX 9021828                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00902-1828                                                                                "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 705 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 707 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
777 SANTA ALICEA,                06/28/18   17 BK 03566-LTS / Sistema    127854^                $ 48,547.75 MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARGOT                                  de Retiro de los Empleados                                      CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    PO BOX 633                              del Gobierno del Estado                                         PLANTIFFS)                              del Gobierno del Estado
    SAN LORENZO, PR 00754                   Libre Asociado de Puerto                                        (COLLECTIVELY THE                       Libre Asociado de Puerto
                                            Rico                                                            "ACEVEDO CAMACHO                        Rico
                                                                                                            PLANTIFF GROUP");
                                                                                                            CASP CASE NUM. 2016-
                                                                                                            05-1340
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 127854 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 706 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 708 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
778 SANTANA GARCIA,              05/24/18   17 BK 03283-LTS / El          25586             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    ANGEL LUIS                              Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    URB. JARDINES DE                        Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    COUNTRY CLUB                                                                                           "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    CALLE #149. CM 9                                                                                       PLAINTIFF GROUP");                       Rico
    CAROLINA, PR 00984                                                                                     CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 707 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 709 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
779 SANTANA, MIGDALIA          05/29/18   17 BK 03283-LTS / El         33882             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MOULIER                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 473                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    NAGUABO, PR 00718                                                                                   COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 708 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                Desc:
                                                             Exhibit A Page 710 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                        RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                   PRESENTA           NÚMERO DE             RECLAM      MONTO DE LA
           NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                 NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN      RECLAMACIÓN
780 SANTIAGO ANDUJAR,           06/26/18   17 BK 03283-LTS / El         94793              $ 40,000.00* VELEZ ROSA LYDIA Y          05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    VIRGEN S.                              Estado Libre Asociado de                                     OTROS KPE 1980-1738                    Estado Libre Asociado de
    P.O. BOX 1690                          Puerto Rico                                                  (805), TPI SAN JUAN                    Puerto Rico
    JUANA DIAZ, PR 00795                                                                                GEORGETTI 78
                                                                                                        SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                   Página 709 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 711 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
781 SANTIAGO ASTACIO,          06/06/18   17 BK 03283-LTS / El         51452             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    OLGA L                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    #93 CALLE F URB                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUSTIN STAHL                                                                                       COLLECTIVELY (THE
    BAYAMON, PR 00956                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 710 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 712 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
782 SANTIAGO GONZALEZ,           06/27/18   17 BK 03566-LTS / Sistema    102943^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    ANA F                                   de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    JARDINES DEL CARIBE                     del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    X-10 CALLE 27                           Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    PONCE, PR 00728                         Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 102943 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
783 SANTIAGO                     05/25/18   17 BK 03283-LTS / El          20800               $ 163,737.00 MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    MALDONADO,                              Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    ARQUIMIDES                              Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    BOX 560979                                                                                             RODRIGUEZ ZAYAS;
    GUAYANILLA, PR 00656                                                                                   HC 2 BOX 6519
                                                                                                           GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.


              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 711 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 713 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
784 SANTIAGO                   06/28/18   17 BK 03283-LTS / El         66768             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MALDONADO, CESAR H.                   Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CALLE SANTIAGO                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    TORRES #17                                                                                          COLLECTIVELY (THE
    COAMO, PR 00769                                                                                     BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 712 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 714 of 805

                                                                Tricentésima Quincuagésima Primera Objeción Global
                                                                 Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                      FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE              RECLAM       MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN       RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
785 SANTIAGO MARTINEZ,           02/13/18   17 BK 03567-LTS /             465                $ 42,148.00* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    ONEL                                    Autoridad de Carreteras y                                     DIAZ ET AL (1084                        de Retiro de los Empleados
    HC-05 BOX 6084                          Transportación de Puerto                                      PLAINTIFFS)                             del Gobierno del Estado
    JUANA DIAZ, PR 00795                    Rico                                                          COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                          "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 713 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 715 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
786 SANTIAGO MERCADO,           04/17/18   17 BK 03283-LTS / El          7565             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    RENE                                   Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    HC 9 BOX 4354                          Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    SABANA GRANDE, PR                                                                                    COLLECTIVELY (THE                       Libre Asociado de Puerto
    00637-9441                                                                                           "ABRAMS-DIAZ                            Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 714 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 716 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
787 SANTIAGO ROSARIO,           06/06/18   17 BK 03283-LTS / El         53919             Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    MILAGROS                               Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    177 URB ESTANCIAS                      Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    DEL RIO                                                                                              COLLECTIVELY (THE                       Libre Asociado de Puerto
    HORMIGUEROS, PR                                                                                      "ABRAMS-DIAZ                            Rico
    00660                                                                                                PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 715 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 717 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                     FECHA DE                                   N.º DE
                             PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
788 SANTIAGO ROSARIO,           06/06/18   17 BK 03283-LTS / El          48693            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    MILAGROS DE LOS A                      Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    URB EST DEL RIO                        Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    177 GUAYANES                                                                                         COLLECTIVELY (THE                       Libre Asociado de Puerto
    HORMIGUEROS, PR                                                                                      "ABRAMS-DIAZ                            Rico
    00660                                                                                                PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         ABRAMS-DIAZ
                                                                                                         PLAINTIFF GROUP (1,084
                                                                                                          PLAINTIFFS) LCDA
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                         DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ABRAHAM DIAZ
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2005-5021
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
   contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
   de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
   el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
   del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
   ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
789 SANTIAGO SANTIAGO,          06/28/18   17 BK 03566-LTS / Sistema     147429           Indeterminado* VELEZ ROSA LYDIA Y           05/29/18   17 BK 03283-LTS / El           29477              $ 150,000.00
    ANTONIA                                de Retiro de los Empleados                                    OTROS KPE 1980-1738                     Estado Libre Asociado de
    BOX 491, BO. CEDRO                     del Gobierno del Estado                                       (805), TPI SAN JUAN                     Puerto Rico
    ARRIBA                                 Libre Asociado de Puerto                                      GEORGETTI 78
    NARANJITO, PR 00719                    Rico                                                          SAN JUAN, PR 00925

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
   Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
   al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
   educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
   remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.

             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 716 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 718 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
790 SANTIAGO SANTIAGO,          09/27/19    17 BK 03283-LTS / El        171176                  $ 100.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    ROBERTO                                 Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    HC 02 BOX 7254                          Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    SANTA ISABEL, PR 00757                                                                                RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 717 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 719 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
791 SANTIAGO SOTO,               04/19/18   17 BK 03283-LTS / El          5863                    $ 8.00* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    VIVIAN                                  Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    BOX 418                                 Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    SANTA ISABEL, PR 00757                                                                                COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                          "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 718 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 720 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
792 SANTIAGO VIENTOS,            04/23/18   17 BK 03283-LTS / El          7311              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    JOSE A                                  Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    HC 02 BOX 11203                         Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    LAS MARIAS, PR 00670                                                                                   "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP");                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 719 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 721 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
793 SANTIAGO, MARIBEL           06/28/18   17 BK 03566-LTS / Sistema     149300            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    COLON                                  de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    263 CALLE MAGA                         del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    URB JARDINE DE                         Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    JAYUYA                                 Rico                                                           "ACEVEDO CAMACHO                         Rico
    JAYUYA, PR 00664                                                                                      PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
794 SANTIAGO, MUZMETT           06/28/18   17 BK 03283-LTS / El          39203               $ 75,000.00* VELEZ ROSA LYDIA Y            05/29/18   17 BK 03283-LTS / El           29477              $ 150,000.00
    1159 ANTONIA                           Estado Libre Asociado de                                       OTROS KPE 1980-1738                      Estado Libre Asociado de
    MARTÍNEZ COUNTRY                       Puerto Rico                                                    (805), TPI SAN JUAN                      Puerto Rico
    CLUB                                                                                                  GEORGETTI 78
    SAN JUAN, PR 00924                                                                                    SAN JUAN, PR 00925

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
   Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
   al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
   educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
   remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 720 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 722 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
795 SANTISTEBAN PADRO,         07/09/18   17 BK 03283-LTS / El         150591            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JOYCE M                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB GREEN HLS                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    C12 CALLE GLADIOLA                                                                                  COLLECTIVELY (THE
    GUAYAMA, PR 00784                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 721 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 723 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
796 SANTOS RODRIGUEZ,           05/09/18    17 BK 03283-LTS / El         13521             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    HARRY                                   Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    BDA SALAZAR                             Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    CALLE SABIO                                                                                           RODRIGUEZ ZAYAS;
    NUM 1673                                                                                              HC 2 BOX 6519
    PONCE, PR 00717-1839                                                                                  GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.
797 SANTOS VAZQUEZ, JOSE        06/22/18    17 BK 03283-LTS / El         90282               $ 16,042.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    HC 4 BOX 11922                          Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    YAUCO, PR 00698-9608                    Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
                                                                                                          RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 722 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 724 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                         RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
798 SEMIDEY ALICEA,              06/28/18   17 BK 03283-LTS / El          67097             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    YAIRA LIZ                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    URB JARDINES DEL                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    MAMEY                                                                                                  (COLLECTIVELY THE                        Libre Asociado de Puerto
    CALLE 6 K3                                                                                             "ACEVEDO CAMACHO                         Rico
    PATILLAS, PR 00723                                                                                     PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 723 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 725 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
799 SERRANO LOZADA,             06/29/18   17 BK 03283-LTS / El         131917            Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    BETHZAIDA                              Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    HC 2 BOX 7236                          Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    LAS PIEDRAS, PR 00771-                                                                               COLLECTIVELY (THE                       Libre Asociado de Puerto
    9788                                                                                                 "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 724 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 726 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
800 SERRANO PEREZ, ALBA        07/09/18   17 BK 03283-LTS / El         159926            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    N                                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 3 BOX 36700                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SAN SEBASTIAN, PR                                                                                   COLLECTIVELY (THE
    00685-7575                                                                                          BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 725 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 727 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
801 SERRANO SOTO, LUZ M.        06/19/18   17 BK 03566-LTS / Sistema     61008               $ 48,459.38* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    COLINAS DEL SOL #44                    de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    CALLE 4 APTO. 4412                     del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
    BAYAMON, PR 00957-                     Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    7011                                   Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 726 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 728 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
802 SIERRA RIVERA, LUZ S        06/06/18   17 BK 03283-LTS / El         60371             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    BO. CARMELITA                          Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BUZON 1 CALLE 6                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    VEGA BAJA, PR 00693                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 727 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 729 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
803 SIERRA RIVERA, LUZ S        06/06/18   17 BK 03283-LTS / El         69629             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    BO. CARMELITA                          Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BUZON 1 CALLE 6                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    VEGA BAJA, PR 00693                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 728 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 730 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
804 SIERRA RIVERA, LUZ S        06/06/18   17 BK 03283-LTS / El         69963             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    BO. CARMELITA                          Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    BUZON 1 CALLE 6                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    VEGA BAJA, PR 00693                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 729 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 731 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
805 SILVA BARBOSA,              05/29/18   17 BK 03283-LTS / El          37798             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    MADELINE                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    8146 CALLE BALBINO                     Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    TRINTA                                                                                                "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    MAYAGUEZ, PR 00680                                                                                    PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 730 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 732 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
806 SOLIS DE JESUS, NILDA        06/29/18   17 BK 03283-LTS / El         144064             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    HC 03 BOX 8875                          Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    GUAYNABO, PR 00971                      Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
                                                                                                           (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 731 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 733 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
807 SOLIS RIVERA, DIALIS         06/26/18   17 BK 03283-LTS / El         110573             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    HC 5                                    Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    BOX 9862                                Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    RIO GRANDE, PR 00745                                                                                   (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 732 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 734 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
808 SOLIS RIVERA, DIALIS         06/27/18   17 BK 03566-LTS / Sistema    103681^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    HC 5 BUZON 9862                         de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    RIO GRANDE, PR 00745                    del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
                                            Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                            Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103681 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 733 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 735 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                    N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE               RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
809 SOLIS RIVERA, DIALIS         06/26/18   17 BK 03566-LTS / Sistema    106894^            Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    HC5 BOX 9862                            de Retiro de los Empleados                                     CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    RIO GRANDE, PR 00745                    del Gobierno del Estado                                        PLANTIFFS)                               del Gobierno del Estado
                                            Libre Asociado de Puerto                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                            Rico                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 106894 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
    Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 734 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 736 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
810 SOLTREN GONZALES,           05/25/18   17 BK 03283-LTS / El         41495             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA DE LOS A                         Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 6 BOX 68462                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUADILLA, PR 00603                                                                                  COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 735 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 737 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
811 SOTO PABON, MARIA J.         06/05/18   17 BK 03283-LTS / El          49267                 $ 6,550.00* MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    75 C/PRUDENCIO                          Estado Libre Asociado de                                        CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    RIVERA                                  Puerto Rico                                                     PLANTIFFS)                              del Gobierno del Estado
    HATO REY, PR 00917                                                                                      (COLLECTIVELY THE                       Libre Asociado de Puerto
                                                                                                            "ACEVEDO CAMACHO                        Rico
                                                                                                            PLANTIFF GROUP");
                                                                                                            CASP CASE NUM. 2016-
                                                                                                            05-1340
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 736 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 738 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
812 SOTO RIVERA, EVELYN         05/21/18   17 BK 03283-LTS / El          18559               $ 50,000.00* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    URB CAPARRA                            Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    TERRACE                                Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    813 CALLE 13 SE                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00921                                                                                    "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 737 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 739 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
813 SOTO RIVERA, ZAIDA L        04/30/18   17 BK 03283-LTS / El          9746             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    PO BOX 876                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    LUQUILLO, PR 00773                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 738 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 740 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
814 SOTO RIVERA, ZAIDA L        04/30/18   17 BK 03566-LTS / Sistema      8908            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    PO BOX 876                             de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    LUQUILLO, PR 00773                     del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
                                           Libre Asociado de Puerto                                      COLLECTIVELY (THE
                                           Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 739 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 741 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
815 SOTO RODRIGUEZ,             04/24/18   17 BK 03283-LTS / El          8543              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    GILBERTO                               Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    35 JOSE CAMPECHE                       Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    MAYAGUEZ, PR 00680                                                                                    "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 740 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 742 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
816 SUREN RODRIGUEZ,           09/30/19    17 BK 03283-LTS / El        171232               $ 12,400.00* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    REINALDO                               Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    BO. PLAYITA CALLE                      Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    VILLASOL # 17                                                                                        RODRIGUEZ ZAYAS;
    SALINAS, PR 00751                                                                                    HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 741 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 743 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
817 SUSTACHE SUSTACHE,          05/29/18   17 BK 03283-LTS / El          37021             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    IRENE                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 1 BOX 4233                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    YABUCOA, PR 00767                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 742 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 744 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
818 TAPIA RÍOS, RUTH M.          05/25/18   17 BK 03283-LTS / El          25023                   $ 805.20 MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    IVONNE GONZÁLEZ                         Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    MORALES                                 Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    P.O. BOX 9021828                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
    SAN JUAN, PR 00902-1828                                                                                "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
819 TIRADO BONANO,               05/29/18   17 BK 03283-LTS / El          43725             Indeterminado* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    HECTOR M                                Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
    PO BOX 469                              Puerto Rico                                                    PO BOX 8700                              Puerto Rico
    PALMER                                                                                                 PMB120
    RIO GRANDE, PR 00721                                                                                   CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 743 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 745 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
820 TIRADO BONANO,              05/29/18   17 BK 03566-LTS / Sistema     41960            Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    HECTOR M                               de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    PO BOX 469                             del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    PALMER                                 Libre Asociado de Puerto                                      PMB120
    RIO GRANDE, PR 00721                   Rico                                                          CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 744 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 746 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
821 TIRADO MORALES,            10/06/20   17 BK 03283-LTS / El         176423              $ 105,600.00 PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    NELSON                                Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    VILLA UNIVERSITARIA                   Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    C-29 CALLE 8                                                                                        COLLECTIVELY (THE                       Libre Asociado de Puerto
    HUMACAO, PR 00791                                                                                   "ACEVEDO AROCHO                         Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K AC
                                                                                                        2005-5022
                                                                                                        LCDA. IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

                                                                                                        PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                        AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                        PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        "ACEVEDO-AROCHO
                                                                                                        PLAINTIFF
                                                                                                        GROUP")CIVIL CASE
                                                                                                        NUM. K AC 2005-5022
                                                                                                        IVONNE GONZALEZ-
                                                                                                        MORALES
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
   otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
   pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
   maestro de Acevedo Arrocho.
   ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 745 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 747 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
822 TORO CRUZ, LISSETTE         05/14/18   17 BK 03283-LTS / El          14961             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    URB ESTANCAS DEL RIO                   Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    II                                     Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    762 CALLE YAGUEZ                                                                                      "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    HORMIGUEROS, PR                                                                                       PLAINTIFF GROUP");                       Rico
    00660                                                                                                 CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 746 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 748 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                       FECHA DE                                   N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE                CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN
823 TORO CUADRADO,               07/06/18   17 BK 03283-LTS / El         104885            Indeterminado* JEANNETTE ABRAMS-            06/29/18   17 BK 03566-LTS / Sistema    104127^           $ 6,829,644.40*
    MIRIAM                                  Estado Libre Asociado de                                      DIAZ ET AL (1084                        de Retiro de los Empleados
    HC 1 BOX 16669                          Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    HUMACAO, PR 00791-                                                                                    COLLECTIVELY (THE                       Libre Asociado de Puerto
    9003                                                                                                  "ABRAMS-DIAZ                            Rico
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          ABRAMS-DIAZ
                                                                                                          PLAINTIFF GROUP (1,084
                                                                                                           PLAINTIFFS) LCDA
                                                                                                          IVONNE GONZALEZ-
                                                                                                          MORALES
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JEANETTE ABRAHAM             06/14/18   17 BK 03283-LTS / El           50221          $ 43,400,081.58*
                                                                                                          DIAZ ET AL (1,084                       Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                             Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM DIAZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2005-5021
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 50221 y 104127, interpuestos en nombre de todos los demandantes del litigio caratulado Jeannete Abrams Diaz y otros
    contra el Departamento de Transportación y Obras Públicas, N.° KAC2005-5021 (los “Reclamos maestros de Abrams Diaz”), por el abogado que representa a los demandantes en dicho litigio. Los
    demandantes de este pleito son ex empleados del Departamento de Transportación y Obras Públicas (“DOTP”), que alegaron que dicho departamento retuvo de manera ilegal una parte de sus salarios y pagos
    de jubilación, como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento
    el litigio referido más arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen
    del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Jeannete Abrams Díaz.
    ^ Reclamo n°. 104127 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 747 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 749 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
824 TORRES APONTE, IRIS N        05/25/18   17 BK 03283-LTS / El          20144             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    PO BOX 9989                             Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    SAN JUAN, PR 00908                      Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
                                                                                                           (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 748 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 750 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
825 TORRES BERRIOS,              07/06/18   17 BK 03283-LTS / El         157973             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NORVA I                                 Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 156                              Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    AIBONITO, PR 00705-0156                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
826 TORRES GARCIA, JESUS         06/28/18   17 BK 03283-LTS / El         149446             Indeterminado* CONCILIO NACIONAL             06/01/18   17 BK 03283-LTS / El          161091         $ 280,000,000.00*
    N#20 CALLE 5 VILLAS                     Estado Libre Asociado de                                       DE POLICIAS INC                          Estado Libre Asociado de
    DE RIO GRANDE                           Puerto Rico                                                    PO BOX 8700                              Puerto Rico
    RIO GRANDE, PR 00745                                                                                   PMB120
                                                                                                           CAROLINA, PR 00988

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
    Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
    Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
    empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
    retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 749 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 751 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
827 TORRES GONZALEZ,           06/11/18   17 BK 03283-LTS / El         114364            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    LILLIAN                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    QQ-12 CALLE 6 URB                     Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CANA                                                                                                COLLECTIVELY (THE
    BAYAMON, PR 00957                                                                                   BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 750 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 752 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
828 TORRES GUADALUPE,          06/26/18    17 BK 03283-LTS / El        112430             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    FELIPE                                 Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    BARRIO SONTO                           Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    DOMINGO PO2 777                                                                                      RODRIGUEZ ZAYAS;
    SECTOR SABANO 1                                                                                      HC 2 BOX 6519
    PENUELAS, PR 00624                                                                                   GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 751 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 753 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
829 TORRES MALDONADO,          09/19/20   17 BK 03283-LTS / El         177939            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ELIZABETH                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 01 BOX 8627                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PENUELAS, PR 00624                                                                                  COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 752 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 754 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
830 TORRES PELUYERA,            05/22/18   17 BK 03283-LTS / El          13849             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    MARANGELY                              Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 4 BOX 58377                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    GUAYNABO, PR 00971                                                                                    (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 753 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 755 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                  NOMBRE                CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
831 TORRES RIVERA,              06/22/18   17 BK 03283-LTS / El          62183                $ 10,473.90 DELFINA LÓPEZ                06/29/18    17 BK 03566-LTS / Sistema    106588^           $ 4,315,200.00*
    ANTONIO                                Estado Libre Asociado de                                       ROSARIO ET AL                            de Retiro de los Empleados
    PO BOX 596                             Puerto Rico                                                    COLLECTIVELY (THE                        del Gobierno del Estado
    HORMIGUEROS, PR                                                                                       LOPEZ-ROSARIO                            Libre Asociado de Puerto
    00660-0596                                                                                            PLAINTIFF GROUP);                        Rico
                                                                                                          IVONNE GONZALEZ
                                                                                                          MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          DELFINA LÓPEZ                05/15/18    17 BK 03283-LTS / El           15708          $ 24,000,000.00*
                                                                                                          ROSARIO ET AL                            Estado Libre Asociado de
                                                                                                          COLLECTIVELY (THE                        Puerto Rico
                                                                                                          LOPEZ-ROSARIO
                                                                                                          PLAINTIFF GROUP)
                                                                                                          P.O. BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 15708 y 106588, que fueron presentados en nombre de todos los demandantes del litigio caratulado Delfina López
   Rosario y otros contra el Departamento de Policía (DP) de Puerto Rico, N.° T-01-10-372 (los “Reclamos maestros de López Rosario”), por el abogado que representa a los demandantes en dicho litigio. Los
   demandantes de este pleito son ex empleados del Departamento de Policía (“PD”), que alegaron tener derecho a percibir pagos retroactivos y de jubilación que dicho departamento retuvo de manera ilegal, en
   virtud del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más
   arriba o las obligaciones asociadas al presente litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más
   arriba ni están subsumidas en los Reclamos maestros de López Rosario.
   ^ Reclamo n°. 106588 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 754 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 756 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
832 TORRES ROMAN, LOUIS        05/18/18   17 BK 03283-LTS / El         79920             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    I                                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC-03 BOX 17775                       Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    LAJAS, PR 00667                                                                                     COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 755 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 757 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
833 TORRES ROSARIO,              05/11/18   17 BK 03283-LTS / El          14481             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NANCY                                   Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 02 BOX 9996                          Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    JUNCOS, PR 00977-9604                                                                                  (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 756 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 758 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
834 TORRES SAMBOLIN,           06/28/18   17 BK 03283-LTS / El         61977             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JUDITH                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 1 BOX 15545                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    COAMO, PR 00769                                                                                     COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 757 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 759 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
835 TORRES TORRES,              05/31/18   17 BK 03283-LTS / El         45257               $ 50,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MARIA                                  Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    VILLA PRADES                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    846 CALLE JOSE                                                                                       COLLECTIVELY (THE
    QUINTON                                                                                              BELTRAN CINTRON
    SAN JUAN, PR 00924-2133                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 758 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                Desc:
                                                             Exhibit A Page 760 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                        RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                   PRESENTA           NÚMERO DE             RECLAM      MONTO DE LA
           NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                 NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN      RECLAMACIÓN
836 TORRES TORRES,              04/23/18   17 BK 03283-LTS / El         6818                $ 8,475.00* VELEZ ROSA LYDIA Y          05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    SHARON                                 Estado Libre Asociado de                                     OTROS KPE 1980-1738                    Estado Libre Asociado de
    KAREN L. AYALA                         Puerto Rico                                                  (805), TPI SAN JUAN                    Puerto Rico
    VAZQUEZ                                                                                             GEORGETTI 78
    JOSE E.TORRES                                                                                       SAN JUAN, PR 00925
    VALENTIN
    TORRES VALENT´N
    ESTUDIO LEGAL L.L.C
    NÚM. 78 CALLE
    GEORGETTI
    SAN JUAN, PR 00925

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
    Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
    al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
    educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
    remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                   Página 759 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 761 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
837 TURELL ROSARIO,            06/28/18   17 BK 03283-LTS / El         144932            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    MANBEL                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB. LA LULA                          Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CALLE 5 F 13                                                                                        COLLECTIVELY (THE
    PONCE, PR 00730                                                                                     BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 760 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 762 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
838 VAELLO BERMUDEZ,            05/02/18   17 BK 03283-LTS / El          9451                $ 22,283.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    YADIRA                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    IVONNE GONZÁLEZ                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    MORALES                                                                                              COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                     BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                              PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 761 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 763 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
839 VALENTIN CENTENO,           05/09/18   17 BK 03283-LTS / El          12442             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    ALEIXA                                 Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    1GA CALLE DOMINGO                      Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    SILVA                                                                                                 "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    MAYAGUEZ, PR 00680                                                                                    PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 762 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 764 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
840 VALENTIN LOPEZ,             05/03/18   17 BK 03283-LTS / El          11468             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    HECTOR I.                              Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    SAN ANTONIO B-26                       Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    ANASCO, PR 00610                                                                                      "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 763 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 765 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
841 VALENTIN RODRIGUEZ,        12/02/19    17 BK 03283-LTS / El        177674                $ 16,500.00 MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    ERNESTO                                Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    #11 CALLE LUNA                         Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    BAMADA SANDIN                                                                                        RODRIGUEZ ZAYAS;
    VEGA BAJA, PR 00693                                                                                  HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 764 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 766 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
842 VARGAS ESPIET,              05/25/18   17 BK 03283-LTS / El         31596             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    WILLIAM R.                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    121 URB JARDINES DE                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    AGUADILLA                                                                                            COLLECTIVELY (THE
    AGUADILLA, PR 00603                                                                                  BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 765 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                            Exhibit A Page 767 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
843 VARGAS NIEVES, JUAN        01/09/20    17 BK 03283-LTS / El        177741                $ 16,800.00 MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    C/15 H-17                              Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    VILLA LINARES                          Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    VEGA ALTA, PR 00692                                                                                  RODRIGUEZ ZAYAS;
                                                                                                         HC 2 BOX 6519
                                                                                                         GUAYANILLA, PR 00656

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
   contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
   aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
   invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
   que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 766 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 768 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
844 VARGAS ROMAN,               06/29/18   17 BK 03283-LTS / El         166852            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EMILIA VERA                            Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    36 VILLA SERENA                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SANTA ISABEL, PR 00757                                                                               COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 767 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 769 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
845 VARGAS VARGAS, LUIS         04/12/18   17 BK 03283-LTS / El          7420              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    A                                      Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    RR2 BOX 4160                           Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    ANASCO, PR 00610                                                                                      "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 768 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 770 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
846 VARGAS VARGAS, LUIS         04/12/18   17 BK 03283-LTS / El          7187              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    A.                                     Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    BOX 2232                               Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    ANASCO, PR 00610                                                                                      "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 769 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 771 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
847 VARGAS VARGAS, LUIS         04/12/18   17 BK 03283-LTS / El          7242              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    A.                                     Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    PO BOX 2232                            Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    ANASCO, PR 00610                                                                                      "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                          PLAINTIFF GROUP");                       Rico
                                                                                                          CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 770 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                Desc:
                                                            Exhibit A Page 772 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                        RECLAMACIÓN REMANENTE

                            FECHA DE                                  N.º DE                                                    FECHA DE                                  N.º DE
                            PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                   PRESENTA           NÚMERO DE             RECLAM      MONTO DE LA
          NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                 NOMBRE              CIÓN            CASO/DEUDOR             ACIÓN      RECLAMACIÓN
848 VAZQUEZ CARMONA,           05/10/18   17 BK 03283-LTS / El         11984             Indeterminado* VELEZ ROSA LYDIA Y         05/29/18   17 BK 03283-LTS / El           29477            $ 150,000.00
    CARMEN                                Estado Libre Asociado de                                      OTROS KPE 1980-1738                   Estado Libre Asociado de
    BO BUENAVENTURA 727                   Puerto Rico                                                   (805), TPI SAN JUAN                   Puerto Rico
    CALLE PABLO PIZARRO                                                                                 GEORGETTI 78
    CAROLINA, PR 00987                                                                                  SAN JUAN, PR 00925

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
   Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
   al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
   educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
   remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                   Página 771 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 773 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
849 VAZQUEZ DE JESUS,          06/28/18   17 BK 03283-LTS / El         116395            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ANGEL L                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 8912                           Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAGUAS, PR 00726                                                                                    COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 772 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 774 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
850 VAZQUEZ GONZALEZ,           05/29/18   17 BK 03283-LTS / El          32263             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    LINNETTE                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC-03 BOX 11992                        Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    COROZAL, PR 00783                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 773 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 775 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
851 VAZQUEZ GONZALEZ,           05/29/18   17 BK 03283-LTS / El          34072             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    LINNETTE                               Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    HC 3 BOX 11992                         Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    COROZAL, PR 00783                                                                                     (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                          "ACEVEDO CAMACHO                         Rico
                                                                                                          PLANTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                          CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                          (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                          (COLLECTIVELY THE
                                                                                                          "ACEVEDO CAMACHO
                                                                                                          PLAINTIFF GROUP");
                                                                                                          CASP CASE NUM. 2016-
                                                                                                          05-1340
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
   el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
   demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
   del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
   las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
   ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
   ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 774 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 776 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
852 VAZQUEZ RODRIGUEZ ,        07/05/18   17 BK 03283-LTS / El         118334            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    GLORIA E.                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    516 CALE BAENA URB.                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SAN JOSE                                                                                            COLLECTIVELY (THE
    SAN JUAN, PR 00923                                                                                  BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 775 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 777 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
853 VEGA MEDINA,                04/09/18   17 BK 03283-LTS / El         6624^               $ 15,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JACQUELINE                             Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC 8 BOX 84354                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SAN SEBASTIAN, PR                                                                                    COLLECTIVELY (THE
    00685                                                                                                BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 6624 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 776 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 778 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
854 VEGA ORTIZ, JULIO A          04/16/18   17 BK 03283-LTS / El          7392              Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    HC 3 BOX 14837                          Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    YAUCO, PR 00698                         Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
                                                                                                           "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
                                                                                                           PLAINTIFF GROUP");                       Rico
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC2013-1019 / TSPR AC
                                                                                                           2016-0120, JORGE
                                                                                                           ABRAHA M G IMÉ NEZ
                                                                                                           PL AI N TIFF GR O UP
                                                                                                           (1,046 PLAINTIFFS)
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                           GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                           PLAINTIFFS)                              Puerto Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           "ABRAHAM GIMENEZ
                                                                                                           PLAINTIFF GROUP")
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
    otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
    dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
    de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
    demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
    su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
    adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
    ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 777 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 779 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
855 VEGA ZAYAS, JOSE H.         05/02/18   17 BK 03283-LTS / El          9617                $ 68,650.18 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    IVONNE GONZÁLEZ                        Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    MORALES                                Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    P.O. BOX 9021828                                                                                     COLLECTIVELY (THE
    SAN JUAN, PR 00902-1828                                                                              BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 778 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 780 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
856 VELAZQUEZ CRISPIN,          07/16/18    17 BK 03283-LTS / El        161484             Indeterminado* MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    HECTOR                                  Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    BO. CANEJAS                             Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    4398 CALLE 2 APT 181                                                                                  RODRIGUEZ ZAYAS;
    SAN JUAN, PR 00926-8650                                                                               HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 779 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 781 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
857 VELAZQUEZ LOZADA,            05/04/18   17 BK 03283-LTS / El          10453                 $ 14,409.71 MADELINE ACEVEDO             06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NILSA                                   Estado Libre Asociado de                                        CAMACHO ET AL. (2,818                   de Retiro de los Empleados
    IVONNE GONZÁLEZ                         Puerto Rico                                                     PLANTIFFS)                              del Gobierno del Estado
    MORALES                                                                                                 (COLLECTIVELY THE                       Libre Asociado de Puerto
    P.O. BOX 9021828                                                                                        "ACEVEDO CAMACHO                        Rico
    SAN JUAN, PR 00902-1828                                                                                 PLANTIFF GROUP");
                                                                                                            CASP CASE NUM. 2016-
                                                                                                            05-1340
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 780 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                             Exhibit A Page 782 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                             FECHA DE                                  N.º DE                                                        FECHA DE                                    N.º DE
                             PRESENTA           NÚMERO DE             RECLAM        MONTO DE LA                                      PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN        RECLAMACIÓN                   NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
858 VELAZQUEZ LUCIANO,          06/06/18   17 BK 03283-LTS / El          66761             Indeterminado* ABRAHAM GIMÉNEZ ET           06/29/18    17 BK 03566-LTS / Sistema    130077^            $ 6,293,000.00
    KEYLA M                                Estado Libre Asociado de                                       AL (1,046 PLAINTIFFS)                    de Retiro de los Empleados
    #76 URB. ALTURAS                       Puerto Rico                                                    COLLECTIVELLY (THE                       del Gobierno del Estado
    SABANERAS                                                                                             "ABRAHAM GIMÉNEZ                         Libre Asociado de Puerto
    SABANA GRANDE, PR                                                                                     PLAINTIFF GROUP");                       Rico
    00637-1603                                                                                            CIVIL CASE NUM. K
                                                                                                          AC2013-1019 / TSPR AC
                                                                                                          2016-0120, JORGE
                                                                                                          ABRAHA M G IMÉ NEZ
                                                                                                          PL AI N TIFF GR O UP
                                                                                                          (1,046 PLAINTIFFS)
                                                                                                          LCDA. IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902-1828

                                                                                                          JORGE ABRAHAM                03/05/21    17 BK 03283-LTS / El          179141          $ 35,000,000.00*
                                                                                                          GIMENEZ ET AL (1,046                     Estado Libre Asociado de
                                                                                                          PLAINTIFFS)                              Puerto Rico
                                                                                                          COLLECTIVELY (THE
                                                                                                          "ABRAHAM GIMENEZ
                                                                                                          PLAINTIFF GROUP")
                                                                                                          ATTN: IVONNE
                                                                                                          GONZALEZ-MORALES
                                                                                                          PO BOX 9021828
                                                                                                          SAN JUAN, PR 00902

   Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 179141 y 130077, que se presentaron en nombre de todos los demandantes del litigio caratulado Abraham Giménez y
   otros contra el Departamento de Transportación y Obras Públicas de Puerto Rico, N.° KAC2013-1019 (los “Reclamos maestros de Abraham Giménez”), por el abogado que representa a los demandantes en
   dicho litigio. Los demandantes de este pleito son ex empleados del DOTP, que alegaron que dicho departamento retuvo de manera ilegal salarios y pagos de jubilación, ya que empleados del Departamento
   de Transporte y Obras Públicas (DOTP) que alegaron que DOTP retuvo salarios y pagos de pensión como resultado del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El
   demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente litigio. El demandante es un actor de ese litigio y
   su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones
   adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos maestros de Abraham Giménez.
   ^ Reclamo n°. 130077 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 781 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 783 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
859 VELEZ ALICEA, NANCY        05/14/18   17 BK 03283-LTS / El         15156             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    HC 01 BOX 5578                        Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    GURABO, PR 00778                      Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                        COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 782 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 784 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
860 VELEZ CRESPO,              05/25/18   17 BK 03283-LTS / El         27235^             $ 360,000.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    EDUARDO                               Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    URB. CAPANA HEIGTH                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    1471 CALLE EDEN                                                                                     COLLECTIVELY (THE
    SAN JUAN, PR 00920                                                                                  BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 27235 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 783 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                   Desc:
                                                             Exhibit A Page 785 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                           RECLAMACIÓN REMANENTE

                              FECHA DE                                  N.º DE                                                      FECHA DE                                  N.º DE
                              PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA                                     PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
861 VELEZ GONZALEZ,             03/29/18    17 BK 03283-LTS / El         4318                 $ 19,604.00 MALDONADO COLÓN,            06/27/18    17 BK 03283-LTS / El        152372            $ 17,590,927.76
    FRANCISCO                               Estado Libre Asociado de                                      ALFREDO A, ET ALS                       Estado Libre Asociado de
    HC-01 BOX 2260                          Puerto Rico                                                   LCDO. GILBERTO                          Puerto Rico
    JAYUYA, PR 00664                                                                                      RODRIGUEZ ZAYAS;
                                                                                                          HC 2 BOX 6519
                                                                                                          GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                      Página 784 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 786 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
862 VELEZ GONZALEZ,              05/24/18   17 BK 03283-LTS / El          16605             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    JAVIER                                  Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 13871                            Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    SAN JUAN, PR 00908-3871                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 785 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 787 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
863 VELEZ JIMENEZ,              05/25/18   17 BK 03283-LTS / El         43859             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    FRANCIS E                              Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 5421                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    SAN SEBASTIAN, PR                                                                                    COLLECTIVELY (THE
    00685                                                                                                BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 786 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 788 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
864 VELEZ MELON,                05/18/18   17 BK 03566-LTS / Sistema     28069            Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    IVELISSE                               de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    COND VISTA VERDE                       del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    APT 606                                Libre Asociado de Puerto                                      COLLECTIVELY (THE
    AVE. SAN IGNACIO                       Rico                                                          BELTRAN CINTRON
    SAN JUAN, PR 00921                                                                                   PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 787 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 789 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
865 VELEZ TORO, VICTOR          05/25/18   17 BK 03283-LTS / El         27222^              $ 561,600.00 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    HC 1 BOX 7766                          Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    SAN GERMAN, PR 00683                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 27222 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
    Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 788 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 790 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
866 VELEZ, MYRTELINA           06/26/18   17 BK 03283-LTS / El         94198             Indeterminado* VELEZ ROSA LYDIA Y          05/29/18    17 BK 03283-LTS / El           29477             $ 150,000.00
    URB. SOBANERA 337                     Estado Libre Asociado de                                      OTROS KPE 1980-1738                     Estado Libre Asociado de
    CAMERIO DEL PRODER                    Puerto Rico                                                   (805), TPI SAN JUAN                     Puerto Rico
    CIDRA, PR 00739                                                                                     GEORGETTI 78
                                                                                                        SAN JUAN, PR 00925

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° 29477, que fue interpuesto en nombre de todos los demandantes del pleito caratulado Rosa Lydia Velez contra el Departamento de
   Educación de Puerto Rico, KPE1980-1738 (el “Reclamo maestro de Velez”), por el abogado apoderado de los demandantes en dicho pleito. Los demandantes del litigio son padres de menores que pertenecen
   al Programa de Educación Especial del Departamento de Educación (“DE”), que pretendieron exigirle al DE que cumpliera con determinadas obligaciones federales y estatales vinculadas a programas de
   educación especial. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo
   remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Velez.
867 VELEZ-RIVERA, ANGEL        05/25/18   17 BK 03283-LTS / El         26735               $ 36,450.00* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    L.                                    Estado Libre Asociado de                                      DE POLICIAS INC                         Estado Libre Asociado de
    PO BOX 55274                          Puerto Rico                                                   PO BOX 8700                             Puerto Rico
    STATION ONE                                                                                         PMB120
    BAYAMON, PR 00960-                                                                                  CAROLINA, PR 00988
    5274

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 789 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 791 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
868 VERA GARCIA,                06/18/18   17 BK 03283-LTS / El         59926             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ZORAIDA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    4423 PEDRO CARATINI                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    URB. PERLA DEL SUR                                                                                   COLLECTIVELY (THE
    PONCE, PR 00717                                                                                      BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 790 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 792 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
869 VICENTE MARQUEZ,           05/14/18   17 BK 03283-LTS / El         15027^             $ 187,200.00* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JESUS                                 Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    C/3 D-10                              Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CASTELLANA GARDENS                                                                                  COLLECTIVELY (THE
    CAROLINA, PR 00983                                                                                  BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 15027 también incluido en el Anexo A a la Objeción Global n° 347 por reclamos clasificados erróneamente
   Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 791 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 793 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
870 VIDAL, OLIVER A.           05/17/18   17 BK 03566-LTS / Sistema     23507               $ 55,500.00 CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    IRIZARRY                              de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    BDA BALDORIOTY C/                     del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    GAMBOA                                Libre Asociado de Puerto                                      PMB120
    #4506                                 Rico                                                          CAROLINA, PR 00988
    PONCE, PR 00728

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 792 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 794 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
871 VILLANUEVA                   01/04/19   17 BK 03283-LTS / El         168061             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    SANTIAGO, MILDRED                       Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    COND EL ATLANTICO                       Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    APT 702                                                                                                (COLLECTIVELY THE                        Libre Asociado de Puerto
    LEVITOWN                                                                                               "ACEVEDO CAMACHO                         Rico
    TOA BAJA, PR 00949                                                                                     PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
872 VILLEGAS ROSARIO,            03/05/20   17 BK 03283-LTS / El         173424             Indeterminado* MALDONADO COLÓN,              06/27/18   17 BK 03283-LTS / El          152372           $ 17,590,927.76
    JULIO                                   Estado Libre Asociado de                                       ALFREDO A, ET ALS                        Estado Libre Asociado de
    HC4 BOX 15053                           Puerto Rico                                                    LCDO. GILBERTO                           Puerto Rico
    CAROLINA, PR 00987                                                                                     RODRIGUEZ ZAYAS;
                                                                                                           HC 2 BOX 6519
                                                                                                           GUAYANILLA, PR 00656

    Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 152372, que se interpuso en nombre de todos los demandantes del litigio caratulado Alfredo Maldonado Rodríguez y otros
    contra el Departamento de Correcciones y Rehabilitación (DOC) N.° KAC96-1381 (el “Reclamo maestro de Maldonado Rodríguez”). Los demandantes de este litigio reconocen que se les adeudaban
    aumentos salariales impagos establecidos, entre otras cosas, en diversas órdenes administrativas del Departamento de Correcciones y Rehabilitación. El demandante es un actor de ese litigio y su reclamo
    invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales
    que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de Maldonado Rodríguez.



              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 793 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 795 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
873 VILLOCH RIVERA,             06/26/18   17 BK 03283-LTS / El         91515             Indeterminado* PRUDENCIO ACEVEDO            06/29/18   17 BK 03566-LTS / Sistema    103035^          $ 5,034,400.00*
    MODESTA                                Estado Libre Asociado de                                      AROCHO ET AL (1,601                     de Retiro de los Empleados
    PO BOX 336505                          Puerto Rico                                                   PLAINTIFFS)                             del Gobierno del Estado
    PONCE, PR 00733-6505                                                                                 COLLECTIVELY (THE                       Libre Asociado de Puerto
                                                                                                         "ACEVEDO AROCHO                         Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K AC
                                                                                                         2005-5022
                                                                                                         LCDA. IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

                                                                                                         PRUDENCIO ACEVEDO            06/22/18   17 BK 03283-LTS / El           51013         $ 28,000,000.00*
                                                                                                         AROCHO ET AL (1,379                     Estado Libre Asociado de
                                                                                                         PLAINTIFFS)                             Puerto Rico
                                                                                                         COLLECTIVELY (THE
                                                                                                         "ACEVEDO-AROCHO
                                                                                                         PLAINTIFF
                                                                                                         GROUP")CIVIL CASE
                                                                                                         NUM. K AC 2005-5022
                                                                                                         IVONNE GONZALEZ-
                                                                                                         MORALES
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números Reclamos 51013 y 103035, que fueron presentados en nombre de todos los demandantes del litigio caratulado Acevedo Arocho y
    otros contra el Departamento de Hacienda, N.° KAC2005-5022 (los “Reclamos maestros de Acevedo Arocho”), por el abogado que representa a los demandantes en dicho litigio. Los demandantes de este
    pleito son ex empleados del Departamento de Hacienda (“DOT”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se invocan obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo
    maestro de Acevedo Arrocho.
    ^ Reclamo n°. 103035 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 794 de 804
                                     Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                    Desc:
                                                              Exhibit A Page 796 of 805

                                                               Tricentésima Quincuagésima Primera Objeción Global
                                                                Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                             RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                       FECHA DE                                    N.º DE
                              PRESENTA           NÚMERO DE              RECLAM        MONTO DE LA                                     PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA
           NOMBRE               CIÓN            CASO/DEUDOR              ACIÓN        RECLAMACIÓN                  NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN
874 VIRELLA ROSADO,              06/29/18   17 BK 03283-LTS / El          67948             Indeterminado* MADELINE ACEVEDO              06/29/18   17 BK 03566-LTS / Sistema    103072^            $ 8,990,000.00
    NANCY E.                                Estado Libre Asociado de                                       CAMACHO ET AL. (2,818                    de Retiro de los Empleados
    PO BOX 614                              Puerto Rico                                                    PLANTIFFS)                               del Gobierno del Estado
    CIALES, PR 00638                                                                                       (COLLECTIVELY THE                        Libre Asociado de Puerto
                                                                                                           "ACEVEDO CAMACHO                         Rico
                                                                                                           PLANTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                           MADELINE ACEVEDO              06/04/18   17 BK 03283-LTS / El           32044          $ 50,000,000.00*
                                                                                                           CAMANCHO ET AL.                          Estado Libre Asociado de
                                                                                                           (2818 PLAINTIFFS)                        Puerto Rico
                                                                                                           (COLLECTIVELY THE
                                                                                                           "ACEVEDO CAMACHO
                                                                                                           PLAINTIFF GROUP");
                                                                                                           CASP CASE NUM. 2016-
                                                                                                           05-1340
                                                                                                           LCDA. IVONNE
                                                                                                           GONZALEZ MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 32044 y 103072, interpuestos en nombre de todos los demandantes del pleito caratulado Madeline Acevedo Camacho y otros contra
    el Departamento de Asuntos Familiares de Puerto Rico, N.° 2016-05-1340 (los “reclamos maestros de Acevedo Camacho”), por el abogado patrocinante de los demandantes en dicho pleito. Los
    demandantes de este pleito son ex empleados del Departamento de Asuntos Familiares de Puerto Rico (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado
    del “Memorándum general N.° 5-86” de la Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o
    las obligaciones asociadas al presente litigio. El demandante retendrá un reclamo remanente contra los Deudores, en el cual se reclaman obligaciones adicionales que no surgen del litigio referido más arriba
    ni están subsumidas en los Reclamos maestros de Acevedo Camacho.
    ^ Reclamo n°. 103072 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 795 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 797 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
875 WILLIAM R VARGAS            05/25/18   17 BK 03566-LTS / Sistema     31599              $ 26,597.92* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    ESPIET - 9962                          de Retiro de los Empleados                                    ET ALL (4,493                           Estado Libre Asociado de
    121 URB. JARDINES DE                   del Gobierno del Estado                                       PLAINTIFFS)                             Puerto Rico
    AGUADILLA                              Libre Asociado de Puerto                                      COLLECTIVELY (THE
    AGUADILLA, PR 00603                    Rico                                                          BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 796 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 798 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
876 ZAYAS CINTRON,              06/28/18   17 BK 03283-LTS / El         59034             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    GRISSEL                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC-01 BOX 7823                         Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    VILLABLA, PR 00766                                                                                   COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 797 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 799 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
877 ZAYAS MEDINA, JAIME        05/29/18   17 BK 03283-LTS / El         43181             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    G.                                    Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    CALLE RAMON R.VELEZ                   Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    NO.46                                                                                               COLLECTIVELY (THE
    PLAYA                                                                                               BELTRAN CINTRON
    PONCE, PR 00716                                                                                     PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 798 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 800 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
878 ZAYAS RIVERA, ADRIA        06/08/18   17 BK 03283-LTS / El         83540                $ 47,886.54 FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    Y                                     Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    HC-3 BOX 20024                        Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    LAJAS, PR 00667                                                                                     COLLECTIVELY (THE
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 799 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 801 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
879 ZAYAS VAZQUEZ,              05/10/18   17 BK 03283-LTS / El         13716             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JUANITA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 5921                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAGUAS, PR 00726                                                                                     COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 800 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 802 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
880 ZAYAS VAZQUEZ,              05/10/18   17 BK 03283-LTS / El         14186             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JUANITA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 5921                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAGUAS, PR 00726                                                                                     COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 801 de 804
                                    Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                             Exhibit A Page 803 of 805

                                                              Tricentésima Quincuagésima Primera Objeción Global
                                                               Anexo A: Reclamos a ser parcialmente desestimados
                        RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                              FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                              PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
881 ZAYAS VAZQUEZ,              05/10/18   17 BK 03283-LTS / El         14255             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    JUANITA                                Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    PO BOX 5921                            Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    CAGUAS, PR 00726                                                                                     COLLECTIVELY (THE
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP")...
                                                                                                         ATTN: IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         PO BOX 9021828
                                                                                                         SAN JUAN, PR 00902

                                                                                                         FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                         ET AL (4,593                            de Retiro de los Empleados
                                                                                                         PLAINTIFFS)                             del Gobierno del Estado
                                                                                                         COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                         "BELTRAN CINTRON                        Rico
                                                                                                         PLAINTIFF GROUP")
                                                                                                         CIVIL CASE NUM. K
                                                                                                         AC2009-0805/TSPR AC
                                                                                                         2016-0120
                                                                                                         C/O IVONNE
                                                                                                         GONZALEZ-MORALES
                                                                                                         ATTORNEY FOR
                                                                                                         BELTRAN CINTRON
                                                                                                         PLAINTIFF GROUP
                                                                                                         P.O. BOX 9021828
                                                                                                         SAN JUAN, PR 00902-1828

    Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
    Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
    son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
    Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
    litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
    maestros de Beltrán Cintrón.
    ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 802 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 804 of 805

                                                            Tricentésima Quincuagésima Primera Objeción Global
                                                             Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE               RECLAM      MONTO DE LA                                    PRESENTA           NÚMERO DE             RECLAM       MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN      RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR             ACIÓN       RECLAMACIÓN
882 ZAYAS VEGUILLA, ONIX       05/18/18   17 BK 03566-LTS / Sistema     41111            Indeterminado* CONCILIO NACIONAL           06/01/18    17 BK 03283-LTS / El        161091          $ 280,000,000.00*
    A                                     de Retiro de los Empleados                                    DE POLICIAS INC                         Estado Libre Asociado de
    28 CALLE 17 BDA.                      del Gobierno del Estado                                       PO BOX 8700                             Puerto Rico
    POLVORIN                              Libre Asociado de Puerto                                      PMB120
    CAYEY, PR 00736                       Rico                                                          CAROLINA, PR 00988

   Base para: Este reclamo es un duplicado parcial del Reclamo maestro n.° Reclamo 161091, que fue presentado en nombre de todos los demandantes del litigio caratulado Frente Unido de Policías
   Organizados y otros contra el Departamento de Policía de Puerto Rico, N.° KAC2007-4170 (el “Reclamo maestro del FUPO”). Los demandantes de este litigio son miembros del FUPO y del Concilio
   Nacional de Policías (“CONAPOL”), quienes alegan que el superintendente del Departamento de Policía de Puerto Rico no implementó la Ley n.° 227 de 2004, que establecía aumentos salariales para los
   empleados del Departamento de Policía. El demandante es un actor de ese litigio y su reclamo invoca como fundamento el litigio y las obligaciones asociadas a este referidas más arriba. El Demandante
   retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del pleito referido más arriba ni están subsumidas en el Reclamo maestro de FUPO.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 803 de 804
                                   Case:17-03283-LTS Doc#:17112-2 Filed:06/18/21 Entered:06/18/21 19:22:51                                                  Desc:
                                                            Exhibit A Page 805 of 805

                                                             Tricentésima Quincuagésima Primera Objeción Global
                                                              Anexo A: Reclamos a ser parcialmente desestimados
                       RECLAMOS A SER PARCIALMENTE DESESTIMADOS                                                                          RECLAMACIÓN REMANENTE

                             FECHA DE                                 N.º DE                                                      FECHA DE                                    N.º DE
                             PRESENTA          NÚMERO DE             RECLAM        MONTO DE LA                                    PRESENTA           NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR             ACIÓN        RECLAMACIÓN                 NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN     RECLAMACIÓN
883 ZAYAS, JAIME               05/29/18   17 BK 03283-LTS / El         45339             Indeterminado* FRANCISCO BELTRAN            03/05/21   17 BK 03283-LTS / El          179140        $ 105,000,000.00*
    PLAYA 46 CALLE                        Estado Libre Asociado de                                      ET ALL (4,493                           Estado Libre Asociado de
    RAMON R VELEZ SECT                    Puerto Rico                                                   PLAINTIFFS)                             Puerto Rico
    PLAYITA                                                                                             COLLECTIVELY (THE
    PONCE, PR 00731                                                                                     BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP")...
                                                                                                        ATTN: IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        PO BOX 9021828
                                                                                                        SAN JUAN, PR 00902

                                                                                                        FRANCISCO BELTRAN            06/29/18   17 BK 03566-LTS / Sistema     93199^         $ 15,283,000.00*
                                                                                                        ET AL (4,593                            de Retiro de los Empleados
                                                                                                        PLAINTIFFS)                             del Gobierno del Estado
                                                                                                        COLLECTIVELLY (THE                      Libre Asociado de Puerto
                                                                                                        "BELTRAN CINTRON                        Rico
                                                                                                        PLAINTIFF GROUP")
                                                                                                        CIVIL CASE NUM. K
                                                                                                        AC2009-0805/TSPR AC
                                                                                                        2016-0120
                                                                                                        C/O IVONNE
                                                                                                        GONZALEZ-MORALES
                                                                                                        ATTORNEY FOR
                                                                                                        BELTRAN CINTRON
                                                                                                        PLAINTIFF GROUP
                                                                                                        P.O. BOX 9021828
                                                                                                        SAN JUAN, PR 00902-1828

   Base para: Este reclamo duplica, en parte, los reclamos maestros números 179140 y 93199, presentados en nombre de todos los demandantes del pleito caratulado Francisco Beltrán Cintrón y otros contra el
   Departamento de Asuntos Familiares N.° KAC2009-0809 (los “Reclamos maestros de Beltrán Cintrón”), por el abogado que representa a los demandantes en dicho pleito. Los demandantes de este pleito
   son ex empleados del Departamento de Asuntos Familiares (“DOFA”), que alegaron que dicho departamento retuvo salarios y pagos de jubilación, como resultado del “Memorándum general N.° 5-86” de la
   Oficina del Personal de Servicio Público. El demandante es parte demandante de dicho pleito y su reclamo invoca como fundamento el litigio referido más arriba o las obligaciones asociadas al presente
   litigio. El Demandante retendrá un reclamo remanente contra los Deudores en el que se reclaman obligaciones adicionales que no surgen del litigio referido más arriba ni están subsumidas en los Reclamos
   maestros de Beltrán Cintrón.
   ^ Reclamo n°. 93199 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                     Página 804 de 804
